Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 1 of 190 PageID 434
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                                                           Case No.: 8:21-cr-348-SCB-SPF

                                                           UNITED STATES OF AMERICA

                                                           vs.

                                                           Jeremy Brown

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Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 2 of 190 PageID 435




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                                                               vs.

                                                               Jeremy Brown

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      Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 6 of 190 PageID 439

Audio: 1639145114_223 13 172 708: 12/10 call with Alondra Propes (22:22-
23:41)
PARTICIPANTS:
JMB: Jeremy Michael Brown
AP:    Alondra Propes


TRASLATION KEY:
UI : UNINTELLIGIBLE,

IA: IAUDIBLE
PH: PHONETIC
SC: SIMULTANEOUS CONVERSATION
OV: OVERLAPPING VOICES
[]: NOISE NOTATIONS OR TRANSLATOR'S NOTES
RC: RECORDED MESSAGE




[BEGIN TAPE 22:22]
JMB: It looks like we're gonna have a bond hearing on Tuesday so, um my
     attorney is fairly confident that the Judge will grant me bond and
     I'll be able to [OV]
AP:    Are you?
JMB: Um... I believe that he will grant me bond under conditions that I
     um...alright, so I'm gonna tell you this but you can't tell anybody
     else.
AP:    Okay.
JMB: Um...he' s likely gonna grant me bond under conditions that I will
     refuse because it would be violations of my constitutional rights and
     I will be basically held in jail on principle. Of course we'll
     appeal the conditions on constitutional grounds but I'll probably be
     [chuckles] the first inmate in American history [chuckles] to be
     offered bond
AP:    [chuckles]
JMB: and refuse it.      [chuckles]
AP:    Yeah.
JMB: Don't tell Bill I told you that because I told him not to tell
     anybody.
      Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 7 of 190 PageID 440

AP:    Alright.
JMB: So, it will probably be a shocker um to everybody who shows up.
     Um.•.but I mean this is what I have to do.


[END TAPE 23: 41]
Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 8 of 190 PageID 441
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     Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 9 of 190 PageID 442




 1    Audio: 1638996436_438_13_157_868: 12/8 call with Tylene
 2         Aldridge (11:47 to 13:05)

 3    PARTICIPANTS:

 4    JB: Jeremy Michael Brown

 5    TA: Tylene Aldridge

 6    TRANSLATION KEY:

 7    UI:   UNINTELLIGIBLE

 8    IA:   INAUDIBLE

 9    PH:   PHONETIC

10    SC:   SIMULTANEOUS CONVERSATION

11    OV:   OVERLAPPING VOICES

12    []:   NOISE NOTATIONS OR TRANSLATOR'S NOTES

13    RC:   RECORDED MESSAGE

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16    [BEGIN TAPE] [00:11:47]

17    TA: Did you- Did you give the saliva, did you finally give it?

18    JB:   No.

19    TA: Oh, cause you haven't um-

20    JB: Well I told Bill that I will- that I will only agree to
21    doing it if they give me-

22    TA: Right.

23    JB: Um they give me the copy of the warrant.

24    TA: Right.

25    JB: And so, obviously they didn't agree to that or else they
26    would've been back here to give me the copy of the warrant and
27    take my saliva. He's like, well you know, you're probably not
28    gonna be able to um the judges probably gonna rule that you have
29    to give it and I go that's fine, but let's make them do it the
30    right way.
       Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 10 of 190 PageID 443




 31      TA: M-hm.

 32     JB: We're not just gonna give in just because they say and just
 33     because we know the outcome if it goes, we still don't just,
 34     give up.

 35     TA: Right.

  36    JB: and I like were playi- like we can play the delay tactic as
· 37    well.

 38     Ta: Uh-huh.

 39     JB: You know? The judge says all and then he can file a response
 40     and you have seven days and they wait till the last day, well we
 41     can do the same thing.

42      TA: Yup.

43      JB: Alright well-

44      TA: That's right.

45      JB: Alright so, I'll deny you go back to the judge, he does the
46      motion- you guys do a motion to compel-

47      TA: So what judge does that go to? Flynn or to Bucklew or who?

48      JB: No some other magistrate judge.

49      TA: Oh.

50      JB: It's all ridiculous. But my- the bo-bottom line is, Bill, we
51      have to, maximize our delay tactics as well just like they're
52      doing.

53      TA: Right.
Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 11 of 190 PageID 444

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                                                       vs.

                                                       Jeremy Brown



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     Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 12 of 190 PageID 445




 1     Audio: 1639017454_223_12_171_475: 12/8 call with Scott Olson
 2     (7:36 to 9:57, 11:11 to 11:50)

 3     PARTICIPANTS:

 4     JB: Jeremy Michael Brown

 5     SO: Scott Olson

 6     TRANSLATION KEY:

 7     UI:   UNINTELLIGIBLE

 8     IA:   INAUDIBLE

 9     PH:   PHONETIC

10     SC:   SIMULTANEOUS CONVERSATION

11     OV:   OVERLAPPING VOICES

12     []:   NOISE NOTATIONS OR TRANSLATOR 1 S NOTES

13     RC:   RECORDED MESSAGE

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16     [BEGIN TAPE] [00:07:36]

17     JB: I sit there and they 1 re like we have this and they slide
18     like it s uh- like it s uh- multimillion dollar business offer
               1                1



19     right, just slide it-

20     SO: Yeah.

21     JB: We have a warrant for your DNA. And so-

22     SO: Yeah.

23     JB: there blabbering right, and they 1 re like you have to give us
24     your DNA, I mean, you can refuse, but if you do we 1 re just gonna
25     go to the judge, he 1 s gonna you know order you and then we 1 ll
26     come back in and you refuse again then we 1 re just gonna have to
27     press charges.

28     SO: M-hm.

29     JB: And I 1 m like- okay. And I go well, uh I 1 ll be exercising my
30     Sixth Amendment right to counsel and I 1 ll also be exercising my
31     Fifth Amendment right to not incriminate myself so I will not be
     Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 13 of 190 PageID 446




32     providing the sample. And dude they like- both like pissed. And
33     bolt out of the room [Laughter]. They're like, we'll be right
34     back. Then they're gone-

35     SO: Yeah.

36     JB: like ten minutes. They come back and they're like, we're
37     trying to call your attorney, I'm like oh okay no problem. So
38     they give me two sheets of paper, the front of the warrant,
39     which ju- has no information on it all-

40     SO: M-hm, m-hm.

41     JB: and then the back of the warrant which basically just says,
42     collect, you know a buccal swab of his-

43     SO: Yeah.

44      [UI: BACKGROUND NOISE 8:36 to 8:43]

45     JB: [UI] into your mouth, but attachment A, which is actually
46     all the information about the warrant, not in there.

47     SO: It's not there, yeah.

48     JB: So they come back and they're like well, you can go back to
49     your cell now and I'm like well I- maybe this was an oversight
50     on your part I understand, I go but this isn't the warrant, this
51     is only the front and back page of it, where the rest of it? Oh
52     well we can't give that to you. We gave that to your attorney,
53     he has it. And I'm like, okay. [Laughter] Like have a nice day.

54     SO: Yeah.

55     JB: But like [UI} they totally tried just like, I mean, and I
56     was telling one of the guys here I'm like, wh-what pisses me off
57     is that, if I wasn't in this jail cell, these guys would be
58     sitting at the bar buying me drinks asking me-

59     SO: Yeah.

60     JB: So what's it like? Right?

61     SO: Yeah. Yeah.

62     JB: But now here these guys are like mean-mugging me and I mean
63     they're- and they're- relatively young guys I guess.

64     SO: Yeah.

65     JB: Um- and it was just kinda comical man, it's like, oh my gosh
66     so I came back and called Bill and of course they're at the
     Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 14 of 190 PageID 447




67     house uh um and Bill, you know Bill just a consummate attorney,
68     he's like well I don't know that we can- I mean we're gonna have
69     to comply, I'm like Bill it's not about complying it's about
70     playing the same-

71     SO: Yeah.

72     JB: delay games that they play with us.

73     SO: Yeah.

74     JB: I go- we just need to tell them, we're not gonna do anything
75     until they do it the right way. Cause-

76     SO: Yeah.

77     JB: what they're trying to do is prevent me from having any
78     information.

79

80      [Clip 11:11 to 11:50]

81     JB: It's all a delay game.

82     SO: M-hm.

83     JB: They're just full of shit. They're just delaying- delaying
84     it, they don't-

85     SO: M-hm.

86     JB: Wanna go to trial because once people start going to trial,
87     these judges start-

88     SO: M-hm.

89     JB: ordering that discovery that be released, and it gets out to
90     the public-

91     SO: Yeah.

92     JB: and everybody knows it's all bullshit.

93     SO: Yeah.

94     JB: Um.

95     SO: Yeah.

96     JB: and so- its- it's hilarious.
      Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 15 of 190 PageID 448




 97     SO: Yeah so [UI] - wh-when Bill I was there when Bill was there,
 98     talking to you and-

 99     JB: Yeah.

100     SO: after he got off he's like, Jeremy makes some fantastic
101     points, he goes, just showing that they have to play the game,
102     if we play the game he's like, that is a fantastic point and I
103     totally agree.

104     JB:   [Laughter]

105     SO:    I haven't even thought of that. That's great. So.

106     [ 0 0 : 0 9 : 5 7 ] [ END TAPE]
Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 16 of 190 PageID 449

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                                                     vs.

                                                     Jeremy Br.own

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   Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 17 of 190 PageID 450

Audio: 1635342093 438_12_171 871: 10/27 call with Erin Olzewski (13:04 to
16:39)
PARTICIPANTS:
JB: Jeremy Michael Brown
EO: Erin Olzewski
TRASLATION KEY:
UI: UNINTELLIGIBLE
IA: IAUDIBLE
PH: PHONETIC
SC: SIMULTANEOUS CONVERSATION
OV: OVERLAPPING VOICES
[]: NOISE NOTATIONS OR TRANSLATOR'S NOTES

RC: RECORDED MESSAGE




[BEGIN TAPE]    [00:13:04]
JB: um- we submitted the motion for a new bond hearing, um, either Monday
     afternoon or yesterday. I am not sure yet. Tylene is going to talk to
     my attorney today. Um-

[OV] EO: Okay.
JB: -and then that will be dependent on the Judge's calendar. You know?
     Hopefully he doesn't have any golf matches or uh you know charity-

[OV] EO: Yeah.
JB: -events to attend. Um but at the worst case the no later than is
     November 5 th , which is my arraignment and what he said is- that if for
     some reason we can't get on Judge Flynn's calendar before the 5 th then
     that arraignment will also act as a bond hearing. And that will be in
     front of my actual- the District Judge who is gonna actually try the
     case. The Judge I have been before up to this point is just the
     Magistrate Judge.

[OV] EO: Mhm.
JB: Uhm and so, if it goes to November 5 th I'll be in front of uh a Judge
     Buckler. I think is her name. She is like a 77 year old woman. Um.
     And that will act as a- hopefully it doesn't go that long. I was
     hoping to maybe get a hearing this week but I mean honestly as I lay
     here and I am thinking- okay, I mean I don't want to be Owen Shroyer
     and just be like I'll do whatever you want just let me out. Um. Th-
       Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 18 of 190 PageID 451

         The reality is what they are gonna likely do is they're going to put
         unconstitutional restrictions on me.
    EO: Yeah.
    JB: And you know and at that point now I have a moral dilemma. Do I accept
         these unconstitutional limits like a gag order or a fucking ankle
         bracelet? Because I mean the Fourth Amendment says that I am not
         allowed to be deprived of life, liberty, or property without due
         process. Well- tha-part of that is the Eighth Amendment requirement
         that you can't have excessive bond. Well, you are going,to strip me
         of constitutional rights simply because I wanna be out and prepare
         for my case as an innocent man until proven guilty? Like-
    [OV] EO: Right
    JB: -it's all, its all- Fuck. It all builds on itself and of course
         because everyone has gone along with it for so long to even say that
         you are violating my First, my Second, my Fourth, my Fifth, my Sixth,
         my Eighth Amendment rights, you can't do that. People are like well
         they do that all the time. It's 'like that doesn't matter [laughs]

    EO: Yeah.
    JB: It doesn't matter
    [OV] EO: Yeah.
    JB: Like they can't do it, so. I'm like should I just-
    [OV] EO: Oh
    JB: -reject bond? And then that would put me in a position to          now be able
         to challenge all these unconstitutional grounds but then          it's like
         alright well who would even take that case up? Or should          I just get
         out and just do what everybody else does? Just go along,          to get
         along. [Sighs] It's just-

    [OV] EO: Well-
    JB: - it's frustrating because I don't want to be in here but I also don't
         want-
    [OV] EO: Do you want?
    JB: -to obey the man-

    [OV] EO: Yeah.
    JB: -telling me that I have to do things that I don't have to do. So, I
         have-
    [OV] EO: I think that-
i   JB: -to talk to my attorney about it.
   Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 19 of 190 PageID 452

EO: I think that the-the number one thing that they absolutely hate is
     public attention. Um. That's why-
[OV] JB: Well, right that's the reason why they gag everybody.
EO: Yeah. I mean- they look at- they put a gag order on me and I talk
     anyway.
[OV] JB: Right.
EO: So, I'm like fuck you. Like- you- you're do- this is wrong and you
     know it.

JB: Right
EO: And so like- who cares.

[00:16:39] [END TAPE]
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                                                       UNITED STATES OF AMERICA.··

                                                       vs.

                                                       Jeremy Brown

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      Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 21 of 190 PageID 454

Audio: 1636647445_438_13_151 590: 11/11 call with Cathi Chamberlain (20:00
to 23:04)
PARTICIPANTS:
JB:     Jeremy Michael Brown
CC:     Cathi Chamberlain
TRASLATION KEY:
UI: UNINTELLIGIBLE
IA: IAUDIBLE
PH: PHONETIC
SC: SIMULTANEOUS CONVERSATION
OV: OVERLAPPING VOICES
[]: NOISE NOTATIONS OR TRANSLATOR'S NOTES
RC: RECORDED MESSAGE




[BEGIN TAPE] [00:20:00]
JMB: The sense I get is that the District Judge is allowing him to correct
     himself, so that she doesn't have to overturn him. [OV] Or ...
CC:    Got it, okay.
JMB: You know what I'm saying?
CC:    Yes, I do.
JMB: Because, the bottom line is he knows he's wrong which is why when I
     asked him on Friday.  I said, "Can you please restate the grounds on
     which I'm being held?" Right? Remember, remember .. [OV}
CC:    Yep.
JMB: He refused to answer it.        [chuckle]
CC:    Yeah, okay.
JMB: He gave the old, "I've already explained that to the Judge, right?
     Cause he knows that he's wrong.
CC:    Yeah, right.
JMB: And so uh, that's why we've order the transcripts
CC:     [clearing throat]
JMB: in order to get his exact words. Because in his initial ruling on
     October 5th, he, he throws out all the reasons the federal government
           Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 22 of 190 PageID 455

             gave. He said "I'm not a flight risk, he said, "uh that he doesn't
             agree with any of the things that the [UI], but the one thing was
             that sign. So, I wanna
     CC:     Yeah, right.
     JMB: have Bill have that transcript and his words because what, what he's
          probably gonna try to do when he does give me bond is put a bunch of
          restrictions on me that again are unconstitutional like an ankle
          monitor or seizing all my firearms and then I'm gonna say, "Well, no
          wait a minute. You said that none of those reasons were the reason I
          was denied bond...
     CC:     Yes.
     JMB: so, now why are you violating my constitutional rights?" And, and
     CC:     Yeah.
     JMB: and I wanna make the case that why is it that the 2nd Amendment is the
          only Amendment that they seem to want to ever revoke in these
          situations so I'm innocent until proven guilty, right? So, I'm an
          innocent man [OV]
     CC:    Yep.
     JMB: I'm on constitutionally protected bond as an innocent man. But then
          what gives you the grounds to confiscate my weapons and violate my 2nd
          Amendment. You have you aren't confiscating any of my other rights?
          So why is there
     CC:    Um hum.
     JMB: only one of the 10. So to me that's an equal protection under the
          law argument as well as a violation of the 2nd Amendment argument.
          Because in essence the Court is saying, "while you are innocent we're
          gonna deny you the right to self-defense by having you arbitrarily
          give up your weapons. Even though there's no, there's no uh .. there's
          no evidence of any violence of anything like that. And there likely
          gonna have Tylene also give up her weapons. Right? Because I'm
          staying .. [ OV}
5    CC:    Yeah, yeah.
1    JMB: in the house with her. So since when does somebody associated with
3         you lose their constitutional rights simply because you're innocent
l         until proven guilty beyond a reasonable doubt.  So, these are some
J         [OV]
l    CC:    Well, if it's a condition of the Judge for your release and you're
2           staying with her um... [OV} that would kinda make sense
3    JMB: Right, but it an unconstitutional condition .
.i   CC:    Yeah, ok, ok...well, yeah.
      Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 23 of 190 PageID 456

JBM: I mean, just because you're accused of a crime doesn't mean that you
     ah .. forfeit your constitutional rights.
CC:     Right, right, right. How are you feeling about everything?            [OV]
JBM: Now, if you're convicted of a crime, obviously then you lose things,
     so.
CC:     Yeah, obviously. Yeah, I got you. Yeah, it goes back to the guilty
        until proven innocent.

JMB: Right.
[00: 23: 04] [END TAPE]
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   Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 25 of 190 PageID 458

Audio: 1635123880_438_13_212_374: 10/24 call with Kristie Tertel (7:22 to
9:03)
PARTICIPANTS:
JB: Jeremy Michael Brown
KT: Kristie Tertel
TRASLATION KEY:

UI: UNINTELLIGIBLE
IA: IAUDIBLE
PH: PHONETIC
SC: SIMULTANEOUS CONVERSATION
OV: OVERLAPPING VOICES
[]: NOISE NOTATIONS OR TRANSLATOR'S NOTES
RC: RECORDED MESSAGE




[00:07:22] [BEGIN TAPE]
JB: Brandon is in the process of putting together a video with all the-

[OV] KT: Mhm
JB: -surveillance footage that we took, as well as Tylene's iPhone footage
     of the arrest. Um-
KT: I have stuff for him if you want from my footage from January 6 th
JB: Okay. Um, well th-this is more about the day that they arrested me-

[OV] KT: Okay.
JB: -and put me in here. Because there's very damning stuff in that
     footage, right? So- that's where they admit that they don't know what
     they are looking for in the search warrant yet and shit like that.
     Um- so, what I'm- what I'm wanting to do is if he finishes editing
     that I want him t- I wanna have you guys review it. If it's
     acceptable for release on a wide scale meaning-

KT: Mhm
JB: -you know, it might be something that a Tucker Carlson would show or
     OAN or-or-or whatever. Then what I would like to do-

KT: Mhm
JB:- is pre-distribute it with the agreement that it's not released any
     earlier than the start of my hearing because once we are in the
    Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 26 of 190 PageID 459

      hearing they're not going to interrupt it and be like uoh my god your
      Honor look at this shit" [laughs]. You know? So-
KT: Right. Right. Now make sure-

[OV] JB: -that way-
KT: - you run that by your lawyer as well. You know? Because-
[OV] JB: Yeah. Yeah
KT: -you don't wanna have evidence, you know, given out in advance cause
     that would not be good.
JB: Well I mean the-the-the reality is that I'm not worried about them
     knowing what they did wrong because-

[OV] KT: Mhm
JB: -this-this going to be [shouting in background] this is going to be a
     case heavily fought in the-the court of public opinion and-

[OV] KT: Mhm
JB: -it's very likely that the judge is probably going to try to gag me as
     conditions-
[OV] KT: Mhm
JB: -my bond. Um, which that's going to go really well.          [Laughs]
[ 00: 09: 03]   [END TAPE]
Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 27 of 190 PageID 460
                                                            U.S. District Court
                                                         Midd1.e District of Florida
                                                             Tampa Division

                                                       GOVERNMENT EXHIBIT

                                                 Exhj.bitNo.:       1c1 - T
                                                 Case No.: 8:21"cr~348~SCB-:SPF

                                                 UNITED STATES OF AMERICA

                                                 vs.

                                                 Jeremy Brown

                                                 Date Identified:      f J...l   J'-f   l~
                                                 Date AArnitted: ___   f ,,_} 1~·{:?,,\
      Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 28 of 190 PageID 461

1   Audio: 1635991211_438_12_196_361, 11/3 call with Tylene Aldridge (22:30 to
2   24:16)
3   PARTICIPANTS:
4   JB: Jeremy Michael Brown
5   TA: Tylene Aldridge
6   TRASLATION KEY:
7   UI: UNINTELLIGIBLE
8   IA: IAUDIBLE
9   PH: PHONETIC
0   SC: SIJYITJLTANEOUS CONVERSATION
1   OV: OVERLAPPING VOICES
2   []:   NOISE NOTATIONS OR TRANSLATOR 1 S NOTES
3   RC: RECORDED MESSAGE

4

5

6   [BEGIN TAPE] [00:22:30]

7   JB: So, the way it 1 s supposed to work is they charge you with-

8   [OV] TA:   [coughs]

9   JB: -a crime. They arrest you. They tell you what your charges are. They
0        issue a bond. Right? Like, for example, uh- your house. Your-your
1        bond is set at three hundred and seventy seven thousand dollars.

2   TA: Right. No. I understand that part. Yeah.

3   JB: With federal cases, they don't actually pay the three seventy seven
4        but if I don't show up to trial then they take your house. That's how
5        it works.

6   TA: Right.

7   JB: So, therefore-

8   [OV] TA: I know.

9   JB: -there is no reason for me to be held in jail. There is no reason for
0        me to have an ankle monitor. There is no reason for any of this shit
1        because that's what bond serves the purpose of doing. It's ensuring-

2   [OVJ TA: Right

3   JB: -that you show up to your trial.

4   TA: Right.
      Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 29 of 190 PageID 462

5   JB: And so, their entire purpose- their entire reason for denying bond,
6        unconstitutional.
7   TA: Right.
8   JB: Because the Judge even admitted, "I don't think you're a flight risk.
9        I don't think this.· I don't think that." The only thing that he
o        denied me bond on was that stupid sign and the only reason he could
1        deny me that bond on that stupid sign is because he, in his opinion,
2        he felt that it could possibly be a threat. Well, I'm not being
3        charged with a threat. And-
4   [OV] TA: Right.
5   JB: -the sign was an if, then statement. If you violate the law, you
6        better- you better bring a bigger tactical package. That's it.

7   [OV] TA:   [UI]
8   JB: It didn't say if- if you're- you just happen to be wearing a badge, I
9        am going to attack you. It didn't say that.

0   [OV] TA: Right. Mhm
1   JB: So, the whole.purpose, the whole reason he denied the bond was
2        completely ridiculous. He knows it which is why he said, "Uh,
3        alright, we will have another bond hearing."

4   [00:24:16] [END TAPE]
Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 30 of 190 PageID 463



                                                               U.S. District"'Court
                                                             Middle DistrictofFloijda
                                                                Tampa Division

                                                           GOVERN.l\IBNT EXmBIT
                                                                   IO
                                                     Exhibit No.:,_,----,-~~~~
                                                     Case No.: 8:21~cr~348-'SCB-SPF

                                                     UNITED S'I'ATpS OF AMERICA

                                                     vs.

                                                     Jeremy Brown

                                                     Date Identifieµ:   .·1.:Afr~ 12-1
                                                     Date Admitted:       l :ij '{LH i.I
              Case 1:21-sw-00315-ZMF Document
         Case 8:21-cr-00348-SCB-SPF  *SEALED*70-1
                                               Document  7 Filed 11/05/21
                                                  Filed 12/17/21          Page
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                                                                                   of 5'7' 464
     AO 106A (08/18)_ Application for a Warrant by Telephone or Other Reliable Electronic Means


                                             UNITED STATES DISTRICT COURT
                                                                                 for the
                                                                        District of Columbia

                   In the Matter of the Search of                                        )
           (Briefly descn'be the property to be searched                                 )
              or identify the person by name and address)                                )            Case No. 21-sw-315
A RESIDENCE LOCATED AT                                          A                        )
RECREATIONAL VEHICLE                                      PARKED AT                      )
                                             A BLACK TRAILER-AND A)

CELL PHONE CURRENTLY BEING USED BY JEREMY BROWN UNDER RULE
41     APPLICATION FOR A WARRANT BY TELEPHONE                                                OR OTHER RELIABLE ELECTRONIC MEANS
            I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
    penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
    property to be searched and give its location):
      See Attachment A (incorporated by reference)

    located in the - - -Middle
                        - - - - - District of - - - - -Florida
                                                        - - - - - - - , there is now concealed (identify the
    person or describe the property to be seized):
      See Attachment 8 (incorporated by reference)

               The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                    if evidence of a crime;
                    0 contraband, fruits of crime, or other items illegally possessed;
                      0 property designed for use, intended for use, or used in committing a crime;
                      0 a person to be arrested or a person who is unlawfully restrained.
               The search is related to a violation of:
                                   Code Section                                                                     Offense Description
              18 U.S.C. §§ 371 (conspiracy); 23l(a)(2) (transport of firearms or explosives for use in civil disorder); 844(a)(2) (transportation of explosives) and l 752(a)
              (1) and (2) (unlawful entry on restricted buildings or grounds).

             The application is based on these facts:
            See attached Affidavit (incorporated by reference).


               0 Continued on the attached sheet.
               0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested under
                 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                                                        / ~ /re ~
                                                                                                                      Applicant's signature

                                                                                                               Katie Hill, Special Agent, FBI
                                                                                                                      Printed name and title

    Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
                                 telephone                                    (specify reliable electronic means).
                                                                                                                                     Zip M. Faruqui
    Date:             09/29/2021                                                                                                     2021.09.29 19:35:42 -04'00'
                                                                                                                         Judge's signature

    City and state: Washington, D.C.                                                                    Zia M. Faruqui, U.S. Magistrate Judge
                                                                                                                      Printed name and title
          Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 32 of 190 PageID 465
            ., · Case 1:21-sw-00315-ZMF *SEALED* Document 7 Filed 11/05/21 Page 2 of 57 c,

AO 93C (08/18) Warrant by Telephone or Other Reliable Electronic Means                   0 Original                CJ Duplicate Original


                                           UNITED STATES DISTRICT COURT
                                                                             for the
                                                                    District of Columbia

                  In the Matter of the Search of                                )
           (Briefly describe the property to be searched                        )
                  or identify the person by name and address)                   )      Case No. 21-sw-315
A RESIDENCE LOCATED AT !lllllll!l!lllllll!l!lllllll!lll!!II ■--A                )
RECREATIONAL VEHICLE
                                                                                )
                                                                                )
A CELL PHONE CURRENTLY BEING USED BY JEREMY BROWN UNDER
RULE 4 i          WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search and seizure
of the following person or property located in the           Middle            District of                 Florida
(identify the person or describe the property to be searched and give its location):
  See Attachment A (incorporated by reference)




        I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):
 See Attachment B (incorporated by reference)




          YOU ARE COMMANDED to execute this warrant on or before                 October 13, 2021        (not to exceed 14 days)
      ii/ in the daytime 6:00 a.m. to 10:00 p.m. 0 at any time in the day or night because good cause has been established.
        Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to             Zia M. Faruqui, U.S. Magistrate Judge
                                                                                                      (United States Magistrate Judge)

     0 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
     0 for _ _ days (not to exceed 30) □ until, the facts justifying, the later specific date of
                                                                                                                       Zia M. Faruqui
                                                                                                                       2021.09.29 19:36:09 -04'00'
Date and time issued:         09/29/2021
                                                                                                              Judge's signature

City and state:               Washington, D.C.                                                Zia M. Faruqui, U.S. Magistrate Judge
                                                                                                            Printed name and title
          Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 33 of 190 PageID 466
                  Case 1:21-sw-00315-ZMF *SEALED* Document 7 Filed 11/05/21 Page 3 of 57
AO 93C (08d8) W'arr~t by Telephone or Other Reliable Electronic Means (Page 2)

                                                                            Return
Case No.:                                Date and time warrant executed:                 Copy ofwarrant and inventory left with:
 21-sw-315
Inventory made in the presence of:

Inventory ofthe property taken and name(s) ofany person(s) seized:




                                                                         Certification


        I declare under penalty ofperjury that this inventory is correct and was returned along with the original warrant to the
designated judge.



Date:
                                                                                                Executing officer's signature


                                                                                                   Printed name and title
Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 34 of 190 PageID 467
     Case 1:21-sw-00315-ZMF *SEALED* Document 7 Filed 11/05/21 Page 4 of 57




                                       ATTACHEMENT A

                                 PREMISES TO BE SEARCHED

         The property and curtilage to be searched is

          located in the Middle District of Florida, further described as a single-story residence

  located at the comer of

  lS a                                                                                  is affixed

  to the mailbox.

                                          Photograph
Case Case 1:21-sw-00315-ZMF *SEALED*
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                                                                         of '57 468




                                        41
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                                       ATTACHEMENT B

                                 PREMISES TO BE SEARCHED

         A r~creational vehicle parked at

  in the Middle District of Florida, registered to



                                            Photograph




                                                42
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                                      Map




                                       43
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     Case 1:21-sw-00315-ZMF *SEALED* Document 7 Filed 11/05/21 Page 8 of 57




                                        ATTACHEMENT C

                                   PREMISES TO BE SEARCHED

         A black trailer parked at

  Middle District of Florida, registered to

                                              Photograph




                                                 44
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                                       45
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                                        ATTACHMENT D

                                      Property to be searched

  · The property to be searched is a cellular phone (the "TARGET PHONE") associated with

  phone number                   hich is to be seized from the person of Jeremy Brown (born on

                      vicinity of Jeremy Brown, or locations listed in Attachments A, B, and C

  within the state of Florida.
Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 41 of 190 PageID 474

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                                           ATTACHMENT E

                                          Property to be seized

         1.      All information described above in Section I that constitutes fruits, contraband,

  evidence" and instrumentalities of violations of 18 USC 371 (conspiracy); 18 USC 23l(a)(2)

  (transport of firearms or explosives for use in civil disorder); 18 USC 844(a)(2) (transportation of

  explosives) and l 752(a)(l) and (2) (unlawful entry on restricted buildings or grounds) (the

  "Subject Offenses") that have been committed by BROWN and/or other identified and

  unidentified persons, as described in the affidavit submitted in support of this Warrant, including:

              a. Records and information that constitute evidence of use, control, ownership, or

                 occupancy of the PREMISES and things therein;

              b. Evidence of the Subject Offenses, to include clothing, protective/tactical gear

                 worn during the offenses, as described and depicted in the attached affidavit, and

                 firearms, explosives, precursor materials, other weapons and cases to hold or

                 transport weapons or explosives, and instructions or documents showing an intent

                 to obtain, manufacture, or employ weapons or explosives;

              c. records and information concerning:

                      1.   the identification of BROWN and other persons, including photographs and

                           videos depicting clothing and other articles and paraphernalia that reflect

                           evidence of having been present at or near the U.S. Capitol Building on or

                           around January 6, 2021;

                     11.   the identification of persons who either (i) collaborated, conspired, or

                           assisted (knowingly or unknowingly) the commission of the SUBJECT
Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 42 of 190 PageID 475
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                    OFFENSES; or (ii) communicated about matters relating to the SUBJECT

                    OFFENSES, including records that help reveal their whereabouts;

                iii. the U.S. Capitol Building, including any maps or diagrams of the Building

                    or its internal offices, or presence at, or inside of or on the grounds of, the

                    Building on or around January 6, 2021, including any planning, preparation,

                    or travel;

                iv. challenges to or questions about the legitimacy of the 2020 Presidential

                    Election, including awareness of, or any efforts or intent to disrupt, the

                    certification process of the 2020 Presidential Election, or otherwise

                    influence the policy or composition of the United States government by

                    intimidation or coercion;

                 v. materials, devices, tools, plans, or strategies to enter or assist others in

                    entering the U.S. Capitol Building on or about January 6, 2021, by deceit or

                    by force, including weapons and elements used to breach the building or to

                    counter efforts by law-enforcement, such as pepper spray or smoke

                    grenades;

                vi. communication devices, including closed circuit radios, walkie-talkies, or

                    secure or encrypted "apps," related to the directing of others or direct

                    presence at, inside of, or on the grounds of, the U.S. Capitol Building on or

                    around January 6, 2021;

               vii. any conspiracy, planning, or preparation to commit the SUBJECT

                    OFFENSES, or efforts to conceal evidence of the SUBJECT OFFENSES
     case 1:21-sw-00315-ZMF Document
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                                                                         PageID



                          from law enforcement, or to flee prosecution for the SUBJECT ,

                          OFFENSES;

                    vm. the state of mind of BROWN and/or co-conspirators, e.g., intent, absence

                          of mistake, or evidence indicating preparation, planning, knowledge, or

                          experience, including but not limited to tactical training or tactical

                          equipment, related to the SUBJECT OFFENSES;

                     1x. affiliation or communication with the Oath Keepers, including members

                          thereof.

          2.      For any digital device which is capable of containing and reasonably could contain

   fruits, evidence, information, contraband, or instrumentalities as described in the search warrant

   affidavit and above, hereinafter the "Device(s)":

               a. evidence of who used, owned, or controlled the Device(s) at the time the things

                  described in this warrant were created, edited, or deleted, such as logs, registry

                  entries, configuration files, saved usemames and passwords, documents, browsing

                  history, user profiles, email, email contacts, chat, instant messaging logs,

                  photographs, and correspondence;

               b. evidence of software, or the lack thereof, that would allow others to control the

                  Device(s), such as viruses, Trojan horses, and other forms of malicious software,

                  as well as evidence of the presence or absence of security software designed to

                  detect malicious software;

               c. evidence of the attachment to the Device(s) of other storage devices or similar

                  containers for electronic evidence;
Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 44 of 190 PageID 477
    Case 1:21-sw-00315-ZMF *SEALED* Document 7 Filed 11/05/21 Page 14 of 57 '




              d. evidence of counter-forensic programs (and associated data) that are designed to

                 eliminate data from the Device(s);

              e. evidence of the times the Device(s) was used;

              f. passwords, encryption keys, and other access devices that may be necessary to

                 access the Device(s);

              g. documentation and manuals that may be necessary to access the Device(s) or to

                 conduct a forensic examination of the Device(s);

              h. records of or information about Internet Protocol addresses used by the Device(s);

              i. records of or information about the Device(s)'s Internet activity, including firewall

                 logs, caches, browser history and cookies, "bookmarked" or "favorite" web pages,

                 search terms that the user entered into any Internet search engine, and records of

                 user-typed web addresses.

         3.      As used above, the terms "records" and "information" includes all forms of

  creation or storage, including any form of computer or electronic storage (such as hard disks or

  other media that can store data); any handmade form (such as writing); any mechanical form

  (such as printing or typing); and any photographic form (such as microfilm, microfiche, prints,

  slides, negatives, videotapes, motion pictures, or photocopies).

         4.      The term "computer" includes all types of electronic, magnetic, optical,

  electrochemical, or other high speed data processing devices performing logical, arithmetic, or

  storage :functions, including desktop computers, notebook computers, mobile phones, tablets,

  server computers, and network hardware.

         5.      The term "storage medium" includes any physical object upon which computer

  data can be recorded. Examples include hard disks, RAM, floppy disks, flash memory, CD-
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  ROMs, and other magnetic or optical media.

            6.   The United States government will conduct a search of the property described in

  Attachment A-D and determine which information is within the scope of the information to be

  seized specified above. That information that is within the scope of this warrant may be copied

  and retained by the United States.

            7.   Law enforcement personnel will then seal any information from the property

  searched that does not fall within the scope of this warrant and will not further review the

  information absent an order of the Court. Such sealed information may include retaining a digital

  copy of all information received pursuant to the warrant to be used for authentication at trial, as

  needed.

         8.      This warrant authorizes a review of electronic storage media and electronically

  stored information seized or copied pursuant to this warrant in order to locate evidence, fruits, and

  instrumentalities described in this warrant. The review of this electronic data may be conducted

  by any government personnel assisting in the investigation, who may include, in addition to law

  enforcement officers and agents, attorneys for the government, attorney support staff, and technical

  experts. Pursuant to this warrant, the FBI may deliver a complete copy of the seized or copied

  electronic data to the custody and control of attorneys for the government and their support staff

  for their independent review.

         9.      During the execution of the search of the PREMISES described in Attachment A-

  D, law enforcement personnel are also specifically authorized to obtain from BROWN (but not

  any other individuals present at the PREMISES at the time of execution of the warrant) the

  compelled display of any physical biometric characteristics (such as fingerprint/thumbprint, facial

  characteristics, or iris display) necessary to unlock any Device(s) requiring such biometric access
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  subject to seizure pursuant to this warrant for which law enforcement has reasonable suspicion that

  the aforementioned persons' physical biometric characteristics will unlock the Device(s), to

  include pressing fingers or thumbs against and/or putting a face before the sensor, or any other

  security feature requiring biometric recognition of:

                 (a)     any of the Device(s) found at the PREMISES,

                 (b)     where the Device(s) are limited to those which are capable of containing

                         and reasonably could contain fruits, evidence, information, contraband, or

                         instrumentalities of the offense(s) as described in the search warrant

                         affidavit and warrant attachments,

  for the purpose of attempting to unlock the Device(s)'s security features in order to search the

  contents as authorized by this warrant.

         10.     While attempting to unlock the Device by use of the compelled display of biometric

  characteristics pursuant to this warrant, law enforcement is not authorized to demand that the

  aforementioned person(s) state or otherwise provide the password or identify the specific biometric

  characteristics (including the unique finger(s) or other physical features), that may be used to

  unlock or access the Device(s). Nor does the warrant authorize law enforcement to use the fact

  that the warrant allows law enforcement to obtain the display of any biometric characteristics to

  compel the aforementioned person(s) to state or otherwise provide that information. However, the

  voluntary disclosure of such information by the aforementioned person(s) is permitted. To avoid

  confusion on that point, if agents in executing the warrant ask any of the aforementioned person(s)

  for the password to any Device(s), or to identify which biometric characteristic (including the

  unique finger(s) or other physical features) unlocks any Device(s), the agents will not state or

  otherwise imply that the warrant requires the person to provide such information, and will make
CaseCase  1:21-sw-00315-ZMF *SEALED*
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                             Document 70-1 Filed 712/17/21
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                                                                    of 19017PageID
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  clear that providing any such information is voluntary and that the person is free to refuse the

  request.


                            PART II- INFORMATION AND DATA
                            TO BE SEIZED FROM THE DEVICES

         The following records and information located on the Devices and related to violations of

  18 U.S.C. §§ 371 (conspiracy); and 1752(a)(l) and (2) (unlawful entry on restricted buildings or

  grounds); (the "Subject Offenses") that have been committed by BROWN and/or other identified

  and unidentified persons, including:

         a.      The records and information described in Part I, above, in any electronic form;

         b.     Evidence of who used, owned, or controlled the Devices at the time the things
                described in this warrant were created, edited, or deleted, such as logs, registry
                entries, configuration files, saved usemames and passwords, documents, browsing
                history, user profiles, e-mail, e-mail contacts, "chat," instant messaging logs,
                photographs, and correspondence;

         c.     Evidence of software that would allow others to control the Devices, such as
                viruses, Trojan horses, and other forms of malicious software, as well as evidence
                of the presence or absence of security software designed to detect malicious
                software;

         d.     Evidence of the lack of such malicious software;

         e.     Evidence indicating how, when, and where the Devices were accessed or used to
                determine the chronological context of device access, use, and events relating to
                crime under investigation and to the Devices user;

         f.     Evidence indicating the Devices user's state of mind as it relates to the crime
                under investigation;

         g.     Evidence of the attachment to the Devices of other storage devices or similar
                containers for electronic evidence;

         h.     Evidence of counter-forensic programs (and associated data) that are designed to
                eliminate data from the Devices;

         i.     Documentation and manuals that may be necessary to access the Devices or to
                conduct a forensic examination of the Devices;
Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 48 of 190 PageID 481
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         j.      Records of or information about Internet Protocol addresses used by the Devices;

         k.      Records of or information about the Devices' Internet activity, including firewall
                 logs, caches, browser history and cookies, "bookmarked" or "favorite" web pages,
                 search terms that the user entered into any Internet search engine, and records of
                 user-typed web addresses; and

         1.      Contextual information necessary to understand the evidence described in this
                 attachment.

         As used above, the terms "records" and "information" includes all forms of creation or

  storage, including any form of computer or electronic storage (such as hard disks or other media

  that can store data); any handmade form (such as writing); any mechanical form (such as printing

  or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,

  videotapes, motion pictures, or photocopies).
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

   IN THE MATTER OF THE SEARCH OF
   A RESIDENCE LOCATED A T -
                            A
   RECREATIONAL VEIDCLE
                      PARKED AT
                                                        SW No. 21-sw-315

                   ANDA CELL
   PHONE CURRENTLY BEING USED BY
   JEREMY BROWN UNDER RULE 41



                               AFFIDAVIT IN SUPPORT OF
                         APPLICATIONS FOR A SEARCH WARRANT

         Your affiant, Katie Hill, being first duly sworn, hereby depose and state as follows:

                        INTRODUCTION AND AGENT BACKGROUND

          1.     Your affiant is a Special Agent with the Federal Bureau of Investigation ("FBI"),

  and, as such, am a "federal law enforcement officer" within the meaning of Federal Rule of

  Criminal Procedure 41(a)(2)(C). Your affiantjoined the FBI as a Special Agent in August 2009.

  Your affiant is currently assigned to the FBI's Tampa Division Joint Terrorism Task force

  ("JTTF"). Your affiant's official duties include, but are not limited to, investigating individuals

  and groups who have committed violations of federal laws, including federal laws related to

  threats, international terrorism, and domestic terrorism. As a special agent, your affiant has

  participated in numerous investigations and have executed both arrest and search warrants. The

  facts in this affidavit come from my personal observations, my training and experience, and

  information obtained from other agents and witnesses. This affidavit is intended to show merely

  that there is sufficient probable cause for the requested warrant and does not set forth all of my

  knowledge about this matter.
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         2.       Based on the facts set forth in this affidavit, there is probable cause to believe that

  violations of 18 USC 371 (conspiracy); 18 USC 23l(a)(2) (transport of firearms or explosives for

  use in civil disorder); 18 USC 844(a)(2) (transportation of explosives) and 1752(a)(l) and (2)

  (unlawful entry on restricted buildings or grounds) (the "Subject Offenses") have been

  committed by JEREMY BROWN and/or other identified and unidentified persons. In addition,

  there is probable cause to believe that evidence of these crimes will be found within the Middle

  District of Florida at the following locations (collectively "the Premises"):

              •   The residence (the "Residence" further described in Attachment A) that BROWN

                  currently resides in located at



              •
                  -
                  The recreation vehicle

                  described in Attachment B) that is parked at



              •   A black trailer                                             (the "Trailer" further

                  described in Attachment C) that is parked at



              •   a cell phone associated with the phone number                    (the "TARGET

                  PHONE" further described in Attachment D) currently being used by BROWN.

                                           JURISDICTION

         3.       Although the PREMISES are located outside this district, this Court has jurisdiction

  under Federal Rule 41(b)(3) because this is an investigation of domestic terrorism as that term is

  defined in Title 18, U.S.C. Section 2331(5)(b):




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                  [T]he term "domestic terrorism" means activities that- (A) involve acts dangerous

                  to human life that are a violation of the criminal laws of the United States or of any

                  State; (B) appear to be intended- (i) to intimidate or coerce a civilian population;

                  (ii) to influence the policy of a government by intimidation or coercion; or (iii) to

                  affect the conduct of a government by mass destruction, assassination, or

                  kidnapping; and (C) occur primarily within the territorial jurisdiction of the United

                  States.

   18 u.s.c. § 2331(5).

                                         PROBABLE CAUSE

                                              Background

          4.      The US Capitol Police (USCP), the FBI, and assisting law enforcement agencies

   are investigating a riot and related offenses that occurred at the United States Capitol Building,

  located at 1 First Street, NW, Washington, D.C., 20510 on January 6, 2021.

                            The 2020 United States Presidential Election and
                              the Official Proceeding on January 6, 2021

          5.      The 2020 United States Presidential Election occurred on November 3, 2020.

          6.      The United States Electoral College is a group required by the Constitution to form

  every four years for the sole purpose of electing the president and vice president, with each state

  appointing its own electors in a number equal to the size of that state's Congressional delegation.

          7.      On December 14, 2020, the presidential electors of the U.S. Electoral College met

  in the state capital of each state and in the District of Columbia and formalized the result of the

  2020 U.S. Presidential Election: Joseph R. Biden Jr. and Kamala D. Harris were declared to have

  won sufficient votes to be elected the next president and vice president of the United States.




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           8.    On or about December 19, 2020, President Donald J. Trump tweeted, "Statistically

  impossible to have lost the 2020 Election. Big protest in D.C. on January 6th. Be there, will be

  wild!"

           9.    On January 6, 2021, a Joint Session of the United States House of Representatives

  and the United States Senate ("the Joint Session") convened in the United States Capitol building

  (the "Capitol" or the "U.S. Capitol") to certify the vote of the Electoral College of the 2020 U.S.

  Presidential Election (the "Certification").

                                   Criminal Activity Before the Riot

           10.   Based on my knowledge, training, and experience, I know that participants in the

  kinds of criminal activities described herein tend to, and often did here, take certain preparatory

  steps before committing their crimes, including: researching and purchasing materials and supplies

  such as burner phones, tactical vests and helmets, and weapons including bear spray, pepper spray,

  asps (police batons), guns and ammunition, and zip tie restraints; mapping and reconnoitering the

  location of the planned crime and possible entry and escape routes, including checking for

  surveillance cameras and other potential security surrounding such locations; training in how to

  use their weapons and other tools and techniques involved in their planned criminal activity; and

  organizing with other co-conspirators on social media and elsewhere for planned travel and

  methods of attack.

           11.   Beginning after the election in November 2020, text and other communications

  show that some groups of subjects planned and attended military-style training in preparation for

  opposing the results of the election. Multiple groups that forcibly entered the Capitol appeared to

  consist of individuals who had coordinated their actions.      Some groups at the riot included

  members who dressed in similar uniforms with the same insignia, and members of some groups



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  can be heard on video giving and following instructions. Based on my training and experience,

  and this investigation, these groups' manner of dress, movements, and communication

  demonstrate that they had prepared together. Furthermore, the movement of these groups within

  the Capitol demonstrates an intent to, among other things, oppose by force Congress's authority,

  and to prevent, hinder, or delay the execution of the Joint Session's legal responsibilities.

          12.    Beginning in December 2020, using social media, text messaging, and messaging

  applications, subjects planning to participate in the riot sent incendiary messages aimed at

  recruiting as large a following as possible to go to Washington, D.C. to interfere with the official

  Congressional proceeding on January 6, 2021. This investigation has shown that many of the

  subjects of this investigation came from out of state and coordinated using social media, text

  messaging, and messaging applications on their cell phones.

         13.     During the time when the subjects were inside the Capitol building, multiple

  subjects were observed inside the U.S. Capitol wearing what appears to be, based upon my training

  and experience, tactical vests and helmets. The common equipment and paraphernalia that groups

  inside and outside the Capitol possessed, such as bear spray, eye protection, tactical vests, and

  helmets, are evidence of some prior agreement among individuals to engage in the conduct

  described herein.

                           The Riot at the U.S. Capitol on January 6, 2021

         14.     At the U.S. Capitol, the building itself has 540 rooms covering 175,170 square feet

  of ground, roughly four acres. The building is 751 feet long (roughly 228 meters) from north to

  southand350 feet wide (106meters) at its widest point.. The U.S. Capitol Visitor Center is 580,000

  square feet and is located underground on the east side of the Capitol. On the west side of the

  Capitol building is the West Front, which includes the inaugural stage scaffolding, a variety of



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  open concrete spaces, a fountain surrounded by a walkway, two broad staircases, and multiple

  terraces at each floor. On the East Front are three staircases, porticos on both the House and Senate

  side, and two large skylights into the Visitor's Center surrounded by a concrete parkway. All this

  area was barricaded and off limits to the public on January 6, 2021.

          15.    The U.S. Capitol is secured24 hours a daybyUSCP. Restrictions around the U.S.

  Capitol include permanent and temporary security barriers and posts manned by USCP. Only

  authorized people with appropriate identification are allowed access inside the U.S. Capitol.

          16.    On January 6, 2021, the area of the U.S. Capitol grounds was established as a

  restricted area. This restricted area consisted of both permanent and temporary security barriers

  as well as posts manned by USCP to include bike racks. The restricted area was bounded to the

  north of the U.S. Capitol along Constitution Avenue; to the south of the U.S. Capitol along

  Independence Avenue; to the west of the U.S. Capitol along the eastern side of First Street; and,

  on the east side of the U.S. Capitol, between the East Front and the grassy areas located between

  the Plaza and First Street. Within the grassy area, a designated area for media was restricted by

  bike racks. This bounded area is hereinafter referred to as the "Restricted Grounds." People could

  lawfully be on the Capitol grounds outside of the Restricted Grounds including on the East Front,

  east of the bike racks along the Capitol Plaza, including all of the grassy areas on the East Front.

         17.     Within the West Front of the Restricted Grounds were additional temporary barriers

  due to preparations and ongoing construction for the Presidential Inauguration including perforated

  green plastic sheeting attached to stakes at regular intervals, known as snow fencing, and signage

  stating "Area Closed by order of the United States Capitol Police Board." The exterior plaza of

  the U.S. Capitol was also closed to members of the public.




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          18.     A map of the area of the U.S. Capitol showing the Restricted Grounds is below,

  the red line marks the police line at the edges of the Restricted Grounds:




  Figure 2: Restricted Grounds around the U.S. Capitol on January 6, 2021.

         19.      On January 6, 2021, a joint session of the United States Congress convened at the

  U.S. Capitol.    During the joint session, elected members of the United States House of

  Representatives and the United States Senate were meeting in separate chambers of the U.S.

  Capitol to certify the vote count of the Electoral College of the 2020 Presidential Election, which

  took place on November 3, 2020. The joint session began at approximately 1:00 p.m. Eastern

  Standard Time (EST). Shortly thereafter, by approximately 1:30 p.m., the House and Senate

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   adjourned to separate chambers to resolve a particular objection. Vice President Mike Pence was

   present and presiding, first in the joint session, and then in the Senate chamber.

          20.     As the proceedings continued in both the House and the Senate, and with Vice

   President Mike Pence present and presiding over the Senate, a large crowd gathered outside the

   U.S. Capitol. As noted above, temporary and permanent barricades were in place around the

   exterior of the U.S. Capitol building, and USCP were present and attempting to keep the crowd

   away from the Capitol building and the proceedings underway inside.

          21.     At around 1:00 p.m. EST, known and unknown individuals broke through the police

  lines, toppled the outside barricades protecting the U.S. Capitol, and pushed past USCP and

   supporting law enforcement officers there to protect the U.S. Capitol. Pipe bombs were later found

  near both the Democratic National Committee and Republican National Committee headquarters.

          22.     At around 1:30 p.m. EST, USCP ordered Congressional staff to evacuate the House

  Cannon Office Building and the Library of Congress James Madison Memorial Building in part

  because of a suspicious package found nearby.

          23.     Media reporting showed a group of individuals outside of the Capitol chanting,

  "Hang Mike Pence." I know from this investigation that some individuals believed that Vice

  President Pence possessed the ability to prevent the certification of the presidential election and

  that his failure to do so made him a traitor.

          24.     At approximately 2:00 p.m., some people .in the crowd forced their way through,

  up, and over the barricades and law enforcement. The crowd advanced to the exterior fa9ade of

  the building. The crowd was not lawfully authorized to enter or remain in the building and, prior

  to entering the building, no members of the crowd submitted to security screenings or weapons

  checks by U.S. Capitol Police Officers or other authorized security officials. At such time, the



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  certification proceedings were still underway and the exterior doors and windows of the U.S.

  Capitol were locked or otherwise secured. Members of law enforcement attempted to maintain

  order and keep the crowd from entering the Capitol.

         25.     Shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

  including by breaking windows and by assaulting members of law enforcement, as others in the

  crowd encouraged and assisted those acts. Publicly available video footage shows an unknown

  individual saying to a crowd outside the Capitol building, "We're gonna fucking take this," which

  your affiant believes was a reference to "taking" the U.S. Capitol.




         26.     Multiple groups that forcibly entered the Capitol appeared to consist of individuals

 who had practiced and/or coordinated their actions. For example, some groups included members

  who dressed in similar uniforms with the same insignia, and members of some groups can be heard

  on video giving and following instructions. Based on my training and experience, and this

  investigation, these groups' manner of dress, movements, and communication demonstrate that


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  an extended magazine. These actions by the unknown individuals resulted in the disruption and

  ultimate delay of the vote Certification.

            30.   Also, at approximately 2:30 p.m. EST, USCP ordered the evacuation oflawmakers,

  Vice President Mike Pence, and president pro tempore of the Senate, Charles Grassley, for their

  safety.

            31.   At around 2:45 p.m. EST, subjects broke into the office of House Speaker Nancy

  Pelosi.

            32.   At around 2:47 p.m., subjects broke into the United States Senate Chamber.

  Publicly available video on the news media website of The New Yorker shows an individual

  asking, "Where are they?" as they opened up the door to the Senate Chamber. Based upon the

  context, law enforcement believes that the word "they" is in reference to members of Congress.




            33.   After subjects forced entry into the Senate Chamber, the same publicly available

  video shows that an individual asked, "Where the fuck is Nancy?" Based upon other comments



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  and the context, law enforcement believes that the ''Nancy" being referenced was the Speaker of

  the House of Representatives, Nancy Pelosi.




         34.    A subject left a note on the podium on the floor of the Senate Chamber. This note,

  captured by the filming reporter on the same video, stated, "Its Only A Matter of Time Justice is

  Coming."




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          35.     At around 2:48 p.m. EST, DC Mayor Muriel Bowser announced a citywide curfew

  beginning at 6:00 p.m.

          36.     At about 3:25 p.m. EST, law enforcement officers cleared the Senate floor.

          37.     At around 4:52 p.m. EST, at a staging area for the media set up outside of the U.S.

  Capitol building on the east side, unknown subjects assaulted members of the media and stole and

  destroyed equipment owned by various members of the media and media companies.

          38.     Between 3:25 and around 6:30 p.m. EST, law enforcement was able to clear the

  U.S. Capitol of all of the subjects.

         39.      Based on these events, all proceedings of the United States Congress, including the

  joint session, were effectively suspended until shortly after 8:00 p.m. the same day. In light of the

  dangerous circumstances caused by the unlawful entry to the U.S. Capitol, including the danger

  posed by individuals who had entered the U.S. Capitol without any security screening or weapons

  check, Congressional proceedings could not resume until after every unauthorized occupant had

  left the U.S. Capitol, and the building had been confirmed secured. The proceedings resumed at

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  approximately 8:00 pm after the building had been secured. Vice President Pence remained in the

  United States Capitol from the time he was evacuated from the Senate Chamber until the session

  resumed.

         40.     Beginning around 8:00 p.m., the Senate resumed work on the Certification.

         41.     Beginning around 9:00 p.m., the House resumed work on the Certification.

         42.     Both chambers of Congress met and worked on the Certification within the Capitol

  building until approximately 3 a.m. on January 7, 2021.

                                    Cell Phone Usage at the Riot

         43.     During national news coverage of the aforementioned events, video footage which

  appeared to be captured on mobile devices of persons present on the scene depicted evidence of

  violations oflocal and federal law, including scores of individuals inside the U.S. Capitol building

  without authority to be there. Subjects also posted comments, pictures, and video before, during,

  and after breaching the Capitol grounds and the Capitol building.

         44.     Based on my training and experience, I know that it is common for individuals to

  carry and use their cell phones during large gatherings, such as the gathering that occurred in the

  area of the U.S. Capitol on January 6, 2021. Such phones are typically carried at such gatherings

  to coordinate with other participants at the gatherings, to communicate with other individuals about

  the gatherings, to allow individuals to capture photographs and video footage of the gatherings,

  and to post on social media and digital forums about the gatherings. Nearly every phone is internet

  equipped and allows individuals to access the internet, including Google.

         45.     Many subjects, including those detailed below, seen on news footage in the area of

  the U.S. Capitol were using a cell phone in some capacity. Based on my participation in this

  investigation, I know some subjects were recording the events occurring in and around the U.S.



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  Capitol and others took photos, to include photos and video of themselves after breaking into the

  U.S. Capitol itself. As reported in the news media, others inside and immediately outside the U.S.

  Capitol live-streamed their activities, including those described above as well as statements about

  these activities.

          46.     Photos available on various publicly available news, social media, and other media

  show some of the subjects within the U.S. Capitol during the riot. In several of these photos, the

  individuals who broke into the U.S. Capitol can be seen holding and using cell phones, including

  to take pictures and/or videos.

          47.     In addition, organized groups within the rioters used social media, text messaging,

  and messaging applications and other apps on their cell phones to plan and coordinate their

  activities before, during, and after the riot.   As described further below, Oath Keepers and

  individuals associated with the Oath Keepers engaged in substantial use of internet connected

  cellular devices during the riots of January 6, 2021.

                                    Criminal Activity After the Riot

          48.     Following the riot, many subjects posted pictures, video, and texts showing and

  describing their participation in the riot. These included selfies and videos apparently taken with

  their personal cell phones. Many of these posts were subsequently deleted. I know from my

  knowledge, training, and experience that people who commit criminal acts will often delete such

  information in an attempt to thwart any subsequent criminal investigation.         Some subjects

  subsequently fled their homes and went into hiding.




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                                      Facts Specific to This Application

                                           The Oath Keepers Militia

           49.     Law enforcement and news-media organizations observed that members of an

  organization known as the Oath Keepers were among the individuals and groups who forcibly

  entered the Capitol on January 6, 2021. The Oath Keepers are a large but loosely organized

  collection of individuals, some of whom are associated with militias. Some members of the Oath

  Keepers believe that the federal government has been coopted by a cabal of elites actively trying

  to strip American citizens of their rights. Though the Oath Keepers will accept anyone as

  members, they explicitly focus on recruiting current and former military, law enforcement, and

  first-responder personnel. The organization's name alludes to the oath sworn by members of the

  military and police to defend the Constitution "from all enemies, foreign and domestic." The Oath

  Keepers are led by PERSON ONE.

           50.     In a widely disseminated video 1 recorded by a photojournalist on January 6, 2021,

  a "stack" of individuals dressed in matching uniforms consisting of camouflaged-combat attire, to

  include confirmed Oath Keeper members (further described below), moves up and through a

  crowd on the east side of the U.S. Capitol. A screenshot of the video is below, with a portion of

  the "stack" encircled by a red oval:




          1
           See https://apnews.com/article/ex-military-cops-us-capitol-riot-alcbl 720ldfddc98291edead5
  badc257/gallery/0ecdl78lc66d437f92c6lb3f4848a74e

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         51.       Law enforcement reports that a stack or line formation is a tactical formation used

  by infantryman in the military. One defining feature of this formation is that members keep their

  hands on the backs or vests of the person in front of them to remain together while entering a room

  or weaving through a crowd. The purpose of maintaining direct physical contact with one another

  is to efficiently communicate with one another, especially in crowded or noisy areas.

         52.       A service called "News2Share" uploaded to YouTube a video of the January 6,

  2021, attack at the Capitol. At the approximate 3;..minute-and-8-second mark, the video shows

  eight-to-ten individu~ls in matching uniforms consisting of camouflaged-combat attire

  aggressively approaching an entrance to the Capitol.2 These individuals, who are wearing helmets,

  reinforced vests, and clothing with Oath Keeper logos and insignia, can be seen moving in an



         2   See https://www.youtube.com/watch?v=b76KfHBOQ08&feature=youtu.be.


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  organized and practiced fashion and forcing their way to the front of the crowd gathered around a

  set of doors to the Capitol.




         53.     A close-up view of the badges on the vest of one of these individuals, seen just

  under the Oath Keepers emblem on his shirt, displays the Oath Keepers motto, ''Not On Our

  Watch." The badge also says, "I don't believe in anything. I'm just here for the. violence."




         54.     Based on the foregoing observations of the video, and information gained in the

  course of the investigation, it is reasonable to believe that the organized group of individuals

  marching to the doors of the Capitol in the video above are members and affiliates of the Oath

  Keepers. More than a dozen Oath Keepers, including Jessica Watkins, Kelly Meggs, and
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   approximately eight individuals from Florida (including Defendant Four as referenced below),

   have been charged for their involvement in the January 6 riots.

                                    Facts Specific to Jeremy Brown

           55.     On January 25, 2021, FBI WFO received a complaint from Witness 1 who has

   known JEREMY BROWN for multiple years. Witness 1 provided publicly available photos of

   BROWN in tactical gear from January 5, 2021, but was unsure about whether BROWN entered

   the Capitol during the riots. Your affiant has provided one of the photos here:


                                  < yahoo/news




           56.    Your affiant was able to identify BROWN'S whereabouts on January 6 by

   comparing the publicly available photo of Brown (above) from January 5th to photography and

   video from January 6. Your affiant located a publicly available photo of him on Twitter wearing

   the same distinctive attire standing just before the steps of the East side steps of the Capitol during

   the riots of January 6. He was more than 100 feet within the restricted grounds that law

   enforcement had originally set up to protect Congress and Vice President Pence during the

   certification of the Electoral College vote. Brown wore full military gear, including a helmet, radio,
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   a tactical vest, and prominently displayed large surgical trauma shears tucked into a pack sitting

  on the vest, nearly the exact attire that he wore on the prior day. Your affiant has provided the

  Twitter photo below:




          57.    Your affiant reviewed body worn camera footage from January 6, 2021 and was

  able to identify BROWN by his distinctive attire outside the East doors of the Capitol at

  approximately 4:27 PM. During this period, Brown remained at least one hundred feet past the

  barriers that law enforcement had initially set up to protect the Capitol. On the body worn camera

  video, BROWN carried zip ties attached to his belt, as well as a radio, surgical trauma shears, and

  tactical gear. Metropolitan Police Officers, in attempting to resecure the Capitol Grounds,
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  advanced in a line and yelled "Back" in unison. Instead of voluntarily complying with police

  orders, BROWN only retreated when pushed with police baton sticks. During this encounter,

  BROWN repeatedly claimed that the officers were, in his opinion, violating the laws and the

  Constitution of the United States. Your affiant has .included a screenshot below:




             58.      In the course of this investigation, your affiant has also reviewed a statement from

  Defendant 4 who has pled guilty to Conspiracy to Obstruct an Official Proceeding relating to his

  conduct and the conduct of other Oath Keepers in breaching the US Capitol on January 6, 2021.

             59.      According to Defendant 4, Defendant 4 utilized a ride share to travel to BROWN'S

  house on January 4 in preparation for traveling to Washington D.C. Your affiant has obtained

  records from the ride share company indicating that Defendant 4 entered an address consistent

  with BROWN's home address of                                                     (the "Residence").

             60.      According to Defendant 4, Brown and other individuals associated with the Oath

  Keepers coordinated their activity via a Signal3 chat of Florida Oath Keepers. They caravanned in

  a recreational vehicle (the "RV") that was, according to Defendant 4, loaded with a cache of


  3   Signal is an encrypted chat application.

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  weapons, ammunition, and gas. Defendant 4 followed the RV in BROWN'S girlfriend's van. Kelly

  Meggs, currently indicted for his role in the conspiracy and the leader of the Florida branch of the

  Oath Keepers, informed Defendant 4 that Brown was a "loose cannon" and had explosives inside

  the RV. Defendant 4 positively identified Brown in the publicly available Twitter photo referenced

  above.

           61.    Your affiant has reviewed the Signal chat referenced by Defendant 4. In the chat,

  BROWN coordinated travel plans with other Oath Keepers and rendezvous points. On December

  23, 2020, he messaged, "We have a RV an Van going. Plenty of Gun Ports left to fill. We can pick

  you up." On January 1, 2021, BROWN, referring to his RV a~ "GROUND FORCE ONE" wrote:

           GROUND FORCE ONE Departure Plan:
           If you can, come to my house anytime Saturday. You can stop by and drop stuff
           off, or stay the night. This way we can load plan, route plan, and conduct PCis
           (Pre Combat Inspections).
           I would LIKE to depart by 0645 on Sunday morning, Jan 3rd. Push through to the
           NC linkup on the 3rd, RON (Rest Over Night) there, then push to DC on the 4th.
           This will give us the 4th/5th to set up, conduct route recons, CTR (Close Target
           Reconnaissance) and any link ups needed with DC elements.
           If you need to be picked up, then we will work that into route plan and will
           provide exact pickup time by Saturday evening. Please have EVERYTHING
           ready once we arrive. It will be an ERO (Engine Running Onload).
           IF YOU ARE RIDING WITH ME, dm me with your plan to come here or be
           picked up. I will send address via the dm.
           I am willing to make adjustments all the way up until we pass your ass headed
           north, but it is now time to shit or get on someone else's pot. READY? GO!!!

           62.    Your affiant has also reviewed statements made by BROWN and other Oath

  Keepers following the riots of January 6, 2021. On that day, BROWN wrote:

           Everything you are watching on the Media and Houses of Congress is a LIE! I was
           shot in the neck with pepper balls and beating in the forearm with a night stick
           trying to shield unprotected Civilians from being hit in the head. This was an
           exercise in the unrestrained addiction to power.




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   Other indicted Oath Keepers also participated on additional Signal chats with BROWN. On the

   afternoon of January 7, 2021, Jessica Watkins, who has been indicted on charges of Conspiracy

   and Obstruction of an Official Proceeding for her actions on January 6, "Proud to go in with you

   all! I'd say 'I'll follow you into the gates of hell' but we did that already." Law enforcement has

   been able to retrieve portions, but not all of this chat from the phones of other conspirators. Some

   messages in the chat appear to have been deleted including those sent by Kelly Meggs, who, like

   Watkins, has also been indicted for Conspiracy and various charges with other Oath Keepers.

          63.     Your affiant also has reviewed Parler posts from BROWN'S account

   (@brownforcongress2020). Based on this review, your affiant was able to confirm that BROWN

   intended to travel to DC for the January 5 protests in an RV with other individuals:



           1:s2

                @Bro\AVnForCongress2020
                      Jeremy
                      .    ..Brown               :cbBro-~vnForCc,nar.sss2020
                                                 ~                    ~




                      2days ago
        Mr~ Ston~1 This is Jeremy Brown, retired Green Beret that
        rah forfL-14.I am headed to DC on or ~bout the 3rd in our
        RV with myself and some-others. We have a spotlO miles
        outside DC and will have a van as well. lf you need
        transportation or Security, we can adjust to pick you up.

                                                              0 .7,
                                        Hide Cot'lvers:ation




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             64.      Your affiant also reviewed publicly available video podcasts of BROWN and

  PERSON ONE. In an interview posted on July 12, 2021,4 BROWN stated that he was present with

  other Oath Keepers on January 6. Prior to the riots, he deposited his guns with other Oath Keepers

  in Virginia and retrieved them after the riots. During the riots, BROWN stated that he was present

  with other Oath Keepers, including those who have been indicted for actions relating to their

  breach of the Capitol, and encouraged other Oath Keepers, such as Jessica Watkins, not to enter

  the Capitol.

             65.      Your affiant has reviewed a statement given by BROWN to federal agents. Law

  enforcement agents called BROWN at :XXX-XXX:-4564 (the "TARGET PHONE") on or about

  January 6 and 7, 2021 and inquired regarding his whereabouts. Agents spoke briefly with BROWN

  on January 6, 2021 but could not hear him well due to apparent crowd noise. BROWN spoke to

  agents in more detail on January 7, 2021. He told them that he was present in Washington, D.C.

  and provided security for VIPs at the "Stop the Steal" rally. He stated that he had no information

  about anyone who entered the Capitol.

             66.      According to records obtained through a search warrant which was served on

  Verizon, on January 6, 2021, in and around the time of the incident, the cellphone associated with

  the TARGET PHONE was identified as having utilized a cell site consistent with providing

  service to a geographic area that included the interior of the United States Capitol building. Your

  affi.ant has not yet identified BROWN inside the Capitol but has identified him within the restricted

  ground.

             67.     Your affiant has learned from an individual who has known BROWN for multiple

  years that he intends to sell his current house located at



  4
      https ://freeworldnews.tv/watch?id=60ecff8474feb85ab 1adec2f

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  FLORIDA (the "RESIDENCE") and vacate by approximately October 2, 2021. According to

  publicly available information on Zillow, a real estate website, BROWN'S residence is currently

  for sale. On a photo from what appears to be BROWN'S office, your affiant identified a large

  white board containing lists of items corresponding to the following column: "Food," "Clothing,"

  "Shelter," "Currency," "Communicate," "Move," and "Shoot." In the "Shoot" column, there are

  numerous firearms listed and explosive devices such as "flash bangs." "Flash bangs" are prohibited

  explosive devices under 26 USC 5861, unless registered with the Bureau of Alcohol, Tobacco, and

  Firearms (ATF). Your affianthas queried information with the ATF. BROWN is not registered to

  possess explosive devices.

         68.     At the bottom of the white board, "Good" is written in red marker, "Better" is

  written in blue marker, "Best" is written in green marker, "On hand" is written in black marker.

  All items listed under "Shoot," including flash bangs, are written in black marker indicating that

  they are on hand. Your affiant has included a zoomed in screen shot of the photo below and has

  circled flash bangs in red:




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                          t11~tijt~                    11it•
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                          t•t; -~'-'.'.?..;;,€,.:~•




         69.     Your affiant has spoken to an individual who has known BROWN for multiple

 years. This individual did not have any specific knowledge about BROWN possessing or seeking


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  to possess explosives such as "flash bangs." BROWN is currently living both in the RV and in the

  RESIDENCE. The RV is the same RV he used to travel to Washington, D.G. The RV is parked

  in front of his house. FBI agents observed the RV on September 21, 2021 and photographed it

  below:




           70.   Both the RV and a black trailer (the "Trailer"), which is also parked on the

  property are registered to                          who according to multiple individuals who

  have known BROWN for multiple years, is BROWN'S current girlfriend. On her driver's

  ·license, - l i s t s her home address as of                                            BROWN

  resides with




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          71.    A family member of Witness 1 informed Witness 1 that IT was present inside the

  RESIDENCE prior to the house going on the market. The house was full of BROWN'S

  possessions with multiple boxes and weapons scattered throughout the house. Publicly available

  photos on Zillow now show an organized home, inconsistent with the description of the house by

  the family member of Witness 1. Witness 1 stated that BROWN now alternates sleeping in the

  house and in the RV.

          72.    Based on my training, experience, general familiarity with the small confines of

  an RV, the fact that the trailer was purchased approximately one month ago and sits next to the

  RV and the house within the property line of                            and that it is unlikely that an

  individual would market a home available for public inspection with guns and explosives inside

  of the home, it is probable that many of BROWN'S possessions, including electronics, guns,

  ammunition, and explosives, which constitute potential evidence in the investigation, have been

  moved to the RV or the TRAILER.

                                        The Collective Premises

         73.     On September 21, 2021, law enforcement agents observed the RESIDENCE

  (further described in Attachment A), the RV (further described in Attachment B), which is

  registered to BROWN'S girlfriend, and the TRAILER (further described in Attachment C) also

  registered to BROWN's girlfriend. Public records indicate that -currently owns the

  property. BROWN has previously told agents that he resides at the address. BROWN has posted

  on Facebook that he is actively selling items at the property in preparation for vacating the premises

  by September 30, 2021. Witness 1 informed your affiant that BROWN is currently sleeping in the

  RV.




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                       Facts Specific to This Seizure of the TARGET PHONE

          74.    On or about September 30, 2021, your affiant anticipates arresting BROWN for

  violations of federal law. Due to officer safety considerations, your affiant and other federal agents

   anticipate arresting BROWN when he is away from his suspected cache ofweapons and explosives

  that BROWN likely keeps at the RESIDENCE, RV, or TRAILER. In the last week, agents have

  observed BROWN leave his property. Based on my training and experience, your affiant knows

  that individuals typically carry their cell phones when they exit their property. Investigators seek

  this warrant for authority to stop BROWN, search his person for the TARGET PHONE (further

  described in Attachment D), to seize the TARGET PHONE, and to search the TARGET

  PHONE for evidence of the offenses under investigation, as described above and in Attachment

  E.

                                            Cellular Devices

          75.    There is probable cause to believe that BROWN'S cellular telephone and other

  electronic devices contain evidence of the criminal conduct under investigation. Because BROWN

  traveled to Washington, D.C., from Florida, there is also probable cause to believe that BROWN

  would have used any cellular telephone in his possession to communicate with others during his

  trip about his activities in Washington, D.C., navigate during travel, conduct searches for food and

  lodging, and for other purposes that would serve as evidence of his whereabouts and activities at

  various points during his trip.    All of this type of electronically-stored evidence will help

  investigators prove BROWN'S presence and activities at the U.S. Capitol on January 6, 2021, his

  intent when traveling to Washington, D.C., and the identities of his coconspirators.

          76.    It is well-known that virtually all adults in the United States use mobile digital

  devices like cellular telephones. In a fact sheet from June 12, 2019, The Pew Research Center for



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  Internet & Technology estimated that 96% of Americans owned at least one cellular phone, and

  that that same 2019 report estimated that 81 % of Americans use at least one smartphone. See

  Mobile Fact Sheet, https://www.pewresearch.org/intemet/fact-sheet/mobile. Given cellular

  telephones' ubiquity, portable size, and ability to store uniquely personal information, your affiant

  knows that cellular telephone users generally keep his cellular telephone on or near himself.

               CELLULAR TELEPHONES AND OTHER ELECTRONIC DEVICES

         77.     As used herein, the terms "records" and "information" includes all forms of creation

  or storage, including any form of computer or electronic storage (such as hard disks or other media

  that can store data); any handmade form (such as writing); any mechanical form (such as printing

  or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,

  videotapes, motion pictures, or photocopies).

         78.     Based on my training and experience, and information acquired from other law

  enforcement officials with technical expertise, your affiant knows the terms described below have

  the following meanings or characteristics:

                 a.      "Digital device," as used herein, includes the following three terms and
                 their respective definitions:

                      i. A "computer" means an electronic, magnetic, optical, or other high speed
                         data processing device performing logical or storage functions, and
                         includes any data storage facility or communications facility directly
                         related to or operating in conjunction with such device. See 18 U.S.C. §
                         1030(e)(1 ). Computers are physical units of equipment that perform
                         information processing using a binary system to represent information.
                         Computers include, but are not limited to, desktop and laptop computers,
                         smartphones, tablets, smartwatches, and binary data processing units used
                         in the operation of other products like automobiles.

                     ii.    "Digital storage media," as used herein, means any information storage
                           device in which information is preserved in binary form and includes
                           electrical, optical, and magnetic digital storage devices. Examples of
                           digital storage media include, but are not limited to, compact disks, digital



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                       versatile disks ("DVDs"), USB flash drives, flash memory cards, and
                       internal and external hard drives.

                iii.    "Computer hardware" means all equipment that can receive, capture,
                       collect, analyze, create, display, convert, store, conceal, or transmit
                       electronic, magnetic, or similar computer impulses or data. Computer
                       hardware includes any data-processing devices (including, but not limited
                       to, central processing units, internal and peripheral storage devices such as
                       fixed disks, external hard drives, floppy disk drives and diskettes, and
                       other memory storage devices); peripheral input/output devices (including,
                       but not limited to, keyboards, printers, video display monitors, modems,
                       routers, scanners, and related communications devices such as cables and
                       connections), as well as any devices, mechanisms, or parts that can be
                       used to restrict access to computer hardware (including, but not limited to,
                       physical keys and locks).

                1v. A cellular telephone is a handheld wireless device used for voice and data
                    communication through radio signals. These telephones send signals
                    through networks of transmitter/receivers, enabling communication with
                    other wireless telephones or traditional "land line" telephones. A cellular
                    telephone usually contains a "call log," which records the telephone
                    number, date, and time of calls made to and from the phone. In addition to
                    enabling voice communications, cellular telephone offer a broad range of
                    capabilities. These capabilities include: storing names and phone numbers
                    in electronic "address books;" sending, receiving, and storing text
                    messages and e-mail; taking, sending, receiving, and storing still
                    photographs and moving video; storing and playing back audio files;
                    storing dates, appointments, and other information on personal calendars;
                    and accessing and downloading information from the Internet. Cellular
                    telephones may also include global positioning system ("GPS")
                    technology for determining the location of the device. Many cellular
                    telephones are minicomputers or "smart phones" with immense storage
                    capacity.

                 v. A "GPS" navigation device, including certain wireless phones and tablets,
                    uses the Global Positioning System to display its current location, and
                    often retains records of its historical locations. Some GPS navigation
                    devices can give a user driving or walking directions to another location,
                    and may contain records of the addresses or locations involved in such
                    historical navigation. The GPS consists of 24 NAVSTAR satellites
                    orbiting the Earth. Each satellite contains an extremely accurate clock.
                    Each satellite repeatedly transmits by radio a mathematical representation
                    of the current time, combined with a special sequence of numbers. These
                    signals are sent by radio, using specifications that are publicly available.
                    A GPS antenna on Earth can receive those signals. When a GPS antenna
                    receives signals from at least four satellites, a computer connected to that


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                         antenna can mathematically calculate the antenna's latitude, longitude, and
                         sometimes altitude with a high level of precision.

          79.    As described above and in Attachment E, this application seeks permission to

  search for evidence, fruits, contraband, instrumentalities, and information that might be found on

  the PREMISES, in whatever form they are found. One form in which such items might be found

  is data stored on one or more digital devices. Such devices are defined above and include any

  electronic system or device capable of storing or processing data in digital form, including central

  processing units; desktop computers, laptop computers, notebooks, and tablet computers; personal

  digital assistants; cellular telephones; digital cameras; peripheral input/output devices, such as

  keyboards, printers, scanners, plotters, monitors, and drives intended for removable media; related

  communications devices, such as modems, routers, cables, and connections; storage media, such

  as hard disk drives, floppy disks, USB flash drives, memory cards, optical disks, and magnetic

  ·tapes used to store digital data (excluding analog tapes such as VHS); and security devices. Thus,

  the warrant applied for would authorize the seizure of digital devices or, potentially, the copying

  of stored information, all under Rule 41(e)(2)(B).        Based on my knowledge, training, and

  experience, as well as information related to me by agents and others involved in this investigation

  and in the forensic examination of digital devices, your affiant respectfully submits that, if digital

  devices are found on the PREMISES, there is probable cause to believe that the items described in

  Attachment E will be stored in the Devices for at least the following reasons:

                 a.       Individuals who engage in criminal activity, including traveling interstate
                 to commit riots and taking and transmitting photos and videos of themselves
                 while committing rioting activity, use digital devices, like the Devices, to access
                 websites to facilitate illegal activity, obtain directions to places of interest,
                 communicate with co-conspirators online, use social media applications like
                 Facebook, and, among other things, store documents and records relating to their
                 illegal activity. As a result, Devices used for such purposes often contain evidence
                 like logs of online chats with co-conspirators, device location information, email
                 correspondence, text or other "Short Message Service" ("SMS") messages,


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                 internet browsing history, and contact information of co-conspirators, which
                 could include telephone numbers, email addresses, identifiers for instant
                 messaging accounts, and social medial accounts.

                 b.      Individuals who engage in the foregoing criminal activity, in the event that
                 they change digital devices, will often "back up" or transfer files from their old
                 digital devices to that of their new digital devices, so as not to lose data, including
                 that described in the foregoing paragraph, which would be valuable in facilitating
                 their criminal activity.

                 c.       Digital device files, or remnants of such files, can be recovered months or
                 even many years after they have been downloaded onto the medium or device,
                 deleted, or viewed via the Internet. Electronic files downloaded to a digital
                 device can be stored for years at little or no cost. Even when such files have been
                 deleted, they can be recovered months or years later using readily-available
                 forensics tools. When a person "deletes" a file on a digital device such as a home
                 computer, a smart phone, or a memory card, the data contained in the file does not
                 actually disappear; rather, that data remains on the storage medium and within the
                 device unless and until it is overwritten by new data. Therefore, deleted files, or
                 remnants of deleted files, may reside in free space or slack space - that is, in
                 space on the digital device that is not allocated to an active file or that is unused
                 after a file has been allocated to a set block of storage space - for long periods of
                 time before they are overwritten. In addition, a digital device's operating system
                 may also keep a record of deleted data in a "swap" or "recovery" file. Similarly,
                 files that have been viewed via the Internet are automatically downloaded into a
                 temporary Internet directory or "cache." The browser typically maintains a fixed
                 amount of electronic storage medium space devoted to these files, and the files are
                 only overwritten as they are replaced with more recently viewed Internet pages.
                 Thus, the ability to retrieve "residue" of an electronic file from a digital device
                 depends less on when the file was downloaded or viewed than on a particular
                 user's operating system, storage capacity, and computer, smart phone, or other
                 digital device habits.

         80.     As further described in Attachment E, this application seeks permission to locate

  not only electronic evidence or information that might serve as direct evidence of the crimes

  described in this affidavit, but also for forensic electronic evidence or information that establishes

  how the digital devices were used, the purpose of their use, who used them (or did not), and when.
                                    '
  Based on my knowledge, training, and experience, as well as information related to me by agents

  and others involved in this investigation and in the forensic examination of digital devices, your




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  affiant respectfully submits there is probable cause to believe that this forensic electronic evidence

  and information will be in any of the Devices at issue here because:

                 a.      Although some of the records called for by this warrant might be found in
                 the form of user-generated documents or records (such as word processing,
                 picture, movie, or texting files), digital devices can contain other forms of
                 electronic evidence as well. In particular, records of how a digital device has
                 been used, what it has been used for, who has used it, and who has been
                 responsible for creating or maintaining records, documents, programs,
                 applications, and materials contained on the digital device(s) are, as described
                 further in the attachments, called for by this warrant. Those records will not
                 always be found in digital data that is neatly segregable from the hard drive, flash
                 drive, memory card, or other electronic storage media image as a whole. Digital
                 data stored in the Device(s), not currently associated with any file, can provide
                 evidence of a file that was once on the storage medium but has since been deleted
                 or edited, or of a deleted portion of a file (such as a paragraph that has been
                 deleted from a word processing file). Virtual memory paging systems can leave
                 digital data on a hard drive that show what tasks and processes on a digital device
                 were recently used. Web browsers, e-mail programs, and chat programs often
                 store configuration data on a hard drive, flash drive, memory card, or memory
                 chip that can reveal information such as online nicknames and passwords.
                 Operating systems can record additional data, such as the attachment of
                 peripherals, the attachment ofUSB flash storage devices, and the times a
                 computer, smart phone, or other digital device was in use. Computer, smart
                 phone, and other digital device file systems can record data about the dates files
                 were created and the sequence in which they were created. This data can be
                 evidence of a crime, indicate the identity of the user of the digital device, or point
                 toward the existence of evidence in other locations. Recovery of this data
                 requires specialized tools and a controlled laboratory environment, and also can
                 require substantial time.

                 b.      Forensic evidence on a digital device can also indicate who has used or
                 controlled the device. This "user attribution" evidence is analogous to the search
                 for "indicia of occupancy" while executing a search warrant at a residence. For
                 example, registry information, configuration files, user profiles, e-mail, e-mail
                 address books, chats, instant messaging logs, photographs, the presence or
                 absence of malware, and correspondence (and the data associated with the
                 foregoing, such as file creation and last-accessed dates) may be evidence of who
                 used or controlled the digital device at a'relevant time, and potentially who did
                 not.

                 c.      A person with appropriate familiarity with how a digital device works can,
                 after examining this forensic evidence in its proper context, draw conclusions
                 about how such digital devices were used, the purpose of their use, who used
                 them, and when.


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                 d.      The process of identifying the exact files, blocks, registry entries, logs, or
                 other forms of forensic evidence on a digital device that are necessary to draw an
                 accurate conclusion is a dynamic process. While it is possible to specify in
                 advance the records to be sought, digital device evidence is not always data that
                 can be merely reviewed by a review team and passed along to investigators.
                 Whether data stored on digital devices is evidence may depend on other
                 information stored on the devices and the application of knowledge about how the
                 devices behave. Therefore, contextual information necessary to understand other
                 evidence also falls within the scope of the warrant.

                 e.       Further, in fmding evidence of how a digital device was used, the purpose
                 of its use, who used it, and when, sometimes it is necessary to establish that a
                 particular thing is not present on the device. For example, the presence or
                 absence of counter-forensic programs, anti-virus programs (and associated data),
                 and malware may be relevant to establishing the user's intent and the identity of
                 the user.

         81.     The volume of data stored on many digital devices will typically be so large that it

  will be extremely impractical to search for data during the physical search of the premises.

  Therefore, in searching for information, records, or evidence, further described in Attachment E,

  law enforcement personnel executing this search warrant will employ the following procedures:

  Upon securing the PREMISES, law enforcement personnel will, consistent with Rule 41 (e)(2)(B)

  of the Federal Rules of Criminal Procedure, seize any digital devices (that is, the Device(s)), within

  the scope of this warrant as defined above, deemed capable of containing the information, records,

  or evidence described in Attachment E and transport these items to an appropriate law enforcement

  laboratory or similar facility for review. For all the reasons described above, it would not be

  feasible to conduct a complete, safe, and appropriate search of any such digital devices at the

  PREMISES.




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            UNLOCKING CELLULAR TELEPHONES USING BIOMETRIC DATA

           82.    This warrant permits law enforcement agents to obtain from the person of BROWN

   (but not any other individuals present at the PREMISES at the time of execution of the warrant)

   the compelled display of any physical biometric characteristics (such as fingerprint/thumbprint or

   facial characteristics) necessary to unlock any Devices requiring such biometric access subject to

   seizure pursuant to this warrant for which law enforcement has reasonable suspicion that

   BROWN'S physical biometric characteristics will unlock the Devices. The grounds for this

   request are as follows:

          83.     Your affiant knows from my training and experience, as well as from information

   found in publicly available materials published by device manufacturers, that many electronic

   devices, particularly newer mobile devices and laptops, offer their users the ability to unlock the

   device through biometric features in lieu of a numeric or alphanumeric passcode or password.

   These biometric features include fingerprint scanners, facial recognition features, and iris

  recognition features. Some devices offer a combination of these biometric features, and the user

   of such devices can select which features they would like to utilize.

          84.     If a device is equipped with a fingerprint scanner, a user may enable the ability to

  unlock the device through his or her fingerprints. For example, Apple offers a feature called

  "Touch ID," which allows a user to register up to five fingerprints that can unlock a device. Once

   a fmgerprint is registered, a user can unlock the device by pressing the relevant fmger to the

  device's Touch ID sensor, which is found in the round button (often referred to as the "home"

  button) located at the bottom center of the front of the device. The fmgerprint sensors found on

  devices produced by other manufacturers have different names but operate similarly to Touch ID.




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          85.    If a device is equipped with a facial-recognition feature, a user may enable the

  ability to unlock the device through his or her face. For example, this feature is available on certain

  Android devices and is called "Trusted Face." During the Trusted Face registration process, the

  user holds the device in front of his or her face. The device's front-facing camera then analyzes

  and records data based on the user's facial characteristics. The device can then be unlocked if the

  front-facing camera detects a face with characteristics that match those of the registered face.

  Facial recognition features found on devices produced by other manufacturers (such as Apple's

  "Face ID") have different names but operate similarly to Trusted Face.

          86.    If a device is equipped with an iris-recognition feature, a user may enable the ability

  to unlock the device with his or her irises. For example, on certain Microsoft devices, this feature

  is called "Windows Hello." During the Windows Hello registration, a user registers his or her

  irises by holding the device in front of his or her face. The device then directs an infrared light

  toward the user's face and activates an infrared-sensitive camera to record data based on patterns

  within the user's irises. The device can then be unlocked if the infrared-sensitive camera detects

  the registered irises. Iris-recognition features found on devices produced by other manufacturers

  have different names but operate similarly to Windows Hello.

          87.    In my training and experience, users of electronic devices often enable the

  aforementioned biometric features because they are considered to be a more convenient way to

  unlock a device than by entering a numeric or alphanumeric passcode or password. Moreover, in

  some instances, biometric features are considered to be a more secure way to protect a device's

  contents. Tp.is is particularly true when the users of a device are engaged in criminal activities and

  thus have a heightened concern about securing the contents of a device.




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          88.    As discussed in this Affidavit, your affiant has reason to believe that one or more

  digital devices, the Devices, will be found during the search. The passcode or password that would

  unlock the Devices subject to search under this warrant currently is not known to law enforcement.

  Thus, law enforcement personnel may not otherwise be able to access the data contained within

  the Devices, making the use of biometric features necessary to the execution of the search

  authorized by this warrant.

         89.     Your affiant also knows from my training and experience, as well as from

  information found in publicly available materials including those published by device

  manufacturers, that biometric features will not unlock a device in some circumstances even if such

  features are enabled. This can occur when a device has been restarted, inactive; or has not been

  unlocked for a certain period of time. For example, Apple devices cannot be unlocked using Touch

  ID when: (1) more than 48 hours has elapsed since the device was last unlocked; or, (2) when the

  device has not been unlocked using a fingerprint for 8 hours and the passcode or password has not

  been entered in the last 6 days. Similarly, certain Android devices cannot be unlocked with Trusted

  Face if the device has remained inactive for four hours. Biometric features from other brands carry

  similar restrictions. Thus, in the event law enforcement personnel encounter a locked device

  equipped with biometric features, the opportunity to unlock the device through a biometric feature

  may exist for only a short time.

         90.     Due to the foregoing, if law enforcement personnel encounter any Devices that are

  subject to seizure pursuant to this warrant and may be unlocked using one of the aforementioned

  biometric features, this warrant permits law enforcement personnel to obtain from BROWN the

  display of any physical biometric characteristics (such as fmgerprint/ thumbprint or facial

  characteristics) necessary to unlock any Devices, including to (1) press or swipe the fmgers



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  (including thumbs) of the aforementioned person to the fmgerprint scanner of the Devices found

  at the PREMISES; (2) hold the Devices found at the PREMISES in front of the face of the

  aforementioned person to activate the facial recognition feature; and/or (3) hold the Devices found

  at the PREMISES in front of the face of the aforementioned person to activate the iris recognition

  feature, for the purpose of attempting to unlock the Devices in order to search the contents as

  authorized by this warrant.

         91.     The proposed warrant does not authorize law enforcement to require that BROWN

  state or otherwise provide the password, or identify specific biometric characteristics (including

  the unique finger(s) or other physical features) that may be used to unlock or access the Devices.

  Nor does the proposed warrant authorize law enforcement to use the fact that the warrant allows

  law enforcement to obtain the display of any biometric characteristics to compel the

  aforementioned persons to state or otherwise provide that information. However, the voluntary

  disclosure of such information by the aforementioned persons would be permitted under the

  proposed warrant. To avoid confusion on that point, if agents in executing the warrant ask

  BROWN for the password to any Devices, or to identify which biometric characteristic (including

  the unique fmger(s) or other physical features) unlocks any Devices, the agents will not state or

  otherwise imply that the warrant requires the person to provide such information, and will make

  clear that providing any such information is voluntary and that the person is free to refuse the

  request.




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                                            CONCLUSION

          92.     Based upon the foregoing facts and information, there is probable cause to believe

   that violations of 18 U.S.C. §§ 371 (conspiracy); and 1752(a)(l) and (2) (unlawful entry on

  restricted buildings or grounds) (the "Subject Offenses") have been committed by BROWN and/or

   other identified and unidentified persons, and that fruits, evidence, and instrumentalities of those

  violations will be found at the PREMISES.




                                                        Katie Hill, Special Agent
                                                        Federal Bureau of Investigation


  Subscribed and sworn by telephone pursuant to Fed. R. Crim. P. 4.1 and 41(d)(3) on September
  29, 2021.
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                      .·            2021.09.29
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  HON. ZIA M. FARUQUI
  United States Magistrate Judge




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                                                              , UNITED STATE~ OF :AMERICA

                                                                vs.

                                                                Jeremy Brown

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                                                          UNITED STATES OF AMERICA

                                                          vs.

                                                          Jeremy Brown

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                                                                                            2501 Investigation Parkway
                                     FBI Laboratory                                            Quantico, Virginia 22135

                                                                                                     4940 Fowler Road
                                                                                            Huntsville, Alabama 35898
                                                          LABORATORY REPORT

                 To:     Tampa                                     Date: October 13, 2021

                                                                   Case ID No.:

                                                                  . Lab No.: 2021-02111-1

                 Communication(s):      October 6, 2021
                 Agency Reference(s):

                 Subject(s):

                 Victim(s):

                 Discipline(s):         Explosives Device
                 This document may contain personally identifiable information and must be afforded the
                 protections required by applicable law, regulation, and policy. If you are not the intended
                 recipient of this document, please destroy it promptly without further retention or dissemination,
                 unless otherwise required by law.

                 FBI Laboratory Evidence Designator(s):

                 Item 1                One (1) grenade body with fuze (lBl; E7005015)
                 Item 1-1              Tape from item 1 (lBl; E7005015)
                 Item 1-2              One (1) swabbing from Item 1 grenade pin ring
                 Item 1-3             Fuze assembly
                 Item 1-4             Material from Item 1
                 Item2                 One (1) grenade body with fuze (1B2; E7005016)
                 Item2-1              Tape from Item 2 (1B2; E7005016)
                 Item 2-2              One (1) swabbing from Item 2 grenade pin ring
                 Item 2-3             Fuze assembly
                 Item 2-4             Material from Item 2
                 Item 3               TEDAC Trace Secondary Evidence (2 slides)
                 This report contains the final results of the of the hazardous device examinations performed by .
                 the Explosives Unit.


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                Conclusion:

                It is the opinion of this Explosives and Hazardous Devices Examiner that present in the
                submitted items of evidence are two (2) U.S. Military M67 fragmentation hand grenades.

                Destructive Device Determination:

                It is the opinion of this Explosives and Hazardous Devices Examiner that the two (2)
                fragmentation hand grenades present in the submitted items are military high explosive ordnance
                designed as a weapon and, therefore, considered destructive devices.

                Results of Examination:

                Present in Items 1 and 2 are two (2) U.S. Military M67 fragmentation hand grenades.
                Manufacturer markings around the circumference of each grenade body include:

                                               "GRENADE HAND FRAG DELAY M67"
                                                    "7-69 COMP B MA-11-12F"

                The fuze assemblies associated with each grenade were removed during analysis and designated
                as Items 1-3 and 2-3 respectively. With the exception of a missing safety clip, the fuze
                assemblies did not appear to have been modified. Manufacturer markings on top of the safety
                lever of each fuze assembly include:

                                                    "FUZE M213 MEI86A009-001"

                Material was removed from each grenade body interior and designated as Items 1-4 and.2-4
                respectively. Items 1-4 and 2-4 were analyzed by the Explosives Chemistry discipline. For the
                results and detailed information on the chemical analyses conducted, see the FBI Laboratory
                Report for Laboratory number 2021-02111-5, dated October 14, 2021, and authored by Kerri L.
                Moloughney.

                Two (2) lengths of green colored tape were removed from the grenade in Item 1 and designated
                as Item 1-1. One (1) length of green colored tape was removed from the grenade in Item 2 and
                designated as Item 2-1. The tape in Items 1-1 and 2-1 are visually consistent with a green
                colored duct tape.

                Items 1-2, 2-2, and 3 were not examined by the Explosive Device discipline.

                                     General Characteristics of the M67 Fragmentation Hand Grenade

                According to the United States Army Technical Manual Army Ammunition Data Sheets for
                Grenades TM43-0001-29 and the Department of the Army Field Manual (FM) 23-30 for
                Grenades and Pyrotechnic Signals, the M67 fragmentation hand grenade is used to supplement

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                small arms fire against the enemy in close combat. The M67 fragmentation grenade is designed
                to produce a uniform pattern of high-velocity fragmentation resulting from the detonation of the
                high explosives contained within it. The killing radius for the M67 is 5 meters (16.4 feet) and
                the casualty-producing radius is 15 meters (49.2 feet), although fragments can disperse as far as
                230 meters (754.6 feet).

                The M67 contains 6.5 ounces of the military high explosive Composition B, or Comp B. Comp
                B is comprised of approximately 40% trinitrotoluene (TNT) and 60% RDX and has a detonation
                velocity of approximately 7800 meters/second (26,600 feet/second).

                The body of the M67 grenade is comprised of a steel sphere approximately 2.5 inches in
                diameter. It is olive drab in color with yellow markings around its circumference. The markings
                include: "GRENADE, HAND, FRAG, M67" and "COMP B". A lot number consisting of a
                series of letters and numbers is also present.

                The M67 grenade is supplied with the M213 fuze assembly secured into the neck of the grenade
                body. The M213 is a delay-detonating fuze comprised of a striker, striker spring, safety lever
                (spoon), safety pin, safety clip, ·and a detonator assembly.

                The explosive train within the detonator assembly of the M213 fuze consists of a pyrotechnic
                delay composition, two (2) primary high explosives (lead styphnate and lead azide), and a
                secondary high explosive base charge (RDX). Approximately 2 grams of high explosives are
                present in the detonator assembly of the M213 fuze.

                                             M67 Fragmentation Grenade Functioning

                To function the M67 fragmentation grenade as designed, the operator would need to remove the
                safety clip from the safety lever of the M213 fuze. Next, while maintaining pressure on the
                safety lever, the safety pin would need to be removed from the fuze assembly. When the
                pressure is removed from the safety lever, such as by throwing the grenade, the tension that was
                maintained on the striker and striker spring assembly will cause the safety lever to be thrown off
                and enable the striker to impact the percussion primer to initiate the explosive train within the
                detonator assembly.

                The pyrotechnic delay composition, initiated from the percussion primer, will begin to slowly
                bum within the fuze assembly. After approximately 4 to 5 seconds (delay) the burning
                pyrotechnic composition will initiate the high explosives within the detonator assembly resulting
                in a detonation. This detonation is transferred to the Comp B main charge within the grenade
                body resulting in its detonation and the subsequent fragmentation of the steel grenade body.

                Methods:

                The methods utilized during the analysis of the evidentiary items included the following:

                     •   visual examinations of observable, physical characteristics;

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                     •    measurements of physical characteristics;
                     •    visual examinations of photographs;
                     •    visual examinations ofx-ray images;
                     •    reviews of references; and
                     •    reviews of relevant case documentation.

                Interpretations and Limitations:

                     •    Conclusive identifications of the source of an item may not be realized in every case due
                          to the absence or alterations of specific manufacturer or other unique markings on items
                          of evidence.

                     •    Item source identifications that refer to a specific distributor or manufacturer have not
                          been confirmed with that distributor or manufacturer unless otherwise stated in this
                          report.

                     •   The physical characteristics, such as, but not limited to, material type, shape, and color of
                         all evidentiary items described in this report are based on visual and/or microscopical
                         observations, unless otherwise noted. Other parameters such as, but not limited to,
                         distances, angles, and voltages associated with individual evidentiary items are based on
                         physical measurements and are approximate, unless otherwise noted. Should a more
                         complete characterization of these items be required, additional examinations can be
                         requested of the appropriate forensic discipline. Diagrams such as, but not limited to,
                         drawings and schematics are not to scale, unless otherwise noted.

                     •    Conclusive determinations of the exact design and functioning of a rendered safe or
                          disassembled improvised explosive or incendiary device may not be realized in every
                          case due to the condition of the components.

                References:

                Technical Manual (TM) 43-0001-29 United States Army Technical Manual Army Ammunition
                Data Sheets for Grenades; Pages 2-15 and 2-16; June 1994

                Field Manual (FM) 23-30 Grenades and Pyrotechnic Signals; Pages 1-1 through 1-6; September
                2000

                Explosives, 6th Edition; Meyer, Kohler, Homburg; Page 62; 2007

                Remarks:

                For questions about the content of this report or the status of your submission, please contact
                Forensic Examiner Travis D. Mccrady at 703-632-7654 or tdmccrady@fbi.gov.



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                The evidence will be temporarily stored at the Huntsville Laboratory.

                This report contains the opinions and interpretations of the issuing examiner(s) and is supported
                by records retained in the FBI Laboratory files. Please allow a minimum of thirty days from the
                date of a discovery request for the FBI Laboratory to provide the related materials. The FBI
                cannot ensure timely delivery of discovery requests received in less time.

                The work described in this report was conducted at the Huntsville Laboratory.

                                                     Travis D. McCrady
                                                     Explosives Unit




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                                                                  Tampa Division

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                                                        Case No.: 8:21-cr-348-SCB-SPF

                                                       UNITED STATES OF.AMERICA

                                                       vs.
                                                       Jeremy Brown

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                                                                      Tampa Division

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                                                          UNITED STATES OF AMERICA

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                             CLASSlflED INFOHMATU'>N .NONDISCLOSURE AGREEMENT
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  AN AGREEMENT BETWEEN                                                                        AND THE UNITED STATES
                                     ..,   (Name of' indMduaf - Pf ntecl or typed)          .._
   1. Intending to be fegally bound, I hereby ~ccept the obljgatlons contained in this Agreemf;)nt i_n consideration of
  my being granted access to classified information. As .used in this Agreement, classified information is marked
  or unmarked classified information, including oral communications, that ls classified under tne standards of
  Executive Order 12356, or under any other Executive order or statute · that prohibits the unauthorized
  dis¢losure of information in the ·interest of national security; and unclassi.f:fed information that· meets the
  standards for classification and is in the process of a classification determination as provided in_ Sections 1.1{c)
  and 1.2(el of Executive Order 12356, or un~er any other· Exec;:uti-Ve order or statute that req\Jires protection
  for such information iri the interest of _national security. I understl:lnd and accept that by being granted access
  to .cfassified information, special confidence and trust shall be placed in me by the U_nited ·states Government.
  2. I hereby acknowledge that I have received a security indoctrination concernin~. the nature· and protectior-i of
  classified information, inctuding the procedures to be followed in ascertaining whether other persons to whom
  1 cpntemplate disclosing this information have been approved for access to it, and that I .understand these
  procedures.
  3. I have been advised that the unauthorized disclqsure, una4thorized -retention, or negligent handling of
  classified information by me could cause diimage or lrreparaple injury to the United States or couf.d be used to
  advantage by a foreign · nation. 1 hereby agree that I will never divulge classified information to anyone unless:
  (a) I have· officially verified that the rec!pient has bee.n prop.erly authorized by_ the United States Government to
  receive ft; or (b) I have be¢n given pr;lor written notice of .authorization from the United States Go.vernment
  Department or ·Agency (t)!;lreinaf\er Depart!flent or Agency) responsible for the classification of the• informath;m
  or last granting me. a sec1irtty clearance that suoh disclo$.i,lr'e is permitted. I understand that if I am unqertain
  about the classification' status of information, I am required tq confirm · from an authorized official that the
  information Is u_ncla$sJfied before I may disclose it< except to a perso.n as prpvided ih (al o'r _(b). above; I
  further understand that ·1 am obligated to comply with laws and regulations that prdhibit the unauthorized
 'disclosure of classified lnfor~tion.
 4. I have . been· advised that any b_reach of fhl~ Ag_reement may result In the termination of any security
 clearances I hold; removal fro.m any position of spe¢I~I confldenee and trust· requirl.ng such clearances; or. the
 termination of my employment or otQ~r relationships with the Pf?parti'nents or. Agencies that granted my
 security clearance or cfearances. In additl~n1 I have b~en 1:1dvfsed that any unauthorized disclosure of classified
 information by m~ may constitute a violation, or violations, of Uniteq States i;:riminal laws, including the.
 prqvislbf!S of Sectibf!s 641, 793, 7$4, 798, and K_952, Title 18, United S~ates · Code, ~the provisions of
 S9ctlon 783(b), Title 50, United .states Cod_e, and the Pf<?Ylslons of the Intelligence Identities Protection At;:t of
  198~. I recognize that nothing In this Agreem.ent constitutes a waiver by ttte· United States of the right to
 prosecute me for any statutory violation. ·
 5. I herepy assign to the United States Government al_! royalties, remunerations, · and emoluments that have
 resulted, will result or may result from a.ny disclosure, publication, or revelation of classifled Information not
 consistent with the terms of this Agreement.
 6. 1 understand that the United States Government may . seek any remedy available to It to enforce thts
 Agreement including,; but not limited to, application for a court or.der prohibiting d_lsclosure •of informat_ion In
 breach of this Agreement ·
 7_. I understand that all classified Information to which I _may obtain access by· signing this Agreement Is now
 and wlll remain ~he property of, or under the control of the United States -Government unless and until
 otherwise .determined by an authorized off!cJal or fi~l ruling of a court of law. I do not now,. nor will I ever,
 poss_ess ·any righ_t, int:i·rest, title~ or claim whatsoever to such information. I agree that I shal[ return all
 c;lasslffed materials which have,. or ma_y come in~o my possession dr for which I .am responsible because of
 such acce~s: (a) upon demand by an autho.rlzed representative of ttie U.nited S\ates Government; (b} upon the
 conclusion of my employment       or     other relationship with the Department or Agency _that last ,.granted me a
 security clearance or that pro.vided -me access to classified Information; or- (cl upon the conclusion of my
 employment or other relatlbnsti.ip that requires access to c.lasslfled Information. If I do not return such materials
 upon request, I under~tand that this may be a i/lolatlon of Section 793,. Title 18, Unlted States Code, a United
 States criminal law.
. &.Unless and until 1. a:m released in writipg by an authorized repres.entative of the United States Government, l
 understand that an· conditions and obligations imposeq upon me by thl_s Agreement apply during the time I am
 granted access ta classified Information, and at all times thereafter..
 9. Each provision of this Agree'ment Is severable. If a court should find any provision 'ot this Agreement to be
 unenforceable, all other provislo~ of this Agreel"!'ent shall remain In full force and effect.
                                                   {Continue on reverse)

 NSN 1540-0 t-280-5d99                                                                 -STANDARD FORM 312 (9-8Bl
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                                                                                       32· CFR ·2003 E.O. 12356
 Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 101 of 190 PageID 534


  10. 1 have read this Agreement• carefully ~nd my ques.tions, if any, have been a_nswered. I acknowledge that the
  briefing . offi9er has made available to me· Sections 64 1, 793, 794, 798~ an~. wgs2, Title_ 18, United states
  Code, 11Sect1on 783(b), Title 50, United States Go~e, ·the Intelligence Identities_ Protection Act of 1982
  Executive Order 12856 or its: .succe$sor, ;md Section 200$;20, Title 32, Code of Federal Regulations, so that i
  may rea? them at ihis time, !f I so choose.
  SIGNATURE                                                                                       DATE                         SOCIAL ·SECUR ITV NUMBER (See
                                                                                                                               Notice below>


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                                                             OR AGENt• .PROVIDE: J:jA",!E. AOPRESS ANO. IF Al1PLICA8L •
                                                                                                   .......




                                      WITNESS                                                                             ACCEPT Al\lCE


 THE EXECUTION OF THIS. AGREEMENT WAS                                                   THE UNDE;RS.IGNED ACCEPTED THIS AGREEMENT ON
 WITNESSED BY THE UNDERSIGNED.                                                          BEHALF OF THE UNITED STATgs GOVERNMENT.

 SIGNATURE                                                 . DATE                      SIGNATURE                                                    DATE




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                                                   SECURriV DEBRIEFING ACKNOWLEDGMENT

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Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 102 of 190 PageID 535
                                                                  U.S. Dr 'ti.ct Court
                                                                Middle District oi'Florida
                                                                    Tampa Division

                                                              GOVERNMENT EXIDBIT
                                                                              lr
                                                        Exhibit No.: _ _ _ _ _ __

                                                        Case No.: 8:21-cr-348-SCB-SPF

                                                        UNITED STATES OF AMERJCA

                                                        vs.

                                                        Jeremy Brown

                                                        Date Identified: _ _\ _J-~)_1_'-\_\_11-_)_

                                                        Date Admitted:        lLl\~l~\
Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 103 of 190 PageID 536




                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


   IN THE MATTER OF THE SEARCH OF                      Case No. 8:21-mj-2169-JSS
   saliva samples from the mouth of Jeremy
   Michael Brown                                          Filed under seal

         UNITED STATES' MOTION FOR AN ORDER TO SHOW CAUSE

         The United States of America hereby moves for an order requiring the

   Defendant to show cause why he should not be held in contempt for failure to

   comply with a search warrant for the Defendant's saliva sample.

                                      BACKGROUND

          On December 1, 2021, this Court issued a warrant authorizing federal agents

   to obtain a saliva sample from the Defendant's mouth. See 8:21-mj-2169-JSS. The

   Court also entered an order placing the warrant, the accompanying application, and

   affidavit in support of the warrant under seal until the saliva sample is collected.

         On Wednesday, December 8, 2021, at approximately 9:00 a.m., FBI agents

   attempted to execute the search warrant at the Pinellas County Jail where the

   Defendant presently is in custody. Upon arrival, the agents identified themselves to

   the Defendant, explained that they had a warrant for his saliva sample, and showed

   him Attachment B-1 to the warrant. The Defendant subsequently refused to comply,

   apparently invoking his Fifth and Sixth Amendment rights, and requested to speak

   with counsel. The agents did not attempt to exercise any kind of force in obtaining

   the sample and notified the undersigned of the Defendant's response. At that time,


                                               1
Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 104 of 190 PageID 537




   the undersigned contacted the Defendant's counsel and informed him that the

   Defendant had refused to comply with the warrant before speaking with counsel.

   The undersigned explained that arrangements were being made to allow the

   Defendant to speak with his counsel. The Defendant thereafter returned to his jail

   pod and spoke privately with his attorney.

         · At approximately 10:00 a.m. on December 8, defense counsel informed the

   undersigned that the Defendant would not voluntarily comply with the warrant

   unless and until he was provided a copy of the affidavit in support of the warrant to

   review. The undersigned explained that the affidavit is under seal until further order

   of the Court, and, therefore, the Defendant would not be provided a copy until after

   execution. The undersigned also explained that the warrant is a court order and that

   the Defendant's recourse in challenging its validity was to file a motion to suppress

   after execution.

         Defense counsel thereafter requested that the government allow him an

   opportunity to speak with the Defendant in person the following morning, to which

   the undersigned agreed. The undersigned also agreed that the United States would

   not seek the Court's intervention until 1:00 p.m. the following day, allowing the

   Defendant ample time to confer with counsel as to his compliance.

         At approximately 1:48 p.m. on Thursday, December 9, defense counsel

   contacted the undersigned via telephone and stated that the Defendant would not

   voluntarily submit to the swab until he has reviewed the affidavit in support of the

   search warrant with defense counsel. The undersigned stated that the United States

                                                2
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   immediately would be seeking the Court's intervention to obtain compliance with

   the warrant.

                                JMEMORANDUM OF LAW

          As an initial matter, the Defendant has no Sixth Amendment right to have

   counsel present, and therefore, no right to confer with counsel, while DNA is being

   collected. See United States v. Bullock, 71 F.3d 171, 177 (5th Cir. 1995) (taking of blood

   and hair samples is not a "critical confrontation" by the prosecution during which a

   defendant has a right to counsel). Nor is the taking of a DNA sample a testimonial

   communication subject to protection under the Fifth Amendment. See

   Kaemmerlingv. Lappin, 553 F.3d 669, 687 (D.C. Cir. 2008).

          Under 18 U.S.C. § 401, this Court has the power "punish by fine or

   imprisonment, or both, at its discretion, such contempt of its authority, and none

   other, as ... [d]isobedience or resistance to its lawful1 writ, process, order, rule,

   decree, or command." Id.§ 401(3).

          In refusing to comply with a duly issued warrant, the Defendant, in essence, is

   demanding that he be permitted to make his own probable cause determination

   before complying with the Court's command. This Court already has made a

   determination that probable cause exists to search the Defendant's person and seize a

   saliva sample as set forth in Attachments A-1 and B-1 to the warrant. There is no

   legal basis for the Defendant to refuse compliance with the warrant at this stage of

   the proceedings.

         Indeed, if the government were to provide the Defendant with a copy of the

                                                3
Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 106 of 190 PageID 539




   affidavit in support of the search warrant-to which he is not entitled at this time-

   the Defendant very well could determine that probable cause was lacking and again

   refuse compliance, requiring the United States to seek this Court's intervention once

   again. The Defendant's lmowing and willful disobedience of this Court's authority

   should not be tolerated.

                                        CONCLUSION

         For all of the foregoing reasons, the United States respectfully requests that the

   Court issue an order requiring the Defendant to show cause why he should not be

   held in contempt for failure to comply with a duly issued search warrant.

                                           Respectfully submitted,

                                           KARIN HOFFMANN
                                           Acting United States Attorney



                                  By:     /~~
                                           Risha Asokan
                                           Assistant United States Attorney
                                           Florida Bar No. 1003398
                                           400 N. Tampa Street, Suite 3200
                                           Tampa, Florida 33602-4798
                                           Telephone: (813) 274-6000
                                           Facsimile: (813) 274-6358
                                           E-mail:      risha.asokan2@usdoj.gov




                                             4
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                                                                  U.S. District Court
                                                                Middle District o.f Florida
                                                                    Tampa Division

                                                               GOVERNMENT EXHIBIT

                                                         Exhibit No.:. _ _l, t
                                                                          ____
                                                         Case No.: 8:21-cr-348-SCB-SPF

                                                         UNITED STATES OF.AMERICA

                                                         vs.

                                                         Jeremy Brown

                                                         Date Identified:   laj I~ { i-- l
                                                         Date Admitted:_\_2-_l_/_'{_1_1-_\_ _
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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                 TAMPADMSION


     IN THE MATTER OF THE SEARCH OF                   Case No. 8:21-mj-2169-JSS
     saliva samples from the mouth of Jeremy
     Michael Brown                                       Filed under seal

                                ORDER TO SHOW CAUSE

            Upon the written motion of the United States of America for an order

    requiring the Defendant to show cause why he should not be held in contempt for

     failure to comply with a search warrant for the Defendant's saliva sample issued by

     this Court:

            The Court finds that the Defendant has disobeyed the Court's command that

    he submit to saliva samples being collected by an authorized federal law enforcement

     officer.

            IT IS THEREFORE ORDERED that the Motion for Order to Show Cause is

   . GRANTED;




                                              1
Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 109 of 190 PageID 542




            IT IS FURTHER ORDERED that the Defendantj Jeremy Brown, must
                                                        '             ta-.A-
     APPEAR before this Court on      L2{1Ll ~I at 1"3D pN via-boom-and show
     cause why he should not be held in CONTEMPT for his failure to comply with the

     search warrant issued for his saliva sample issued in this matter.

            DONE AND ORDERED at TAMPA, Florida this ...1...i day of December,
    2021.


                                                    ~-v.
                                                    JLlE    S. S1.NEED
                                                                          ~.A--,
                                                    United States Magistrate Judge




                                                2
Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 110 of 190 PageID 543




                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION


      IN THE MATTER OF THE SEARCH OF                     Case No. 8:21-rnj-2169-JSS
      sa,.liva samples from the mouth of Jeremy
      Michael Brown

                                      IN CAMERA ORDER

              Upon the written motion of the United States of America to seal the (1)

      Motion for Order to Show Cause, (2) any accompanying Order, and (3) this Motion

      to Seal until further order of the Court:

              The Court finds that the interests ofjustice require that the Motion for Order

      to Show Cause, any accompanying Order, and this Motion be sealed; therefore

              IT IS ORDERED that the Motion to Seal is Granted;

              IT IS FURTHER ORDERED that the (1) Motion for Order to Show Cause,

      (2) any accompanying Order, and (3) this Motion to Seal until fu1ther order of the

      Court be sealed by the Clerk of the Court until further order of the Court;

              DONE AND ORDERED at TAMPA, Florida this               _!1 day of December,
      2021.

                                                      };;       .   1.1         I   1-
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                                                  '-fe/tIE s. sN,EED           r
                                                   Ufiited States Magistrate Judge          .
Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 111 of U.S.
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                                                                    GOVERNMENT EXIDBIT

                                                              Exhibit No.: _ _\':}-_...,.__ __

                                                              Case No.: 8:21-cr-348-SCB-SPF

                                                              UNITED STATES OF AMERICA

                                                              vs.

                                                              Jeremy Brown

                                                              Date Identified:                 '2.-f
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Case 8:21-cr-00348-SCB-SPF Document 70-1 Filed 12/17/21 Page 112 of 190 PageID 545



     1                      UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
     2                             TAMPA DIVISION

     3    UNITED STATES OF AMERICA,

     4                           Plaintiff,

     5           vs.                          CASE NO.  8:21-mj-1990-SPF
                                                    and 8:21-mj-1991-SPF
     6                                        October 5, 2021
                                              Tampa, Florida
     7                                        11:05 a.m. - 1:03 p.m.

     8    JEREMY BROWN,

     9                            Defendant.
         - - - - - - - - - - - - - - - - -I
    10

    11                      TRANSCRIPT OF DETENTION HEARING
                                                          '
                          BEFORE THE HONORABLE SEAN P. FLYNN
    12                      UNITED STATES MAGISTRATE JUDGE

    13
         APPEARANCES:
    14
          For the Government:         RISHA ASOKAN, ESQ.
    15                                Assistant U.S. Attorney
                                      400 N. Tampa Street, Suite 3200
    16                                Tampa, Florida 33602
                                      813/274-6000
    17
          For the Defendant:          WILLIAM FARGO SANSONE, ESQ.
    18                                Sansone Law, PA
                                      609 West De Leon Street
    19                                Tampa, Florida 33606
                                      813/361-0874
    20
         Court Reporter:              Howard W. Jones, RDR, RMR, FCRR
    21                                801 N. Florida Avenue, Suite 15A
                                      Tampa, Florida 33602
    22                                813/301-5024

    23

    24   Proceedings transcribed via courtroom digital audio
         recording by transcriptionist using computer-aided
    25   transcription.

                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION
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     4    ARGUMENT BY MR. SANSONE:                                 14

     5    ARGUMENT BY MS. ASOKAN:                                  34

     6    CERTIFICATE OF COURT REPORTER:                           50

     7

     8                           * * * * * * *   ***
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                                   E X H I B I T S
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    11    GOVERNMENT                                             PAGE
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    22    DEFENDANT                                              PAGE
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             1                            18                       18
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    25                          ***********
                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION
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                                                                                3
     1                            P R O C E E D I N G S

     2               (Court called to order.)

     3               THE COURT:     Good morning, everyone.    Would you

     4    please call the case.

     5               THE DEPUTY CLERK:     In the matter of the United

     6    States of America vs. Jeremy Brown.       The criminal case

     7    number is 8:21-mj-1990 and 8:21-mj-1991.

     8               THE COURT:     Counsel, please make appearances.

     9               MS. ASOKAN:     Good morning, Your Honor.    Risha

    10    Asokan for the United States.      And with me at counsel table

    11    are AUSA Sherri Critzman (ph) and HSI Special Agent Britt

    12    Lindsay (ph), who is the case agent.

    13               THE COURT:     Good morning.

    14               MR. SANSONE:     Good morning, Your Honor.     Bill

    15    Sansone on behalf of Mr. Jeremy Brown, who is present.

    16               THE COURT:     Good morning, Mr. Brown.

    17               THE DEFENDANT:     Good morning, Your Honor.

    18               THE COURT:     All right.   Mr. Brown, we are here

    19   today for your detention hearing in both of these cases.          As

    20   you may recall, you appeared before me by videoconference

    21   last week and at that time the government moved for a

    22    continuance of the detention hearing and the detention

    23   hearing was reset for today.       So at this hearing I will take

    24   up the issue of bond or your detention.

    25              Now, Ms. Asokan, last week you indicated that the

                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
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                                                                              4
     1    government's intention is to move for detention.        Is that

     2    still the case?

     3                 MS. ASOKAN:    Yes, Your Honor.

     4                 THE COURT:    All right.   Let me hear the basis for

     5    that motion.

     6                 MS. ASOKAN:    Yes, Your Honor.   We believe that a

     7    detention hearing is appropriate under the Bail Reform Act,

     8    specifically Section 3142 -- sorry, that's my laptop,

     9    3142(f) (1) (E).   The defendant has been charged with a felony

    10    that involves possession of a firearm as defined in

    11    18 U.S.C. Section 921.

    12                 Detention is also appropriate under

    13    Section (f) (2), that the defendant is a serious risk --

    14    sorry, there is a serious risk that the defendant will flee.

    15                 I'm prepared to address more argument on this --

    16    on these points when you're ready, Your Honor.

    17                 THE COURT:    I'm ready.

    18                 MS. ASOKAN:    Your Honor, under Section 3142(e),

    19    there are no conditions or combination of conditions that

    20    will reasonably assure the appearance of the defendant as

    21    required and the safety of any other person or the

    22    community.

    23                 Now, Your Honor, I have handed up to the Deputy a

    24    number of exhibits noted on the government's exhibit list

    25    that we intend to offer for purposes of this detention

                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION
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                                                                            5

     1    hearing.   We've also provided copies to defense counsel.

     2               THE COURT:     All right.   Ms. Asokan, is the

     3    government moving these exhibits into evidence at this time

     4    or do you intend to offer them through witnesses?

     5               MS. ASOKAN:     Yes, Your Honor, at this time.

     6               THE COURT:     All right.   Any objection to

     7    Government's Exhibits 1 through 8 being admitted into

     8    evidence, Mr. Sansone?

     9               MR. SANSONE:     Let me ask Mr. Brown about one of

    10   them.

    11               THE COURT:     All right.

    12               (Brief pause in proceedings.)

    13               MR. SANSONE:     Judge, I w~s just asking Mr. Brown

    14   about Exhibit 3, which is a podcast.        I think the government

    15   sent it to me, but I was unable to open it, so I was just

    16   asking about that, because I had heard it, he says he has no

    17   problem with the Court hearing it.

    18               The other ones I have no objection to, Judge.

    19               THE COURT:     All right.   So just so the record is

    20   clear, Mr. Sansone, your client is not objecting to the

    21   admission of any of the exhibits offered by the government

    22   here today?

    23               MR. SANSONE:     Correct, Your Honor.

    24               THE COURT:     All right.   So the Court will admit

    25   Government's Exhibits 1, 2A, 2B, 2C, 2D, 2E, 2F, 2G, 2H, 2I,

                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION
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                                                                             6

     1    3, 4, 5, 6, 7, and 8 into evidence with no objection from

     2    the defense.     So admitted.

     3                 Ms. Asokan, you may continue.

     4                 (Government's Exhibit Nos. 1, 2A, 2B, 2C~ 2D, 2E,

     5    2F, 2G, 2H, 2I, 3, 4, 5, 6, 7, and 8 received in evidence.)

     6                 MS. ASOKAN:    Thank you, Your Honor.   May I

     7    approach and speak from the lecturn?

     8                 THE COURT:    You may.

                       MS. ASOKAN:    Thank you.

    10                 THE COURT:    And as long as you maintain social

    11    distance, if you would like to remove your mask, you're free

    12    to do so, but you're also not required to.

    13                 MS. ASOKAN:    Thank you, Your Honor.   One moment,

    14    Your Honor.

    15                 Your Honor, may I proceed?

    16                 THE COURT:    You may.

    17                 MS. ASOKAN:    Thank you.   So as I just mentioned to

    18    the Court, Your Honor, we believe that under Section 3142(e)

    19    there are no combinations -- conditions or combination of

    20    conditions that will reasonably assure the appearance of the

    21    defendant or the safety of any other person in the

    22    community.

    23                 Now, turning to the factors under Section 3142(g),

    24    beginning with the nature and circumstances of the offense.

    25    The defendant has been charged with violating 26 U.S.C.

                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION
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                                                                              7

     1    586l(d), possession of firearms that are not registered in

     2    the National Firearms Registration and Transfer Record.        At

     3    this time I just refer the Court back to the complaint

     4    affidavit filed in this case, as well as Special Agent

     5    Nicolussi's testimony last week at the preliminary hearing.

     6               Just briefly, the firearms at issue here are a

     7    short-barreled rifle and a sawed-off shotgun.       Both of these

     8    items were found during the search of the defendant's

     9    residence last week.

    10               Now,   I'm not a gun expert, but it's my

    11    understanding that these kinds of modifications that are

    12    made to firearms such as rifles and shotguns are typically

    13    done so to make concealment easier.

    14               The offense that the defendant has been charged

    15    with carries a maximum penalty of ten years in prison.        So

    16    the defendant is facing real prison time for this offense.

    17    Accordingly, the factor favors detention.

    18               Now turning to the second factor, the weight of

    19    the evidence.     To prove a violation under Section 5861(d),

    20    the government need to show the following two elements:

    21               First, that the defendant knowingly possessed an

    22    unregistered ~irearm; and,

    23               Second, that the firearm had characteristics that

    24   place it within the statutory definition of a firearm.

    25               Now, critically, the defendant does not need to

                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION
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                                                                              8

     1    know that the firearm meets the statutory definition.

     2               So beginning with the short-barrel rifle, the

     3    government will easily meet its burden on this.       The rifle

     4    meets the statutory definition without a doubt; that is, a

     5    rifle with a barrel less than 16 inches in length.        A photo

     6    of the rifle at issue is on page five or the complaint

     7    affidavit in this case.

     8               It's also already been established that he

     9    defendant knowingly possessed it.      Not only was it found in

    10    the master bedroom of his house among his other belongings,

    11    but his girlfriend admitted to agents during the search that

    12    that short-barrel rifle was in fact his.       Indeed, she

    13    actually told agents that of the numerous guns that were

    14    found in the house during the search, only four of them were

    15    hers.   She actually identified for the agents which four

    16    guns were hers, none of which were the short-barrel rifle or

    17    the shotgun, which is the other firearm at issue.

    18               And, of course, this leads me to the sawed-off

    19    shotgun.   Now, last week there was some uncertainty

    20    expressed during a preliminary hearing as to the defendant's

    21    knowing possession of the shotgun.      I submit today that the

    22    evidence on this point is overwhelming.

    23               First, the sawed-off shotgun was found in the RV

    24    on the defendant's property.     Now, although the RV is

    25    registered in the defendant's girlfriend's name, there is

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                                                                             9

      1   uncontroverted evidence that the defendant lived in and

      2   stored his own possessions in the RV.

      3                Now, to start, when the defendant was arrested and

      4   taken into custody, his girlfriend apparently was never

      5   upset and made spontaneous comments to the agents, including

      6   that the defendant was the only one who could drive the RV.

      7   But there's much more than that.

      8                Your Honor, at this time, I'd like to direct the

      9   Courts attention to what's been marked as Government's

     10   Exhibit 1, the affidavit in support of the criminal

     11   complaint out of the District of Colombia.        Specifically,

     12   I'd like to call the Court's attention to the images

     13   included after paragraphs 40, 41, and 42.

     14                Now, looking at all three of these images, we can

     15   see that the defendant is wearing tactical gear.        He's

     16   wearing a tactical vest with a distinctive chest rig or an

    17    ammo belt.

     18                Now, the belt, if you look closely at the end of

    19    it, you can see has a water bottle pouch hanging off of it.

    20    There's also a place carrier that's clearly visible in the

    21    images.   The plate carrier also has distinctive

    22    characteristics, namely a pouch of the American flag with a

    23    skull that has two arrows and a sword cutting through it.

    24                 Now, with that background, I'd like to show the

    25    Court a couple of images recovered during the search of the

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                                                                               10
      1   defendant's RV.

      2              Your Honor, at this time, I'm pulling up what's

      3   been marked as Government's Exhibit 2A.         Thank you.

      4              THE COURT:     Ms. Asokan, is that too dark for you

      5   to --

      6              MS. ASOKAN:     No.     No, Your Honor.

      7              Your Honor, in Government's Exhibit 2A, you can

      8   see in this photo a chest rig or ammo belt with a water

      9   bottle holder that closely resernbles the one that the

    10    defendant is pictured wearing in the affidavit.           You can

    11    even see a water bottle still in it.

    12               You can also see at the top of the photo in 2A a

    13    plate carrier with the same distinctive patch that's visible

    14    in the affidavit photos.         That patch, as I understand it, is

    15    the Special Forces flag patch.         So if you see in the photo,

    16    it's affixed to the plate carrier and the same orientation

    17    as the patch is visible in the affidavit photos form

    18    January 6th.

    19               Now, both the chest rig and the plate carrier that

    20    are shown in this photo were found in the master bedroom of

    21    the RV.

    22               MR. SANSONE:     Just, at this point, I mean, we can

    23    agree he's been charged in Washington, D.C., with a

    24    misdemeanor trespass, essentially standing somewhere he

    25    hasn't -- he shouldn't have been standing.           That's the

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                                                                           11
     1    charge.   All of this, I'm not sure what this is going to to

     2    try and prove the case that he's actually -- was standing

     3    someplace he shouldn't have been standing.      So I'm not sure

     4    what the relevance of this is.

     5               THE COURT:    All right.   To the extent it's an

     6    objection, the objection is overruled, Mr. Sansone.       ~he

     7    government, as I understand it, is addressing one of the

     8    factors in part -- in 3142(g), particularly the strength of

     9    the evidence against the defendant.

    10               Now, for purposes of the detention hearing, if the

    11   defendant wants to concede that the strength of the evidence

    12    against him is strong, then perhaps we can move on to

    13   another factor.

    14              Mr. Sansone, what I said is the government, as I

    15   understand it, is trying to offer proof that the weight of

    16   the evidence against your client is strong.       They're for

    17   purposes of the detention hearing only, if the defendant

    18   wants to concede that factor, then I'm sure Ms. Asokan could

    19   move on, but how would you like to proceed, Mr. Sansone?

    20              MR. SANSONE:     Well, as to whether he was standing

    21   someplace in Washington, D.C., he shouldn't have been

    22   standing

    23              THE COURT:     No, I believe in Ms. Asokan's --

    24              MR. SANSONE:     Yeah, that --

    25              THE COURT:     Sorry, Mr. Sansone.

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                                                                           12
      1              MR. SANSONE:     I'm sorry, Your Honor.

      2              THE COURT:     Ms. Asokan can correct me if I'm

      3   wrong, but I believe what she's trying to establish here is

      4   that the vest that was recovered and the belt that was

      5   recovered in the RV where the shotgun was also recovered

      6   appears to be the same article of clothing that he was

      7   identified in in Washington D.C.       So she's trying to tie the

      8   two together and say that that was his clothing and,

      9   therefore, he was        either, as she said,   lived in the RV or

    10    had access to the RV and not only was the clothing his, but

    11    by circumstantial evidence the shotgun was as well.

    12               Ms. Asokan, do I have that correct?

    13               MS. ASOKAN:     Yes, Your Honor.

    14               MR. SANSONE:     We'll let them proceed.

    15               THE COURT:     All right.

    16               MS. ASOKAN:     Thank you, Your Honor.

    17               Now, with the image of the defendant from the

    18    criminal complaint out of D.C. in mind, I'd like to now show

    19    the Court what's been marked as Government's Exhibit 2B.

    20    Your Honor, this photo looks a lot like the ones included in

    ,21   the D.C. criminal complaint.      It's clearly a photo of the

    22    defendant in D.C. from January 6th.      You can see the

    23    distinctive Special Forces patch, the shears tucked into the

    24    front pocket,   just like the ones -- just like the images in

    25    the criminal complaint that was filed in D.C.         Agents found

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                                                                           13
     1    this photo in the RB.

     2               But let's stick with the master bedroom for just a

     3    little bit longer.    At the preliminary hearing, the agent

     4    testified to observing male clothing.      Agents who

     5    participated in the search of the RV in fact did not recall

     6    seeing any female clothing or possessions in the RV.        Among

     7    other things they found in the master bedroom camo pants and

     8    shirts, the kind you would expect a military or former

     9    military person to have.     They also found a T-shirt that

    10    said something to the effect of Special Operations

    11    Recruitment Battalion.     As the Court is now aware, the

    12    defendant is retired Army Special Forces.

    13               And to the extent there remains any doubt that the

    14    defendant kept his possessions in the RV and that he

    15    therefore knowingly possessed a shotgun, I'm now going to

    16    show what's been marked as Government's Exhibit 2C.

    17               This photo, which is clearly in the master bedroom

    18    of the recreational vehicle depicts a massive framed

    19    commemorative photo of the defendant in Special Forces gear.

    20    The frame even identifies him by name.      And like I said,

    21    this was found in the master bedroom of the RV.

    22               Your Honor, there is no doubt that the defendant
                                             1
    23    knowingly possessed the shotgun that was found in the RV.

    24    It's clearly his space and doesn't appear to be used by

    25    anybody else.

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                                                                            14
     1                 And just briefly, as to the second element that

     2    the government must prove, as set forth in the complaint

     3    affidavit, as well as in Special Agent Nicolussi's testimony

     4    last week, neither the short-barrel rifle, nor the shotgun

     5    are registered to Mr. Brown.

     6                 In sum, Your Honor, as to this factor, there is

     7    doubt that the defendant knowingly possessed the firearms at

     8    issue.   The weight of evidence -- the weight of evidence

     9    against him is overwhelming and this factor favors

    10    detention.

    11                 Now, turning to the third factor listed in Sectton

    12    3142(g), history and characteristics of the person.        Your

    13    Honor, I'd like to begin with the defendant's character.          If

    14    the Court would please turn back to the Government's Exhibit

    15    l's, the complaint affidavit in the D.C. case.       The photo

    16    beneath paragraph 40 shows that the defendant is a

    17    self-identified Oath Keeper.

    18                 Now, as Your Honor is likely aware, the Oath

    19    Keepers are a large organization of individuals who believe,

    20    among other things, that America or our Republic has fallen,

    21    that the government is trying to erode American civil

    22    liberties.     The Oath Keepers heavily recruit from former

    23    military and law enforcement persons

    24                 MR. SANSONE:   Objection, Your Honor.   I'm just not

    25    sure where she's getting this information from.

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                                                                             15
     1                THE COURT:     I'm not aware where you're getting

     2   that information from either, Ms. Asokan.          What are you

     3   offering right now?

     4                MS. ASOKAN:     Just background on the Oath Keepers,

     5   Your Honor.

     6                THE COURT:     All right.   I'll hear your proffer.

     7                MS. ASOKAN:     Thank you, Your Honor.

     8                THE COURT:     But, Ms. Asokan, let's not go too far

     9   afield, here.

    10                MS. ASOKAN:     I understand.    I can move on, Your

    11   Honor.

    12                Now, the defendant's association with this group

    13   is not a secret and also being that the defendant himself

    14   keeps closely held.        And at this time, I'd like to play a

    15   clip from the podcast that we mentioned earlier, what's been

    16   marked as the Government's Exhibit 3.

    17                THE COURT:     You may.

    18                MS. ASOKAN:     Your Honor, this podcast series is

    19   produced by the MAGA Institute, or Make America Great Again

    20   Institute.     It's from June 25th of this year, Episode 52,

    21   titled Retired Green Beret Jeremy Brown, colon, the Republic

    22   has Fallen, Here's What You Can Do.          You'll hear in this

    23   short clip the defendant being introduced on the show and

    24   talking about his background and affiliation with the Oath

    25   Keepers.     I just want to emphasize that this was a voluntary

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                                                                           16
      1   interview that the defendant participated in.       He wanted

      2   this information to, get out to the public.

     3               (Government's Exhibit 3 played.)

      4              MS. ASOKAN:     Your Honor, I have paused      for the

      5   record, I paused the recording at three minutes and 50

      6   seconds.

     7               Your Honor, we just heard the defendant state that

     8    he joined the Oath Keepers in November of last year after

      9   the election, knowing who they were, knowing what they did.

    10    He said he needed to start linking up with these

    11    organizations and preparing them for what is coming.

    12               Defendant's been working close coordination with

    13    the Oath Keepers.     He said in the podcast that he met with

    14    Florida leadership.      He's been working in what sounds like a

    15    consulting role regarding their security and vulnerability.

    .16              Now, flipping back to the D.C. complaint affidavit

    17    in Exhibit 1, starting at paragraph 43, we are offered a

    18    window into the degree of coordination ahead of January 6th

    19    regarding logistics and defendant's getting to D.C.

    20               In paragraph 46 you can see he used Signal to

    21    coordinate travel.    Now, Signal is an encrypted app that is

    22    typically used to conceal communications.       The defendant

    23    calls his RV Brown Force 1, noting that he'll be taking an

    24    RV and van to D.C.    He says, quote, plenty of gun ports left

    25    to fill, suggesting that firearms were in tow.

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                                                                                17
      1              And then we see in a December 2020 message in the

      2   same paragraph he goes on to detail his travel plans,

      3   assuming what looks like a leadership role of sorts.        In

      4   just a month since he joined in November of 2020, the

      5   defendant had already embedded himself in the Oath Keepers.

      6              Now, back to the podcast briefly, Your Honor.             I'm

      7   going to resume playing at three minutes and 50 seconds.

      8              (Government's Exhibit 3 resumed playing.)

      9              MS. ASOKAN:    Your Honor, for the record, I have

    10    stopped the recording at six minutes and 42 second.

    11               Your Honor, we just heard the defendant describe

    12    an interview with FBI agents from December of 2020.        The way

    13    he speaks about the interview the defendant is clearly

    14    suspicious of federal law enforcement.      He even somehow

    15    recorded the interview.     He then talked about January 6th.

    16    He apparently was there to provide security for VIPs.           He

    17    said he got a call from federal agents checking on him,

    18    again, expressed with scepticism and cynicism of law

    19    enforcement.

                     Based on these remarks, it's clear, or at least an

    21    inference can be drawn that the defendant presently has no

    22    trust in the government or federal law enforcement.        He

    23    thinks they've been lying to the public regarding a number

    24    of things, including January 6th.

    25               I'm going to stop the podcast here for now, but

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                                                                                18
     1    I'll be coming back to it.

     2                 Now, in the vein, regarding the defendant's

     3    apparent deep distrust of law enforcement and government,

     4    I'm show       at this time I'd like to show the Court what's

     5    been marked as Government's Exhibit 4.

     6                 This is a public post that the defendant made on

     7    Facebook on June 27th of this year, just a few months ago.

     8    Now, he talks about a number of things, including his former

     9    campaign, he ran for local -- or, sorry, United States

    10    Congress for I believe Florida's 14th District.

    11                 But the part that I want the Court to focus on

    12    towards the end, beginning with:        The greatest depression is

    13    here.    WAR will soon follow.   And for the record, war is in

    14    all caps.     Again, war in all caps:    A WAR that will come to

    15    your front door.     If you are not prepared,    I suggest that

    16    you -- I suggest you start now.      If you don't believe this

    17    could ever happen in, quote, America, read the Founding

    18    Fathers.     They warned us and they gave us the tools to

    19    resist it.     But will we?

    20                 Your Honor, based on what I've just presented,       I

    21    submit that the defendant's Oath Keeper affiliation and his

    22   public statements on the state of our government show a

    23    severe and sincere distrust for our systems, for the rule of

    24    law.    He advocates openly for resistance.     This is not

    25    someone who can be trusted on bond.

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                                                                           19
     1                 Now, moving on to the defendant's mental

     2    condition.     Your Honor, this area should give the Court

     3    particular concern.

     4                 The defendant met with Pretrial Services last

     5    Friday ahead of his initial appearance.      But, Your Honor, we

     6    have reason to believe that the defendant was less than

     7    candid in his interview.     Turning to his Pretrial Services

     8    report, the very first line says:      Mr. Brown informed

     9    Pretrial Services he has never been diagnosed with a mental

    10    health condition.

    11                 He mentions seeing a counselor voluntarily,

    12    working through his divorce, experiencing some general

    13    suicidal ideations, and experiencing some I guess what can

    14    be inferred as depression.     But nowhere are there -- is

    15    there mention of any significant mental health episodes or

    16    issues in this life.

    17                 The defendant selectively disclosed information

    18    about his mental health history.     He chose to tell Pretrial

    19    Services about some of his bouts of depression and how he

    20    sought counseling.     But he failed to disclose that in the

    21    last ten years he has been Baker Acted at least twice.        That

    22    is an act of involuntary commitment.      That is not something

    23    you just forget to mention.

    24                 Now, starting with the first known Baker Act, I'd

    25    like to call the Court's attention to what's been marked as

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                                                                             20
     1    Government's Exhibit 5.     This is a Hillsborough County

      2   Sheriff's Office report from January 13th, 2014.        If Your

     3    Honor would turn to page four of the report, the narrative

      4   section.    Now, it reads in quotes:     Upset by a current

     5    divorce, the subject made statement that he would kill his

      6   wife or himself.

     7                The report goes on to say:     The subject refused

     8    reviews voluntary evaluation and that he was placed under

     9    Baker Act without incident or injury.

    10                The next page, page five, another narrative from

    11    the report, describes the defendant as angry and focused.

    12                Now, all of this was apparently reported by a

    13    witness, which is documented on page seven of the report.

    14    She's apparently a friend of Mr. Brown's -- sorry, the

    15    defendant and this witness became concerned that the

    16    defendant may hurt himself or his wife citing a text message

    17    that he sent, in quotes:     If I don't kill myself, I will

    18    kill her.    It is all I think about, she is the enemy.

    19                Now, moving on to the second Baker Act.      At this

    20    time I'd like the Court -- to direct the Court's attention

    21    to what's been marked as Government's Exhibit 6.       Now, this

    22    is a Hillsborough County Sheriff's office missing person

    23    report in February of 2019.

    24                Turning to page seven of the report, you'll see

    25    that the defendant's girlfriend, the same one that he

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                                                                           21
      1   currently lives with and who has apparently offered to

      2   Pretrial Services to be his custod~an if he's released on

      3   bond, reported the defendant missing.      He, at this time, in

      4   February of 2019, was last seen on a bicycle towing a cart

      5   of his belongings.     His girlfriend told the police that he'd

      6   been diagnosed with depression and is suicidal.

      7                I just want to note again that in the Pretrial

      8   Services report, the defendant said he has no mental health

      9   diagnoses.

    10                 Reading along, the defendant's girlfriend reported

    11    that he has a history of disappearing.      He apparently had

    12    left the house like this several times before approximately

    13    once a year for the last five years.      Your Honor, this goes

    14    directly to risk of flight.

    15                 He suffers from severe depression -- my apologies,

    16    Your Honor.

    17                 The defendant suffers from severe depression and

    18    has suicidal ideations apparently related to his divorce and

    19    his brother's suicide, which took place six months before

    20    this incident.

    21                 Now, turning to page nine, the report goes on to

    22    say that the defendant took a pistol with him when he left

    23    his house.     It also explains that when the defendant leaves

    24    his house like this, when he disappears, is when he's

    25    feeling particularly suicidal.

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                                                                           22
     1                In one particular instance, as reported by his

     2     girlfriend, he apparently purchased a carbon monoxide kit,

     3     but he did not end up going through with it.

      4               Your Honor, at this time and with your permission,

     5     I'd like to review a few of the text messages that the

      6    defendant and his girlfriend during this incident, which she

     7     shared with the police.    They begin on page 29 of the

     8     report.

     9                Based on the content of these messages, Your

    10     Honor, I defer to you and whether it's appropriate to read

    11     it out loud or at sidebar ..

    12                THE COURT:    I don't think it's necessary for you

    13     to read it, Ms. Asokan, I'm capable of reading it, it's

    14     already been admitted into evidence.

    15                MS. ASOKAN: · Understood, Your Honor.

    16                I just want to hit a few of the points that are in

    17 ·   these messages.    They shed light on how severe his

    18     depression was and how suicidal his thoughts were.

    19                At one point he tells his girlfriend in the

    20     message, I'm going to do what I need to do, then be done.

    21                The next page he says:    I'm going where I'm going,

    22     I'm going there alone.

    23                And, finally, I just want to point out on page 33

    24     he makes a reference to a person presumably his brother's

    25     suicide.   He says he doesn't blame him for doing,it.

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                                                                             23
     1    Frankly, he was jealous that he beat me to it.

     2               He even says:    I blame him for not killing another

    ,3    woman, and the other F word.     Big mistake.

     4               Your Honor, these text show that the defendant was

     5    not well and sincerely wanted to hurt himself.        That he has

     6    a history of it and he did not disclose this incident to

     7    Pretrial Services is all the more alarming.

     8               Now, the defendant was eventually found at a

     9    hotel, as documented on page 40 of the report.        The police

    10    found a handgun in the hotel room.      They then Baker Acted

    11    him and took him to the VA and a risk protection order was

    12    sought.   The defendant apparently told the police that he

    13    did not actually intend to hurt himself.

    14               Your Honor, the defendant was less than candid

    15   with Pretrial Services about his mental health.         He has no

    16    credibility on this issue.
                                -
    17               The last 'thing I want to mention on the

    18    defendant's mental health is an incident from September of

    19    2019, the same year of his second known Baker Act -- the

    20    same year of his second known Baker Act.        This was an

    21    injunction that was sought against the defendant in what

    22    appeared to be a domestic violence issue.

    23               Your Honor, due to the short notice of the

    24   detention hearing, I was unable to obtain the underlying

    25   pleadings in the case, but I have a printout of the docket,

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                                                                           24
     1   which is marked at Government's Exhibit 7.

     2               If Your Honor, would look at the last page, it

     3    shows that stayaway order was sought with respect to certain

     4    individuals.   Your Honor, I have reason to believe and I

     5    submit to the Court that these individuals share the same

     6    last name as the defendant's current girlfriend.

     7               Now, looking a the third page, a temporary

     8    injunction was obtained against the defendant for stalking

     9   violence.    We can also see that in November 2019 the

    10   defendant moved to have his firearms returned implying that

    11   they were taken away from him in connection with this

    12   domestic violence issue.

    13               In sum, the defendant has had at least three major

    14   incidents in the last ten years that bear on his mental

    15   health and stability.     None of them are mentioned in the

    16   Pretrial Services report.     The September 2019 incident, the

    17   two Baker Acts, these.are precisely the kind of information

    18   that Pretrial Services needs to know about in making its

    19   recommendation to the Court as to bond or detention, but the

    20   defendant chose to keep them to himself.

    21               I now briefly want to touch on the defendant's

    22   family ties.    He is divorced and his children live in

    23   '
         Missouri.   He lives with his girlfriend, who apparently is

    24   his only family in the area.      His girlfriend is or was in

    25   the process of selling their home at the time -- the home

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                                                                            25
     1    that they share at the time the search warrant was executed

     2    and the defendant was arrested.     She has apparently

     3    represented to Pretrial Services that she would cancel the

     4    sale, but we have no information or assurances on what their

     5    living situation will be moving forward.      They have the RV,

     6   which apparently is for the defendant's use and he's the

     7    only one who can drive it.     He is physically mobile in his

     8    residence.    And given his volatile past, his history of

     9    disappearing, Your Honor, these go directly to risk of

    10    flight.

    11                 In sum, his affiliations with the Oath Keepers,

    12   his apparent and sincere distrust of federal law enforcement

    13    and government, the defendant's mental health history, which

    14    is significant, and his lack of family ties favor detention.

    15                 Finally, Your Honor, I'd like to turn to the last

    16    factor, the nature and seriousness of the danger to any

    17   person or the community.

    18                 Your Honor, this is grave.   The defendant's

    19   volatility, his history of mental health issues, and his

    20   affiliation with a militia-type group, show that he poses a

    21   danger to the community and to himself.

    22                 His participation in the Oath Keepers bears

    23   repeating.     Your Honor is probably aware that several Oath

    24   Keepers have been arrested in this District.        Many of his

    25   colleagues are nearby.

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                                                                                  26
     1                Shortly after the defendant joined the Oath

     2    Keepers, FBI agents interviewed him in December 2020 about

     3    social media posts regarding recruiting people for a

     4    potential civil war.          He was interviewed again after

     5    January 6th regarding his involvement at the Capitol.             And

     6    as we know from the podcast, the defendant is very

     7    suspicious and distrusting of federal law enforcement.

     8                Your Honor, if you'd please look at what's been

     9    marked as Government's Exhibit 8.          This is a picture of a

    10    sign that the defendant posted on the front door of his home

    11    in March of this year after he is approached by federal

    12    agents on at least two occasions.          The sign reads:     Dear

    13    FBI, slash, DRS, Department ,of Homeland Security, slash,
                                I

    14    USMS, United States Marshal Service, slash, HCSO,

    15    Hillsborough County Sheriff's Office.          Re-read your oath.

    16    You are being used as a pawn by the enemies of this Republic

    17    and your liberties.          If you don't care and say to yourself,

    18    quote, I'm just following orders, then go, expletive,

    19    yourself.    P.S.:        Better bring a bigger tactical package.

    20                Again, Your Honor, the defendant is directly

    21    calling out federal law enforcement essentially saying to be

    22   prepared for a showdown if they come back.           How is Pretrial

    23    Services supposed to go to his house and check on him

    24    knowing what the defendant's disposition is regarding

    25    federal agents and federal law enforcement?

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                                                                           27
     1                At this time, I'd like to play a couple more short

     2    clips from the podcast, what's in Government's Exhibit 3.

     3   The podcast is over an hour long, so I won't take up the

     4   Court's time playing all of it, but the defendant's thoughts

     5   on the state of our country, his views of government, his

     6   military training, and technical knowledge provide necessary

     7    context regarding the dangerousness he poses to the

     8   community.     I'm going to start the recording at seven

     9   minutes and 45 seconds.      I'm actually going to start it at

    10   seven minutes, 30 seconds, just for ease of playing on this

    11   machine.

    12                (A portion of Government's Exhibit No. 3. was

    13   played.)

    14                MS. ASOKAN:   For the record, I've paused the

    15   podcast at Exhibit 3 at nine minutes and 19 seconds.

    16                When asked why he hasn't been indicted yet, the

    17   defendant said, I'm hard to catch, I'm hard to kill.         He

    18   calls himself a 20-year expert in insurgencies.

    19                I'm going to resume playing from nine minutes and

    20   19 seconds.

    21                (Government's Exhibit No. 3 continues playing.)

    22                MS. iSOKAN:   For the record, I paused the

    23   recording at ten minutes and 59 seconds.

    24                Your Honor, there's more discussion like this

    25   through the duration of the podcast and if -- I won't

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                                                                           28
     1    belabor the point now, Your Honor has the recording for

     2    himself.   Just two things I'd like to mention that you will

     3    hear in this recording:

     4               Later on, at about one hour, eight minutes, and

     5    12 seconds, you hear the defendant talk about switching

     6    wireless carriers, apparently not having time to do so

     7    between running from the FBI and trying to get good WiFi
             \

     8    signal at his home.

     9               The last thing from the podcast I'd like to

    10    mention is towards the end of the podcast, at around an hour

    11    and 14 minutes, you will hear the defendant talking about an

    12    impending FBI raid and getting his girlfriend to shoot her

    13    gun straight.

    14               With everything we heard, the Court should be

    15    alarmed and extremely concerned about what the agents found

    16    at the defendant's residence during the search last week.

    17    Agents found approximately ten firearms and an estimated

    18    7,000 to 8,000 rounds of ammunition during the search.·

    19               But let's start with the obvious.      As set forth in

    20    the complaint affidavit, agents found two live military

    21    ordnance grenades in the RV.     Live grenades.

    22               THE COURT:   So can -- I'm sorry to interrupt you,

    23    but can you please clarify as to what the nature of those

    24    grenades were?   Because as I recall, the testimony at the

    25    preliminary hearing, I believe the agent from ATF referenced

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                                                                             29
      1   that they may in fact be flash-bangs?

      2                MS. ASOKAN:    Your Honor, if I'm remembering

      3   correctly, I think initially agents believed that they might

      4   find flash-bangs in the defendant's -- on his property ahead

      5   of the search.     I'll show you another exhibit shortly that

      6   shows why they thought that.        So I think he was clarifying

      7   that he expected to see flash-bangs or expected to be there

      8   to examine flash-bangs, but what they found in fact were

      9   grenades.

     10                THE COURT:    Thank you.

    11                 MS. ASOKAN:    Now, Your Honor, as to these
                                          '   I
    12    grenades, there is no sporting use for them.        There is only

    13    one purpose for them and that's destruction.        Now, it's not

    14    clear at this time how the defendant got them, but they're

    15    _the exclusive property of the military.      An inference

    16    certainly may be drawn against him on this point.

    17                 Now, the defendant had these extremely dangerous

    18    weapons in his home in a residential area.        Having weapons

    19    like these shows a complete disregard for the safety of the

    20    community.

    21                 Your Honor, I submit that worst of all, when the

    22    defendant was arrested, he saw that a search was being

    23    performed before he was taken to the jail.        He had every

    24    opportunity to warn the agents that he had grenades in the

    25    RV.   By some good fortune, nothing happened to the agents

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                                                                             30
      1   when they encountered the grenades and they were able to

      2   safely relocate them.

      3               But that's not the only type of -- that's not the

      4   only type of restricted weapon that was found during the

      5   search.     I'm showing what has been marked as Government's

      6   Exhibit 2D.    Agents executing the search also found bear

      7   spray, large cannisters of it.     And at this point, Your

      8   Honor, this many months away from January 6th, it's public

      9   knowledge from -- based on public reporting that bear spray

    10    was used.

    11                Agents also found manuals -- agents also found

    12    training manuals that should concern the Court.        I'm showing

    13    what's been marked as Government's Exhibit 2E.       You can see

    14    that this document is titled Unconventional Warfare.        Now,

    15    we just heard the defendant talk about this in the podcast,

    16    about his expertise and understanding on conventional

    17    warfare.    He seems to fancy himself an expert on this topic

    18    presumably based on his Special Forces training.

    19                I'm now showing what's been marked as Government's

    20    Exhibit 2F.    It's a photo of a Special Forces Sniper

    21    Training and Employment Manual.      Your Honor, this is just

    22    another piece of evidence that goes to the defendant's

    23    capabilities, his understandings, and his skill using

    24    firearms.

    25                Now, to be very clear, Your Honor, the mere fact

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     1    that the defendant was in the military in no way speaks to

     2    his dangerousness.    Rather, in the context of the

     3    defendant~s professed views about the government and the

     4    arsenal of weapons that was found in his home, the defendant

     5    has the expertise and knowledge in how to use a variety of

     6    weapons.

     7               Also found in the home were items establishing

     8    that the defendant is a flight risk, that he's been

     9    methodically preparing to live off the grid.       I'm showing

    10    what's been marked as Exhibit -- Government's Exhibit 2G.

    11    This is a photo that was taken during the search of what

    12    appears to be the defendant's home office.       I'm just going

    13    to zoom in on the whiteboard.

    14               The items listed on the board, the firearms, the

    15    food, the clothing, the resources, Your Honor, I think it's

    16    fair to characterize the defendant as what we know as

    17   preppers.    These track -- these items listed on the board

    18    track the statements he's made about an imminent war and

    19   being prepared and being ready.      These are all things that

    20   will allow him to live off the grid and on the lam.

    21               If you look closely, Your Honor, and I won't

    22   belabor this, you have it in front of you, he's mentioned

    23   things to shoot, a list of firearms and weapons, ammunition,

    24   including flash-bangs, which is what agents believed they

    25   would find when they executed the search.       We also see a

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                                                                            32
      1   list of clothing, information on shelter, and again, the

      2   food.

      3                Now, a-s just another example of the defendant's

      4   preparedness to live off the grid and evade -- in

     5    preparedness to be out of law enforcement's reach, I'm

      6   showing what is marked as Government's Exhibit 2H.         Now,

      7   this is just one picture of hundreds of rounds of

      8   ammunition -- thousands of rounds of ammunition, rather,

      9   that were found during the search.      Essentially, a

    10    stockpile.     And not just any ammunition, it's clear from

    11    this photo that these are not your regular gun enthusiast's

    12    bullets.     The bullets depicted here can do grave damage.

    13                 Finally, Your Honor, I'm showing what's been

    14    marked as Government's Exhibit 21.      We're looking at stacks

    15    of cash that were found in the defendant's master bedroom.

    16    It's my understanding this cash amounts to approximately

    17    $6,000.    The defendant has resources, the preparation, the

    18    money, the RV.     The defendant has means to flee.      Indeed, it

    19    looks like he's been preparing for it for quite some time.

    20                 Your Honor, as you mentioned last week, all of the

    21    evidence presented must be vi'ewed in totality.       Based on the

    22    totality of the evidence presented today, this defendant is

    23    a danger to the community and a flight risk.       His

    24    affiliation with the Oath Keepers, his stockpile of weapons,

    25    his capabilities in training.     He's skilled in the art of

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      1   deception.     We have no reason to believe that any of his

      2   representations as to compliance or to cooperate with

      3   Pretrial Services are to be believed.

      4                His mental health history is significant and shows

      5   that he has a history of being unstable and disappearing.

      6   He has a serious history of suicidal ideations.          His

      7   comments about federal law enforcement suggests that he's

      8   been waiting for a showdown.          In his mind, exactly what's

      9   happening right now is what he's been preparing for.           He has

     10   no regard for our system of government or even what seems

     11   our criminal justice system.

     12                Your Honor, there are· no conditions that will

     13   reasonably assure his appearance as required and the safety

     14   of the community or even himself in light of his mental

     15   health history.     The defendant should be detained pending

    16    trial.

    17                 THE COURT:    So do you have the audio clip from the

    18    podcast in which he was discussing the plans for an expected

    19    raid by the FBI?

    20                 MS. ASOKAN:    I do.     Would you like me to play it?

    21                 THE COURT:    I would.

    22                 MS. ASOKAN:   One moment.

    23                 For the record, I'm starting the recording at

    24    one hour, 12 minutes, and 55 seconds.

   · 25                (Playing recording.)

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     1               MS. ASOKAN:     For the record, I paused the

     2    recording at one minute, 14 seconds -- sorry, one hour,

     3    14 minutes, and 25 seconds.

      4              THE COURT:     Anything further?

     5               MS. ASOKAN:     Nothing at this time, Your Honor.

      6              THE COURT:     Mr. Sansone, do you need a break or

     7    are you ready to proceed?

     8               MR. SANSONE:     I'm fine, Your Honor.

     9               THE COURT:     I'm sorry?

    10               MR. SANSONE:     I'm fine.

    11               THE COURT:     All right.    You may proceed.

    12               Actually, one second, Mr. Sansone.

    13               Whenever you're ready.

    14               MR. SANSONE:     Yes.   May it please the Court.

    15    Thank you, Your Honor.

    16               Let me just start out by saying that Mr. Brown is

    17    a 20-year Army veteran, spent 17 years in the Special

    18    Forces.   He has absolutely no criminal background at all.

    19    He never had one disciplinary proceeding in the military.

    20    He has two bronze stars and he was honorably discharged.

    21               And make no mistake, the government is using the

    22    fact that he has special training by the United States

    23    government against him now to try and convince this Court

    24    that he's a danger to the community and he should be

    25    incarcerated, though he has no history of violence.        And

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                                                                           35
     1    I'll get to some of the allegations with the court -- state

     2   court proceedings in a minute.

     3                Judge, as the government correctly stated, there's

     4   only two questions essentially before the Court, is whether

     5   there's any conditions short of incarceration that would

     6   satisfy the Court that he would not be a flight risk and

     7   assure his appearance in court and a danger to the

     8   community.     Let me quickly go to the circumstances of the

     9   crime.

    10                I think the trespass is not the one that the

    11   government focused on, because essentially the allegations

    12   in that complaint at this point is that he was -- they

    13   believe that he was standing in an area where he wasn't

    14   authorized to stand and it was a misdemeanor trespass out

    15   of D.C.

    16                Now, I know it's not -- the strength of the

    17   evidence against them, I think part of that case and part of

    18   the weapons case is definitely going to be how is a search

    19   warrant issued on a misdemeanor trespass out of D.C.,

    20   Mr. Brown's house, camper

    21                THE COURT:     Mr. Sansone, with all due respect, as

    22   I mentioned to you at the preliminary hearing --

    23                MR. SANSONE:     I'm just saying the strength of the

    24   evidence, Judge.

    25                THE COURT:     -- that's not an issue before the

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                                                                            36
     1    Court.

     2               MR. SANSONE:     I mean -- okay.   Well, all right.

     3    Let's just --

     4               THE COURT:     What you're arguing is pertaining to

     5    suppression.    That's not something the Court can take into

     6    consideration at a detention hearing.

     7               MR. SANSONE:     Well, let's -- let's go to what they

     8    found, the firearms that are -- that are in the house.          The

     9    government has no evidence how long he'd had those.        He

    10    could have had those for the past 20 years.       They have no

    11    evidence that those have ever been fired.       He has no -- they

    12   have no evidence he's ever used those before.        They have

    13   absolutely no evidence -- those could have been sitting --

    14   that sawed-off shotgun could have been sitting in his camper

    15    for the past 15 years.      There's absolutely no evidence those

    16   have ever been used or fired in any way, shape, manner, or

    17   form.

    18               So whether or not the evidence against him is

    19   strong, the allegation is he has some weapons that weren't

    20   registered.     But they're equating that to these weapons are

    21   such a danger that there are no conditions.        One of the

    22   conditions is he has to surrender -- Your Hono~ could do

    23   that, he has to surrender absolutely everything he has.           And

    24   that could be -- that would clearly be a condition that he

    25   would readily agree to as part of this proceeding.        And I'll

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                                                                               37
     1    get to the conditions, Judge.

     2                 But the government goes into why -- alleging that

     3    he was untruthful or he was not candid with Pretrial

      4   Services because he didn't tell them of his extensive mental

     5    health issues.     Well, let's with Exhibit No. 6, which is a

     6    2019 missing person report.

     7                 His girlfriend filed a missing person report on

     8    February 12th of 2019.        First of all, this is two and a half

     9    years ago.     The very next day he was at a Quality Inn.      He

    10    wasn't missing at all.        He said he wanted to be away from

    11    his girlfriend, his brother had just committed suicide and

    12    he needed some space.

    13                 Tampa Police Department, he voluntarily went to

    14    the VA, spent three days there.        The Tampa Police Department

    15    did file a risk protection order against Mr. Brown.

    16                 Now, I have one -- I did give this to the

    17    government and I'll pass it up, Judge.        It's just one page.

    18    Judge Ficarrotta, who is the Chief Judge at the 13th

    19    Judicial Circuit, I have lots of experience with Judge

    20    Ficarrotta, who is a very serious man.

    21                 THE COURT:     Mr. Sansone, I apologize for

    22    interrupting you, sir.        May I mark this as Defendant's

    23    Exhibit 1?

    24                 MR. SANSONE:     Yes, Defense Exhibit 1.   I'm sorry,
           I
    25    Your Honor.

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     1               THE COURT:     Before we go any further, Ms. Asokan,

     2    any objection to Defense Exhibit No. 1?

     3               MS·. ASOKAN:    No, Your Honor.

     4               THE COURT:     All right.   It'll be admitted.

     5               (Defendant's Exhibit No. 1 received in evidence.)

     6               MR. SANSONE:     This is the final order denying the

     7    Tampa Police Department's risk assessment protection order.

     8    This was just -- this is -- the government -- the United

     9    States alluded to the        that Tampa Police sought this.

    10               Now, you'll see under the petition is denied,

    11    quote, the specific facts or finding for said denials are as

    12    follows:

    13               Based on the testimony of witnesses and

    14    respondent -- who's Mr. Brown himself -- the Court finds

    15    that respondent does not p~se a significant risk of danger.

    16               And then you'll see where it says, further

    17    ordered:   It is further ordered that the firearms had to be

    18    returned to him by the Tampa Police Department.

    19               So two and a half years ago Judge Ficarrotta in

    20    this Circuit found, as based on this 2019 missing person

    21    report, that he was no danger and ordered the Tampa Police

    22    to return his £irearms.

    23               Now, the government is using -- he was not

    24    incarcerated then, but the government is attempting to use a

    25    finding that he showed no danger to somehow incarcerate him

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                                                                           39
     1    today and somehow suggest that the        because he didn't

     2    bring this up to Pretrial Services he was being less than

     3    candid.

     4               Let's go to the Exhibit 5, a 2014 Baker Act.

     5    Seven years ago he was going through a difficult divorce and

     6    he was Baker Acted.     He was released and what has happened

     7    since that time?     He was never incarcerated, there's been no

     8    issues at all.     He wasn't incarcerated seven years ago for

     9    this, but the United States is using this seven-year-old

    10    Baker Act to somehow show that he has a huge issue of mental

    11    health.

    12               And diagnosis, the government's only evidence that

    13    he has depression I believe is he said he had depression and

    14    his girlfriend said he had depression.      I haven't seen any

    15    evidence that he has been diagnosed with clinical depression

    16   by some mental health -- a psychiatrist or anybody.        Suffers

    17    from depression.     He was going through a difficult divorce

    18    seven years ago.

    19               The 2019 that I was handed this morning, the

    20    Government cites there's a battery.      First of all, this is a

    21    civil temporary request for a restraining order.       They're

    22    always granted initially and then the        there's a time

    23   where the temporary restraining order is issued and then

    24    there's a hearing.

    25               Now, I worked in Plant City,    I worked for Judge

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                                                                           40
     1    McNeil, who's a judicial officer, I was assigned to his

     2    division, and I handled thousands of these in front of Judge

     3    McNeil.    Judge McNeil was also a very serious judge when it

     4    comes to this.     At the hearing, the restraining order was

     5    dismissed and he was given his firearms back.        This was

     6    filed ex parte by his girlfriend's sister.        After a hearing,

     7    Judge McNeil dismissed it, his firearms should go back to

     8    him.   So it's a dismissed temporary restraining order that

     9    the United States of America is now trying to use in this

    10    court to incarcerate him.     He has absolutely no criminal

    11    history.   He should be incarcerated.     I literally can't

    12    believe that they would use that as a factor to ask this

    13    Court to incarcerate this man.

    14               The Exhibit 3 podcast, I heard freedom of speech.

    15    I did not hear him inciting any violence, I didn't hear him

    16    directing any violence.     The government says he has a

    17   mistrust of law enforcement, skeptical of law enforcement,

    18    and somehow that should convince this Judge, this Court,

    19    that he should be incarcerated because on a podcast where

    20    he's exercising his First Amendment rights he expressed

    21    skepticism with law enforcement.

    22               Half of the jury venires I do in state court, the

    23   people express skepticism, great skepticism, with law

    24    enforcement.     But the United States of America is here

    25    today, when Mr. Brown is exercising his free speech, there

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                                                                           41
     1    was no inciting -- they did not argue that this is outside

     2    of free speech, it's -- he's inciting people to riot.

     3    There's no evidence that he's trained anyone.       None.

     4    There's no evidence that he's trained tactical people and is

     5   preparing to do anything.       Skeptical of law enforcement.

     6    The United States, again, is asking this Court to jail a

     7    decorated veteran because he's skeptical of law enforcement.

     8   Our position is Exhibit 3 is freedom 0£ speech and he should

     9   not be jailed for that.

    10               Now, other factors.     Mr. Brown was serving at

    11   Macdill.    He retired from Macdill Air Force Base and has

    12   remained in Tampa ever since, as a lot of military do.          The

    13   fact that his family doesn't live here, I don't know how

    14   that equates to a checked column for the United States that

    15   his family doesn't live here and, therefore, somehow that

    16   equates with somehow flight risk.

    17               Criminal history.     None.

    18               History of drug or alcohol problems.      None.

    19               On probation or parole when arrested.      No.

    20               Serious danger to anyone.     The 2019 missing

    21   persons came to absolutely nothing, the Judge returned the

    22   firearms.

    23               The 2014, seven years ago, Baker Act came to

    24   nothing.

    25               The 2019 temporary restraining order was denied.

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                                                                             42
     1    Given back his firearms.    There is -- essentially, the

     2    government's position seems to be because he had those

     3    weapons, and he could have had them for decades, that makes

     4    him a danger.

     5                And as to a flight risk, Mr. Brown specifically

     6    said on that podcast if he was indicted, he would intend to

     7    take the stand and come to court and tell the Court what's

     8    going on.    Contrary to being a flight risk, he essentially

     9    said, I would love my opportunity if I was indicted to bring

    10    these issues into a court of law.

    11                Obviously, the government can't show that there's

    12    been any failure to appears or anything like that, because

    13    he's never been arrested before.

    14                These are the conditions that the Judge could --

   .15    that Your Honor could impose that the government says are

    16    not sufficient:    You could order electronic monitoring; you

    17    could ask him to surrender all of his weapons; you could ask

    18   him to report on a regular basis to Probation.        And

    19    electronic monitoring, obviously, if -- that would alleviate

    20   a flight risk.     You could have restrictions on travel.      He

    21   could turn in his passport.      He could comply with a curfew.

    22   A surety bond.     And specifically, another factor is you

    23   could actually have him, even though we don't think it's

    24   needed, undergo a psychological or psychiatric evaluation

    25   and have that reported to Pretrial Services.

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     1               Now, our position, essentially, Your Honor, is

     2    those conditions could satisfy this Court and two things

     3    that Your Honor needs to address, which are to secure his

     4    appearance and to keep any possible danger to the public.

     5    There are many conditions that this Court can fashion short

     6    of incarceration that would do those things.

     7               And we, quite frankly, think that the evidence

     8    that the government gave to Your Honor doesn't rise any way,

     9    shape, or form near incarceration.      And we don't think that

    10    the evidence that the government supplied, I think it's

    11    clear why Mr. Brown didn't tell Pretrial Services about a

    12    2019 missing persons report when he was at the Quality Inn

    13    and then nothing ever came of it.      Or a temporary

    14    restraining order filed by his girlfriend's sister where

    15    nothing ever came of it.     There's no reason for him to talk

    16    to Pretrial Services about that.     He wasn't being less than

    17    candid.

    18               And he actually told Pretrial Services in the past

    19    he'd suffered from depression and in the past had suicidal

    20    ideation, which is essentially the 2014 Baker Act.       He

    21    didn't hide from that.

    22               So, Judge, it's -- our position is simple.         You

    23    have at your power a lot of tools to place upon Mr. Brown

    24    short of incarceration that will satisfy those two factors.

    25   We believe there are many tools this Court can use short of

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     1    incarceration.    Our position is the government's going after

     2   him for essentially nonevents and exercising of free speech

     3    does not rise to that level.

     4                Also, in that podcast, when he says, I'm difficult

     5    to find or difficult to kill, after that he laughs and then

     6    says, okay, here's the reality, and he gets onto something

     7    specific.    Now, Your Honor can take that as -- however you

     8   want.   Our position is that's a joke, he's moving onto

     9    something very specific and he talks about very specific

    10    things that he has a problem with the government, not that

    11   he's going to somehow engage in some type of tactical

    12   warfare.

    13                And this day, many agents came to his house.

    14   There was no -- there were no shots fired, he was compliant,

    15    and he was arrested.       Nothing happened.    It was a

    16   non-incident when they came to his house to arrest him.

    17                So we don't think there's any history of violence

    18   that would rise to the level of Your honor deciding that

    19   there were no conditions short of incarceration.

    20                That's all I have, Your Honor.

    21                THE COURT:     Mr. Sansone, I do have some questions

    22    for you, sir.

    23                MR. SANSONE:     Yes, Your Honor.    I'm sorry.

    24                THE COURT:     All right.   If the Court were to

    25   discount some of the statements that he made on the podcast,

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      1   the statement about being hard to find, hard to kill being

      2   made in jest and this statement that he's           something to

      3   the effect of his girlfriend -- he wished his girlfriend

      4   would go to the shooting range and learn how to shoot

      5   straight for the upcoming FBI raid, at both times the

      6   Court -- it did appear to the Court that he was saying

     7    making those statements in jest.

     8               So even if the Court were to discount those

     9    statements and recognizing that the search warrant was

    10    executed on his house, but the government had the element of

    11    surprise when executing that search warrant, there's no

    12    indication that Mr. Brown knew that the government was going

    13    to execute a search warrant that day.         I'd like you to

    14    address, which perhaps is most concerning to the Court,

    15    Government's Exhibit 8

    16               MR. SANSONE:     Eight?     Was that 8, Your Honor?

    17               THE COURT:     Yes, sir.

    18               MR. SANSONE:     Mr. Brown just indicated to me that

    19    they didn't say he was coming to his house that morning, but

    20    the agents had called him that morning, so they were

    21    checking in on him.

    22               THE COURT:     All right.

    23               MR. SANSONE:     The morning of the search warrant.

    24               THE COURT:     All right.    Now, according to the

    25    government, if I understood Ms. Asokan correctly,

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     1    Government's Exhibit 8 is a picture of a sign that was

     2    posted at the defendant's residence at one point and it's

     3    addressed to the FBI, DHS, U.S. Marshals, and the

     4    Hillsborough County Sheriff's Office.      It has a political

     5    statement, which the Court is not concerned about, but what

     6    the Court is concerned about is the P.S. at the bottom that

     7    says:   Better bring a bigger tactical package.

     8               Now, how is the Court supposed to take that

     9    statement as anything other than a threat to law

    10    enforcement, FBI, DHS, United States Marshal Service, and

    11    the Hillsborough County Sheriff's Office, if they come to

    12    visit him, they better bring a bigger tactical package?

    13    What's the Court to make of that?

    14               MR. SANSONE:    Well, look at his history.    He has

    15    absolutely no history of violence.      Zero.   None.

    16               THE COURT:     But what about that sign, that he's

    17   putting the government on notice, putting the specific law

    18    enforcement agencies on notice that if you come to his

    19    house, where the sign is posted, you'd better bring a bigger

    20    tactical package?

    21               Quite frankly, Mr. Sansone, that's the biggest

    22    thing that I'm grappling with, is how am I supposed to

    23    fashion any kind of conditions of release where Mr. Brown

    24   would be anywhere other than in a jail when he has flat out

    25   put the government, law enforcement, on notice that if

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      1   they're going to come see him, they better bring a bigger

      2   tactical package?

     3               MR. SANSONE:    But they did come and see him and

      4   there was nothing.      There is absolutely zero evidence of

     5    violence in this man's background.

     6               THE COURT:     I understand and, quite frankly, the

     7    Court would be inclined to try to come up with some

     8    conditions of release in order for him to be out on bail

     9    pending trial.     But again, I'm reiterating, I don't know how

    10    I can overcome his own statement to law enforcement

    11    threatening them and putting them on notice that they need

    12    to bring a bigger tactical package in a search warrant while

    13    he's -- you've proffered that an agent had contacted him

    14    that morning?    There's been no evidence      and you can speak

    15    to your client if you'd like -- that he knew that they were

    16    coming to execute a search warrant that day.       They had the

    17    element of surprise.

    18               Now, if I'm to fashion any kind of condition of

    19    release where Mr. Brown would be staying at his residence,

    20    or any residence for that matter, he may not know -- or he

    21    may be aware that Pretrial Services is going to have to

    22    check up on him.     And I'm to put an officer in danger and

    23    they are to take into consideration his suggestion that they

    24    bring a bigger tactical package when they come to do a check

    25    on him?

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     1               MR. SANSONE:     Well, Your Honor, you can obviously

     2    take all of his firearms, you can take everything.       In the

     3    history of this person, what I'm saying, the actual

     4    background of everything that is Jeremy Brown, to take a

     5    P.S., you'd better bring a tactical package, to I'm going to

     6    incarcerate him, even though he has absolutely no history of

     7    violence, he has        those incidents that they used came to

     8    absolutely nothing, but I'm going to take this P.S. and find

     9    that there are -- that he should be incarcerated?       You could

    10    read that many ways.      Better bring a tactical package.

    11               THE COURT:     Please, tell me another way that the

    12    Court should read it other than as a warning to law

    13    enforcement that they better bring a bigger tactical package

    14    when they come and see him.

    15               MR. SANSONE:     Just as he said on the podcast, I'm

    16    hard to find,   I'm hard to kill.

    17               THE COURT:     Which the Court was crediting him that

    18    that was made in jest, but now you're suggesting that I

    19    should take him at his word?

    20              MR. SANSONE:      No, I'm saying how -- how could you

    21   not -- it'd be the same thing as that, better bring a bigger

    22   tactical package.      That is not equating to he is going to

    23   assault anyone who comes, he's going to start firing on

    24   anyone that comes to his house.       There's zero evidence of

    25   that.   He has zero evidence of anything in his background

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     1    that would suggest that.

     2               THE COURT:     I'll ask you one more time,

     3    Mr. Sansone.   What is the Court to believe he means by, law

     4    enforcement, you'd better bring a bigger tactical package?

     5               MR. SANSONE:     He doesn't -- he doesn't want -- you

     6    could view that many ways.

     7               THE COURT:     Give me one.     Give me one way I should

     8    view it other than --

     9               MR. SANSONE:     In jest.

    10               THE COURT:     -- as a warning.

    11               MR. SANSONE:    Of course, in jest.      You better

    12    bring a bigger tactical package.         If you were watching

    13    someone on the news and they said that, you'd say, well,

    14    he's just threatened every single person in law enforcement

    15    and he should be thrown in jail and there's absolutely no

    16    conditions of bond, because when they were talking about if

    17    someone comes to his house he said, you better bring a

    18    bigger tactical package and, therefore, it doesn't matter

    19    his military service, it doesn't matter that he doesn't have

    20    any single, absolutely zero, history of violence at all,

    21    that we're going to take that one statement, tactical

    22   package, and we're going to jail him.

    23               THE COURT:     I believe your client would like for

    24    you to speak with him.

    25               (Brief pause in proceedings.)

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     1                 MR. SANSONE:   He's just telling me that it's --

     2    this sign just has to do with he'd been targeted before.

     3    They asked -- they tried to recruit him, he turned them

      4   down.   Other friends of his had been arrested.      There were

     5    no issues of violence.      And he was just saying in jest, you

      6   better bring a big tactical package.      They had talked to him

     7    many times before, they were still calling him.         They called'

     8    in the morning on January 6th, they called him on the

     9    morning of this.      He'd had -- actually had no bad

    10    interactions with law enforcement.

    11                 They     when they recruited him, when they called

    12    him on January 6th, when they called him that morning, there

    13    were no threats made to them, he didn't make any threats to

    14    them.   There's no allegations that law enforcement ever felt

    15    threatened by them at all.      He was just saying in the

    16    broader scheme of having been trying to be recruited to talk

    17    against the Oath Keepers, he said I didn't want to do that.

    18    Other friends of him being arrested.      He said he knew they

    19    were going to be coming at some point just because they kept

    20    calling him.     They actually called him that morning to check

    21    up on him.     No law enforcement has ever said that they felt

    22    in danger.     And when they got there, there was no danger.

    23                 He said he was just using that as kind of a

    24    back-~nd-forth saying, listen, I'm not going to cooperate.

    25    Not like I'm going to shoot you, I'm just not going to

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     1    become somebody who's going to talk against the Oath Keepers

     2    and all -- I'm not       I'm not going to be doing that stuff.

     3    So he used that as just kind of a jest to law enforcement.

     4    But there's been no -- no allegation that he was ever, even

     5    in this situation in December, in January when he talked

     6    about it, that law enforcement has said that he was

     7    disrespectful, that they felt threatened, and nothing when

     8    they came to his house that he would have felt threatened.

     9               So, Your Honor, I think that would lend itself --

    10    and the government has asked you to look at the totalityr

    11    And the totality of everything, who Mr. Brown is and the

    12    lack of what he has done and even his interactions with the

    13    FBI, there's been no allegations that there's been any

    14    problems with his interactions with the FBI, that I would

    15    ask you to take that more as just a statement, kind of stick

    16    it in your eye, going back and forth.      And Your Honor can

    17    take all of his firearms, have him searched, have the

    18    residence searched, pre-searched, whatever.       There are

    19    conditions to make sure that that        if the Court has

    20    concern that that's going to happen, that that's an issue,

    21    that Your Honor can address that short of incarceration.

    22               But Mr. Brown was just giving me kind of a larger

    23    about why he put that.    He had been in contact with them

    24   back and forth and just wasn't going to work with them, but

    25   had no bearing that he was actually going to commit any

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      1   violence, which he's never done in his past.

      2               THE COURT:    All right.    Let's move on to risk of

      3   flight.    Can you please address the Government's Exhibits 2G

      4   and 2I, which appears to me that your client was preparing

      5   to flee,   from what I don't know, but was preparing to flee.

      6   He has a dry erase board full of his -- documenting his

      7   plans and his provisions and that's in Government's

      8   Exhibit 2G.    And then in Government's Exhibit 2I, he has a

      9   stash of cash, which was represented to the Court was

    10    several thousand dollars.

    11               MR. SANSONE:     Okay.    2I, he has $6,000 in cash.

    12    I'm not sure --

    13               THE COURT:     Combine 6I [sic], $6,000 in cash.

    14               MR. SANSONE:     Right.

    15               THE COURT:     And then his plans on his dry board in

    16    2G indicating that he was planning on fleeing.        Now, for

    17    what purpose -- what reason, it's unclear, but he was

    18    preparing to flee.

    19               MR. SANSONE:     It wasn't when he's been indicted by

    20    a federal crime.     There are a lot of people who are what

    21    they call preparers, preparing for some type of thing where

    22    he might need to -- doesn't mean, well, now that he's been

    23    indicted with a federal crime that he's now going to flee.

    24    There's no history of him ever fleeing.        Even in the 2019

    25    temporary restraining order, he showed up and argued in

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     1   front of Judge McNeil.     He's the one who argued in front of

     2   Judge Ficarrotta on the 2019, when the police were seeking

     3   some type of red flag against him.      He came to the

     4   courthouse and argued that.

     5              And $6,000 in cash, I mean, I don't know.       I mean,

     6   I'm a cash guy, I actually have probably about that much in

     7   my office right now.

     8              THE COURT:     I wouldn't broadcast that,

     9   Mr. Sansone.

    10              MR. SANSONE:    But my point is, at that point, with

    11   that board, a lot of people are preparers and it has nothing

    12   to do with now that I'm on federal indictment I'm going to

    13   flee.   Electronic monitoring and daily reporting or whatever

    14   thing -- whatever Your Honor has an issue with that could

    15   clearly address those issues.

    16              THE COURT:     I believe your client would like to

    17   speak to you again, Mr. Sansone.

    18              MR. SANSONE:    Yes.

    19               (Brief pause in proceedings.)

    20              MR. SANSONE:    Your Honor, he was explaining just

    21   that the cash came from an estate sale that they had just

    22   had before and a lot of that is -- they do have an RV and

    23   they're RVers and when you're an RVer, you go around and

    24   you've got to take a lot of things and be prepared.        He said

    25   he and his girlfriend are RVers.      Obviously, Your Honor

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     1    could order that he not go into the RV, that he has, you

     2    know, a curfew at the home, can't leave the Middle District,

     3    all those different types of things.          But long-term RVers

     4    plan for long-term trips and need to take a lot of things.

     5                 THE COURT:     Anything else, Mr. Sansone?

     6                 MR. SANSONE:     No, Your Honor.

     7                 THE COURT:     Thank you, sir.

     8                 Ms. Asokan, anything further?

     9                 MS. ASOKAN:     Yes, Your Honor,   just briefly.

    10                 Your Honor, I mentioned this at the beginning of

    11   my argument and you mentioned this on Friday.           The Court has

    12    to look at the evidence in totality.          Now, the defense wants

    13    us to look at one or two pieces in isolation and certainly

    14    in a vacuum perhaps none of them should give the Court grave

    15    concern.     But I want to emphasize that this is a totality

    16    case.   Every piece of evidence that I presented before taken

    17    together shows that this defendant poses a serious risk of

    18    flight and a serious danger to the community, as well as to

    19   himself.

    20                Now,   just briefly, I want to mention two things

    21   that        or I want to talk about two things that the defense

    22    just mentioned about conditions of release.         Now, among the

    23   conditions that the defense pointed out or suggested were

    24   GPS monitoring and surrender of weapons.

    25                As to GPS monitoring, the defendant, as we know,

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      1   is trained, Special Forces.     He talked about in the podcast

      2   his expertise in communications and Signals.       Someone with

      3   his training could easily evade GPS monitoring.       That is not

      4   at all sufficient to guarantee his appearance.

      5               As to surrendering his weapons, Your Honor, we've

      6   been presented with Defense Exhibit 1 from the September

      7   2019 temporary restraining order that was sought against him

      8   and the list of firearms that he was -- that were taken away

      9   from him and that he was then        that were then returned to

    10    him.

    11                If Your Honor would look at page three of that

    12    exhibit, you see the firearms.     The defendant didn't

    13    surrender the grenades during that proceeding.       This is not

    14    a complete list of the firearms in his possession.        There is

    15    no guarantee that by simply taking away the firearms that

    16    they found during the search or in a subsequent search of

    17    his home that the defendant wouldn't somehow have access to

    18    additional firearms.

    19                Lastly, Your Honor, on history of flight,     the

    20    defense just pointed out in the prior incidents, perhaps

    21    specifically only the domestic violence dispute that he had

    22    in September of 2019, that he was compliant, that he showed

    23    up.    And they're right, the defendant doesn't have a

    24    criminal history.

    25                The defendant is facing serious federal felonies

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     1    in this case.   As I mentioned, these charges carry a maximum

     2    penalty of ten years.    The defendant has never been faced

     3    with offenses like this before in his time either in or

     4    outside of the military.     I don't think at this time it's

     5    appropriate to look back at those prior incidents as an

     6    example of how he'll behave in this case.

     7               And again, I would ask the Court to keep that in

     8    mind and the totality of the evidence that was presented,

     9    the preparedness, the evidence that he's going to flee, that

    10    he has a history of disappearing and, frankly, Your Honor,

    11    that he has not been candid with the Court.      We have no

    12    reason to credit his credibility as to what he will and will

    13    not do and cooperate with Pretrial Services.

    14               Thank you, Your Honor.

    15               THE COURT:   Thank you, Ms. Asokan.

    16               All right.   After considering the government's

    17   proffer, the evidence that was presented, the defense

    18    response and the evidence that they presented as well,

    19    considering the factors in 18 U.S.C. Section 3142(g), the

    20   .Court finds that there are no condition or set of conditions

    21    that will reasonably assure the safety of any other person

    22   of the community.

    23               In particular, Mr. Brown, I'm concerned about the

    24    safety of law enforcement and their interactions with you.

    25   This is a very difficult decision for the Court, I'll say

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     1    that candidly.    The Court recognizes and appreciates your

     2    service to this country, your exemplary service in Special

     3    Forces, over 17 years in Special Forces and 20 years I

     4   believe in the military.     The Court takes that into

     5    consideration and gives that great weight, to be honest,

     6    sir.

     7               The Court is not concerned for purposes of

     8   detention about your political views and that your views in

     9   particular that perhaps are anti-establishment or

    10   anti-government.

    11               The Court's also not, in and of itself, concerned

    12   about your lawful possession of firearms as well.        But as I

    13   pointed out in my questioning to your counsel, I find that

    14   your statement, the sign made in Government's Exhibit 8, is

    15   a clear threat to law enforcement.      You identified the FBI,

    16   Department of Homeland Security, the U.S. Marshals, and the

    17   Hillsborough County Sheriff's Office and you flat out told

    18   them that you better bring a bigger tactical package if they

    19   were to come visit you.

    20              And so none of the conditions that I can impose

    21   are going to adequately and reasonably assure the safety of

    22   law enforcement when they come visit you when you've made a

    23   specific threat to them.     I can't require and ask of

    24   Pretrial Services, just as an example, to wear tactical gear

    25   when coming to check on you to see if you're complying with

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     1    the conditions of my release.

     2               I'm required to try to find the least restrictive

     3    and -- set of conditions or condition in order to reasonably

     4    assure your appearance at all future court proceedings and

     5    reasonably assure the safety of any other person, but given

     6    the evidence in front of me and your own statement to law

     7    enforcement, I can't find that I can reasonably assure their

     8    safety.

     9               I'll give you a moment to speak in a second, sir.

    10               If anything were to happen to any law enforcement

    11    personnel during the period of your pretrial release after

    12    this having been brought to the Court's attention and me

    13    being put on notice of your specific threat to them, then

    14    they would have every right to blame me for putting them in

    15    that position.   If there was any other condition that I

    16    could impose in order to reasonably assure their safety,

    17    sir, I would, but you have the means, you have the ability,

    18    and you've made a specific threat to law enforcement and

    19    that's something that I can't ignore.

    20               So I am finding that there are no conditions of

    21    release that will reasonably assure the safety of the

    22    community, in particular the FBI, DRS, U.S. Marshals, and

    23    Hillsborough County Sheriff's Office.      And I'll go one step

    24    further and say the United States Pretrial Services agency,

    25   which the Court would task with supervising you while on

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                                                                           59
      1   pretrial release.

      2              Therefore, I very reluctantly will order your

      3   detention pending trial.

      4              I will take a moment, though, to say that the

      5   first allegations against you, the misdemeanors associated

      6   with the January 6th Capitol, the Court is not detaining you

      7   because of those charges.     Though the incident occurred

      8   almost nine months to the day ago and there has been no

      9   indication, there's certainly been no rush by law

    10    enforcement to charge you with that offense, and there's

    11    been no indication that you pose a threat -- you had the

    12    opportunity -- to be quite frank, at the January 6th Capitol

    13    insurrection, as it's being called, you had the opportunity

    14    for violence, you had the opportunity to go a step further.

    15    And some of the other people that have been charged in

    16    association with that day did act violently and did go a

    17    step further.     But you've been charged with two

    18    misdemeanors, you have not been charged with anything

    19    violent associated with that incident.

    20               But with the current charges, the felonies that

    21    you've been charged with here in the Middle District of

    22    Florida, the gun-related offenses, and again, the specific

    23    threat that you've made to law enforcement, I must order

    24    your detention.

    25               Now, you raised your hand that you wanted to

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     1    address the Court.        Before I let you do so, I will remind

     2    you again of your right to remain silent.        Anything you say

     3    may be used against you.

     4                 Do you understand your right to remain silent,

     5    Mr. Brown?

     6                 THE DEFENDANT:     Yes, I do, Your Honor.

     7                 THE COURT:    Mr. Brown, would you like to consult

     8    with your attorney before making any statement to the Court?

     9                 THE DEFENDANT:    No, Your Honor, I'm confident that

    10    what I have to say will be appropriate.

    11                 THE COURT:    All right.   I'll hear you.

    12                 THE DEFENDANT:     Your Honor, I do understand the

    13    perspective in which you are looking at this, but again, I

    14    also understand that you don't have the full context of what

    15    this trial is actually about and the reasoning why it is my

    16    desire, my full desire -- in fact, there's no amount of

    17    money the government could even pay me to flee, because I

    18    basically tried to prod the government into forcing me on

    19    the stand, because I have knowledge of activities on behalf

    20    of the government that I believe will help the 600-plus

    21    Americans that are being held in prison without due process.

    22               With that said, I would like to talk about the

    23    sign.   But first I would like to talk about my relationship

    24    with law enforcement over the course of my life.

    25               One, I have many friends that are lifelong law

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                                                                           61
      1   enforcement officers and I have always respected law

      2   enforcement, those law enforcement officers that do their

     3    job every single day.     I spoke about that when I was in

      4   front of Judge Ficarrotta and I never had any animosity

     5    towards law enforcement for them performing their duties in

     6    a lawful manner.

     7               However, the actions of the Department of Homeland

     8    Security and the FBI's Joint Terrorism Task Force, of which

     9    I have worked closely with on numerous times to actually

    10    interdict real terrorists globally, are not professional

    11    activities.   That is why I went public on March 5th with the

    12    recording of their recruitment tape of which they themselves

    13    admitted I am a zero out of ten threat in any way.

    14    Therefore, the fact that I even posted the sign itself as a

    15    warning should be clear indication that it was not a threat

    16    against them, but yet a professional jab, just like when

    17    somebody tells me that they're from the Marine Corps and I

    18    say, I'm sorry for your mistake.      It doesn't mean I do not

    19    respect the Marine Corps, it is a simple jab, because I'm a

    20    20-year retired Special Operations soldier and I have a

    21    sense of humor that is based on that life experience.

    22               But my actual interactions with law enforcement

    23    are that I ran a limousine company for five years and I

    24    donated limousine service to line-of-duty deaths, of which

    25    one of them happened in Pinellas County and one happened in

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                                                                           62
     1    Tampa.    It was a great honor for me to be able to do this,

     2   because I greatly, again, respect law enforcement.

     3               So I do not believe that it is fair or in the

     4    context of this entire situation that a sign that I

     5   handwrote myself, posted hoping that someone would see it in

     6    the absence of     we were away for that weekend, because

     7    again,   I spent 20 years defending this country, defending

     8    the Constitution of the United States.      I'm not

     9    anti-government, I am anti-tyrannical government, I am anti

    10    extra-constitutional government.

    11                I have spent my life -- I have five daughters that

    12    I spent most of their lives away from in defense of this

    13   nation.    So it is absurd to believe that I would spend

    14   20 years serving this country as a decorated combat veteran,

    15   that I would run a company to where I donated full limousine

    16   service to military, law enforcement, and line-of-duty

    17   deaths, and that I would run for U.S. Congress in the

    18   District of Florida 14 against Kathy Castor, because I don't

    19   respect the form of government or that I don't respect law

    20   enforcement that are to uphold their oaths and defend the

    21   Constitution, not the orders of their bosses, but the rights

    22   of the people.

    23               And so this sign, which typically when I write

    24   P.S. at the end of a text message or a sign, it's some type

    25   of comical interlude or jab.     What I am saying in the actual

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                                                                            63
     1    named text of that sign is that if you're a law enforcement

     2    officer, please re-read your oath.      It says, I do solemnly

     3    swear to defend the Constitution, not the government,

     4    because the Constitution is what represents we, the people.

     5    And I believe in this time that that is a serious inspective

     6    that law enforcement needs to be taking, not only law

     7    enforcement, but firefighters, doctors, judges, service

     8    members, because there are a lot of things happening that

     9    are infringing on our constitutional rights.       And that was

    10    the main point of my message.

    11               My friend, Kenny, had just been apprehended by a

    12    tactical team, which I personally believe is absurd that

    13    these packages are being sent to apprehend guys at their own

    14    houses.   None of them have been flight risk, none of them

    15    had fired or even drawn a weapon, but, yet, we have 50

    16    agents plus.   My girlfriend recorded it.     There were 25

    17   vehicles at my house.     And it wasn't because they were

    18    scared.   In fact,   the two agents got out, were not even

    19   wearing body armor and they told me that they weren't

    20    scared.

    21               So for the government to now, and their own

    22    arresting agents show up, they, again, are leading us to

    23   believe they were there only for the misdemeanor, but, of

    24    course, because we have documentation that was left with my

    25    girlfriend, they already have charges based on a search

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                                                                            64
     1    warrant that they had not even conducted.      They knew why

      2   they were there.     They were there to apprehend me.     And just

     3    like I told my attorney Friday when you issued the

      4   continuance, I said, I will not be granted bail, because

     5    this isn't about the evidence, it isn't about the testimony,

      6   it is about locking me away so that I stop talking.

     7                 And so, Your Honor, I would graciously ask and I

      8   throw myself at the mercy of the Court, please do not take a

     9    single handwritten sign -- because I am a Green Beret, I do

    10    know how to do things, and contrary to the government's

    11    tongue-and-cheek statement that I think I'm an expert, no.

    12    Special Forces, the Army Green Beret was designated by

    13    John F. Kennedy is the Department of Defense (inaudible) for

    14    unconventional warfare.     I am an expert at what's going on

    15    in this country.     And it's not against the team here that's

    16    formed by the government and it's not against the agents.

    17    We even jokingly said in the car that I know they're doing

          their job.

    19                 But at some point, you're asked sometimes in your

    20    job to do something that just isn't right.        And I believe

    21    that that's happening right now across this country and

    22    families are being broken up.     One woman has had a

    23    miscarriage and it's a family that was destroyed over a

    24    political protest.    And for the government to file an arrest

    25    warrant and a search warrant because they think that me

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                                                                            65
     1    standing there prepared to provide medical aid to those

     2    civilians that are being struck in the head with batons by

     3    the Capitol Police is somehow me engaging in that insurgency

     4    or trespassing and then wanting me to be quiet,

     5    acknowledging the fact that they actually recruited me to be

     6   a confidential informant to infiltrate an organization that

     7   has no criminal history, an organization made up of former

     8   law enforcement and former military with one mention, Oath

     9   Keepers, to uphold your oath.      Because every day law

    10   enforcement officers are asked to do things that in their

    11   mind may not meet their oath.      And it's their discretionary

    12   decision at that point to say I'm not going to do that.

    13              And there is many evidence across the country of

    14   officers making pointed statements and saying I'm no longer

    15   going to arrest people for not wearing a mask, I'm no longer

    16   going to arrest people for not doing this or not doing that,

    17   because it violates my oath to the Constitution.        And that

    18   oath is actually to the people of this country.

    19              So, Your Honor, again, with the totality of my

    20   life experience and my explanation of the entire context of

    21   what is going on here, which I believe will be proven at

    22   trial, I'm prepared to stay in prison as long as the

    23   government thinks that I deserve to be there.        I fear no

    24   prison, I've been trained by the government to endure way

    25   worse.   I've actually enjoyed my time at the Pinellas County

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                                                                             66
     1    jail, because I've had an opportunity to engage with people

     2    that I don't actually get to engage with on an everyday

     3    basis.     And I've told them each, why are you in here?      Stop

     4    coming back.     Because they've all been back many, many

     5    times.     And they're the ones that have taught me how to do

     6    things.

     7                 That's not what I fear.     What I fear is the

     8    slippery slope of a government that believes that because

     9    you're exercising your First Amendment right to free speech

    10    that they can just come in and ruin your life and hold you

    11    indefinitely, like many have been held for over six months

    12    now awaiting their due process.        That's not right.

    13                And I am anxious to go to trial against the

    14    government, but I do not feel that it is fair to me, to my

    15    girlfriend, to my dogs, to my community, who does not fear

    16    me.    In fact, they respect me and rely on me.      To the

    17    sheriff's deputies that normally come to our house

    18    because we don't live in a good neighborhood -- on a regular

    19    basis and receive assistance from me.        I provide them with

    20    surveillance footage when an incident happens across the

    21    way.     The residents of those homes rely on my ability to

    22    confront hazards and dangers, because they maybe not -- they

    23   maybe not have the courage to do it themselves.

    24                And so I wish I would have the opportunity to

    25   bring the community that the government states should be in

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                                                                              67
     1    fear of me in here to testify on my behalf, but I wasn't

     2    given that opportunity at that level of preparedness.        But

     3    if we were, I guarantee that 100 percent of my community,

     4    the people that live in and around me and have for over

     5    eight years, would testify that they feel safer with me

     6    there, not in danger.    And I know that my girlfriend would

     7    do that.

     8               And so, Your Honor, again, I ask for you to

     9    reconsider.   I will do any of the steps, because I have no

    10    concern about flight at all.     I will gladly take another

    11   psychological evaluation, of which I've received at least

    12    five throughout the course of my military career.        But my

    13    experience, my possession of things that were given to me by

    14   the government, my training manuals, I am a Special Forces

    15   sniper, I do not -- I do not believe that that should be

    16   used against me, Your Honor.      So again, please, I ask you to

    17   reconsider.

    18               THE COURT:   All right.   Thank you, Mr. Brown.     And

    19   I have reconsidered and I agree with you on certain things

    20   that you have stated.     I am not detaining you because of

    21   your political views, I am not detaining you because of a

    22   manual that you received while in the military, I'm not

    23   retaining you because you lawfully possess some firearms.            I

    24   am not trying to suppress your speech.       In fact,   I've given

    25   you an opportunity here in open court today to say whatever

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                                                                                 68
     1    you'd like to say.       And this is being recorded, as you know.

     2    I am not detaining you for any of those reasons, sir.          I do

     3    not believe that you are a risk of flight          or I should say

     4    I believe there are conditions that could be imposed to

     5    minimize your risk of flight and reasonably assure your

     6    appearance at all future court proceedings.        I believe you

     7    do want your day in court and I believe you do want to let

     8    the public hear what you have to say about the charges,

     9    particularly those that are pending in the District of

    10    Columbia.

    11                But again, sir, as I questioned your attorney,         I

    12    cannot overcome your own statement.        And I understand what

    13    you're telling me, that this is made in jest, that this is a

    14    playful jab at law enforcement.       I don't view this as a

    15    playful jab.    If it was, it was poorly done, sir, to be

    16    quite frank with you.       This does not come across to me as a

    17    jab, it comes across to me as a flatout threat to law

    18    enforcement.    And when you are threatening law enforcement

    19    in their interactions with you, I can't place them in that

    20    kind of situation.       Just as you wouldn't want someone

    21   placing you in that situation if the roles were reversed.

    22                THE DEFENDANT:    Well, I --

    23                THE COURT:     So, sir, I've heard you,   I've heard

    24   you speak and I've told you what my ruling is and I've

    25    reconsidered that ruling, but I am going to order your

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                                                                                  69
     1    detention.

     2                 Now, that being said, Mr. Brown, if new

     3    information becomes available that would have a material

     4    impact on the Court's decision as to whether there are

     5    conditions of release that could be imposed, your attorney

     6   may move to reopen this hearing at any time.             So if there's

     7    new information you do not have with you here today that you

     8    think would have a material impact on the Court's decision,

     9    then I encourage you to speak with your attorney and he may

    10   move to reopen it and I'll reconsider bond at that time.

    11                 But based on the information that's been presented

    12    to me here at this hearing, which is quite substantial, the

    13    Court finds that you are to be detained for the reasons that

    14    are stated and for the other reasons which the Court may put

    15    in its written order of detention.

    16                 Is there any further from the government,

    17   Ms. Asokan?

    18                 MS. ASOKAN:     No, Your Honor.

    19                 THE COURT:     Mr. Sansone?

    20                 MR. SANSONE:     No, Your Honor.

    21                 THE COURT:     All right.     Thank you.   We're

    22   adjourned.

    23                         (Proceedings concluded.)

    24

    25

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                              MIDDLE DISTRICT OF FLORIDA
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                                                                           70
     1    UNITED STATES DISTRICT COURT

     2    MIDDLE DISTRICT OF FLORIDA

     3
                          REPORTER TRANSCRIPT CERTIFICATE
     4
               I, Howard W. Jones, Official Court Reporter for the
     5    United States District Court, Middle District of Florida,
          certify, pursuant to Section 753, Title 28, United States
     6    Code, that the foregoing is a true and correct transcription
          of the stenographic notes taken by the undersigned in the
     7    above-entitled matter (Pages 1 through 69 inclusive) and
          that the transcript page format is in conformance with the
     8    regulations of the Judicial Conference of the United States
          of America.
     9

    10                                   /s    Howard W. Jones

    11                                   Howard W. Jones, RDR, RMR, FCRR
                                         Official Court Reporter
    12                                   United States District Court
                                         Middle District of Florida
    13                                   Tampa Division
                                         Date:  11/04/21
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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
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                                                                    U.S. District (:GJJrt
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                                                                    Tampa Division

                                                              GOVERNMENT EXHIBIT
                                                                              l~
                                                        Exhibit No.:,_ _ _~ - - -
                                                        Case No.: 8:21-cr-348-SCB-SPF

                                                        UNITED STATES OF AMERICA

                                                        vs.
                                                        Jeremy Brown

                                                        Date Identified:_l_'l..~/_I':f_,,_/f2--_J_

                                                        Date Admitted:       l~/llfl~(
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               IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

    UNITED STATES OF AMERICA

    v.                                                 Case No.: 8:21-CR-348-T-SCB-SPF

    JEREMY BROWN
    - - - - - - - - - - - - - -I

    MOTION FOR REVOCATION OF MAGISTRATE JUDGE'S DETENTION
                                              ORDER1

           COMES NOW, the Defendant, JEREMY BROWN, pursuant to 18 U.S.C. §

    3145(b), and files this Motion for Revocation of the Magistrate Judge's Detention

    Order (Dkt. 19). Undersigned counsel respectfully requests that this Honorable

    Court find that the Magistrate Judge erred in his factual and legal findings, reverse

    the Detention Order, and conduct a new detention hearing before this Court. In

    support, Mr. Brown respectfully states as follows:

    I.     Procedural and Factual History

           1. On October 1, 2021 Mr. Brown was charged via criminal complaint with

               entering and remaining.on a restricted building or grounds in violation of

               18 U.S.C. §1752(a)(l), and disorderly and disruptive conduct in a

               restricted building or grounds in violation of 18 U.S.C. §1752(a)(2),


    1
     Counsel notes that the magistrate judge is currently assessing whether to reopen Mr. Brown's
    detention hearing. Mr. Brown filed a Motion for Pre-Trial Release. Doc. 27. If the magistrate
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               8:21-mj-1990-SPF. This case is pending in Washington D.C.

           2. On October 1, 2021, Mr. Brown was charged via criminal complaint with

               possessing firearms not registered to him in violation of 26 U.S.C. §

               5861(d). 8:21-mj-1991-SPF.

            3. On October 1, 2021, Mr. Brown made his initial appearance before the

               Court. At that time the Government requested detention based on 18

               U.S.C. § 3142(f)(l)(C), and the Court continued the hearing until

               October 5, 2021.

           4. After a hearing on October 5, 2021, this Court issued an Order of

               Detention finding "that no condition or combination of conditions of

               release will reasonably assure the safety of any other person and the

               community." Doc. 19. The Court stated that it was "particularly

               troubled by a sign Brown placed on the door of his residence in which he

               warned that 'FBI/DHS/USMS/HSCO' that they:, 'Better bring a bigger

               Tactical PACKAGE." The Court took this as a direct threat to law

               enforcement.

     I.    October 5, 2021 Detention Hearing

           At the hearing, the United States submitted documentary evidence to the

    Court to attempt to show that this decorated military Special Forces veteran is a



    judge re-opens the detention hearing and issues an order of release upon certain conditions, this
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    danger to himself and the community. Most of the documentary evidence

    submitted by the government should be given little to no weight by this Court.

          A.     Exhibit 5

          At the hearing, the United States admitted a 2014 Baker Act report. Doc.

    17, USA Exhibit 5. At the hearing, this Court was apprised that seven (7) years

    ago, Mr. Brown was going thrpugh a very difficult divorce. As such, law

    enforcement thought best to Baker Act him, and Mr. Brown was taken without

    injury or incident. We submit that this incident seven (7) years ago sheds no light

    on whether Mr. Brown has current mental health issues or is a danger to himself or

    others.

          B.     Exhibit 6

          Also, at the hearing, the government presented to the Court a February 2019

    missing person report. Id., USA Exhibit 6. The defense explained to the Court

    that Mr. Brown was not missing; rather, he was located at a Quality Inn the very

    next day and was at the hotel because he needed to be alone after his brother's

    suicide. Defense submitted evidence that Hillsborough County Chief Judge

    Ronald Ficarrota heard Tampa Police Department's Petition for Risk Protection,

    which was filed by the Police after they found Mr. Brown at the Quality Inn. Doc.

  . 18, Exhibit 1. Judge Ficarotta specifically found that "[b]ased on testimony of



    appeal would become moot.
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    witnesses and Respondent the Court finds that the Respondent does not pose a

    significant risk of danger." Id. The court ordered that Tampa police return Mr.

    Brown's firearms. Mr. Brown submits that the evidence that the United States has

    provided the Court in Exhibit 6 neither shows he is a danger to himself nor to

    others.

          C.     Exhibit 7

          In Exhibit 7, the United States put before the Court what it deemed as

    evidence of Mr. Brown's violent past when it placed into evidence a 2019 docket

    sheet from state court. Doc. 17, Exhibit 7. The docket sheet shows that a female

    (Ms. Aldridge's sister) filed a petition for a restraining order against Mr. Brown.

    Judge Art McNeil in Plant City held a hearing, dismissed the petition as

    insufficient, and ordered the police to return Mr. Brown's firearms. Mr. Brown

    submits that this exhibit neither shows he is a danger to himself nor to others.

          D.     Exhibit 8

          Exhibit 8, which is a sign Mr. Brown had in the window of his home,

    troubled the Court. Id., Exhibit 8. The sign shown in Exhibit 8 was only in Mr.

    Brown's window for approximately two weeks in March 2021, when Mr. Brown

    was out of town. When Mr. Brown returned home, Mr. Brown took the sign out of

    his window seven (7) months before law enforcement came to his house to arrest

    him for a misdemeanor trespass out of Washington D.C. As explained the to Court



                                              4
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    by Mr. Brown, the "P.S. Better Bring a Bigger Tactical PACKAGE" was said in

    jest not as a threat of violence to law enforcement. There is absolutely no evidence

    in Mr. Brown's history that he poses a threat to anyone. To the contrary, he spent

    20 years in active military service, 17 years in the special forces and received two

    Bronze Stars for his meritorious service in combat.

    II.   Argument and Memorandum of Law

          A review of the Magistrate Judge's
                                      .             .
                                             decision denying pretrial release is de

    nova. See United States v. Allen, 891 F. Supp. 594, 597 (S.D. Fla. 1995). The

    Magistrate Judge erred in his findings, because the judge did not adequately

    consider the alternatives to incarnation set forth by Mr. Brown.

          At the hearing, Mr. Brown presented the following conditions and

     arguments for release pursuant to 18 U.S.C. § 3142(c). Mr. Brown submits that

    that the following conditions of release are sufficient to assure Mr. Brown's

    appearing in court and will assure the safety of the public and law enforcement:

             • Electronic monitoring: While the government alluded at the detention

                hearing that Mr. Brown knows how to circumvent GPS monitoring

                because of his special training, this statement was wholly without

                basis or evidentiary support. Mr. Brown will absolutely abide by

                electronic monitoring.
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             • Report to probation on a regular basis: Mr. Brown will report to

                probation as often as this Court requires. ·

             • Searches and Seizures: Mr. Brown arid Ms. Albridge (his girlfriend)

                agree to have their home searched prior to his release and surrender

                any weapons found in the home. Tylene Aldridge, the owner of the

                home, agrees to any .searches and to surrender and to remove any and

                all weapons from. the home.

             • Secured Appearance Bond: Ms. Aldridge is willing to put her home

                up as collateral to secure an appearance bond. This issue was not

                raised before the magistrate judge as it was not lmown at the time of

                the hearing.

             • Restrictions on travel: Mr. Brown will surrender his passport and will

                remain in the Middle District of Florida during the pendency of this

                case.

             • Curfew: Mr. Brown will abide by any curfew that this Court imposes.

             • Drug testing: Mr. Brown will submit to any drug testing that the

                Court requires. There is no evidence that Mr. Brown has an issue

                with drugs or alcohol.

             • Psychological testing: Even though the government claimed at the

                detention hearing that Mr. Brown suffers from. fairly serious mental
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                 health issues, the United States presented no evidence from a doctor,

                 psychologist or any documentation as to any type of mental health

                 issue Mr. Brown might be suffering from. In addition, as explained in

                 detail above, the 2014 Baker Act from seven (7) years ago when he

                was going through a divorce and the 2019 missing person report,

                when he was not even missing, are not evidence that Mr. Brown

                 currently has mental health issues. That said, Mr. Brown is willing to

                 submit to any mental health or psychological exam that this Court

                reqmres.

          Accordingly, based on the forgoing, we move this Court to revoke the

    magistrate judge's order of detention, and either release Mr. Brown on the above

    conditions of release, or conduct a separate independent detention hearing.

    IV.   Conclusion

          WHEREFORE, for the reasons stated herein, Defendant respectfully

    requests that this Honorable Court reverse the Magistrate Judge's Detention Order

    and grant Mr. Brown release or a new detention hearing before this Court.

          I HEREBY CERTIFY that a copy of the foregoing motion has been

    furnished by electronic filing using the CM/ECF system to Risha Asokan, United

    States Attorney's Office, this 3d day of November, 2021.




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                                      Respectfully submitted,


                                      s/William Sansone
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